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                 COMMISSION OF THE EUROPEAN COMMUNITIES




                                                Brussels, 29.4.2009
                                                SEC(2009) 574 final




                 COMMISSION STAFF WORKING PAPER
                          accompanying the
        COMMUNICATION FROM THE COMMISSION TO THE EUROPEAN
                    PARLIAMENT AND COUNCIL

                    Report on the functioning of Regulation 1/2003


                                {COM(2009)206 final}




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     1.       INTRODUCTION

     1.       Regulation 1/20031, the keystone of the modernisation of the European Union's
              antitrust enforcement rules and procedures, entered into application on 1 May 2004.
              Article 44 of Regulation 1/2003 provides that the Commission shall by 1 May 2009,
              i.e. after five years of application, report to the European Parliament and the Council
              on its functioning.

     2.       Regulation 1/2003 was the result of the most comprehensive reform of antitrust
              procedures since 1962.2 It modernised the procedural rules embodied in Council
              Regulation 17 of 19623, which govern how the EC Treaty's provisions on anti-
              competitive agreements (Article 81 EC) and abuses of dominant position (Article 82
              EC) are enforced.4 Its key objectives are effective and coherent enforcement of the
              EC antitrust rules in the interests of consumers and businesses, while bringing about
              a more level playing field and reducing red tape for companies operating in Europe.

     3.       The main features of Regulation 1/2003 are:

                     –      The abolition of the practice of notifying business agreements to the
                            Commission, enabling the Commission to focus its resources on the
                            important fight against cartels and other serious violations of the antitrust
                            rules.

                     –      The empowerment of national competition authorities and courts to apply
                            EC antitrust rules in their entirety, so that there are multiple enforcers and
                            therefore wider application of the EC antitrust rules.


     1
             Council Regulation (EC) No 1/2003 of 16 December 2002 on the implementation of the rules on
             competition laid down in Articles 81 and 82 of the Treaty (OJ L 1, 04.01.2003, p.1), as amended by
             Council Regulation (EC) No 411/2004 of 26 February 2004 repealing Regulation (EEC) No 3975/87
             and amending Regulations (EEC) No 3976/87 and (EC) No 1/2003, in connection with air transport
             between the Community and third countries (OJ L 68, 6.3.2004, p.1) and Council Regulation (EC) No
             1419/2006 of 25 September 2006 repealing Regulation (EEC) No 4056/86 laying down detailed rules
             for the application of Articles 85 and 86 of the Treaty to maritime transport, and amending Regulation
             (EC) No 1/2003 as regards the extension of its scope to include cabotage and international tramp
             services (OJ L 269, 28.09.2006, p. 1), hereinafter "Regulation 1/2003". Articles quoted in the text
             without specific references relate to articles of Regulation 1/2003.
     2
             See the White Paper on Modernisation of the Rules implementing Articles 85 and 86 of the EC Treaty
             of 28.04.1999, OJ C 132 of 12.05.1999, p. 1, and the proposal for a Council Regulation on the
             implementation of the rules on competition laid down in Articles 81 and 82 of the Treaty and amending
             Regulations (EEC) No 1017/68, (EEC) No 2988/74, (EEC) No 4056/86 and (EEC) No 3975/87 of
             27.9.2000, OJ C 365 E, 19.12.2000, p.284.
     3
             Council Regulation No 17 (EEC): First Regulation implementing Articles 85 and 86 of the Treaty (OJ P
             13, 21.02.1962, p.204), hereinafter "Regulation 17".
     4
             To the extent that the Commission applies Articles 53 and 54 of the EEA Agreement (if trade between
             one or more EU Member States and one or more EFTA Member States which have ratified the
             Agreement is affected) it does so in accordance with its existing procedural rules, namely Regulation
             1/2003, on the basis of Article 5 of Council Regulation 2894/94 concerning arrangements for
             implementing the Agreement on the European Economic Area, OJ L 305, 30.11.1994, p. 6–8.To this
             end, see Decision of the EEA Joint Committee of 24.09.2004 amending Annex XIV (Competition),
             Protocol 21 (On the implementation of competition rules applicable to undertakings) and Protocol 23
             (Concerning the cooperation between the surveillance authorities) to the EEA Agreement, OJ L 64, of
             10.03.2005, p.57.



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                     –       More level playing field for businesses operating cross-border as all
                             competition enforcers, including the national competition authorities and
                             national courts, are obliged to apply EC antitrust rules to cases that affect
                             trade between Member States.

                     –       Close cooperation between the Commission and national competition
                             authorities in the European Competition Network (the "ECN").

                     –       Enhanced enforcement tools for the Commission so that it is better
                             equipped to detect and address breaches of the EC antitrust rules.

     4.       In the context of Regulation 1/2003, the Commission further adopted the
              implementing Regulation 773/20045 as well as guidance on the cooperation of public
              enforcers in the ECN, the Commission's mechanisms for cooperation with national
              courts, the instrument of guidance letters and the handling of complaints by the
              Commission and guidelines on the criterion of effect on trade and the application of
              Article 81(3) EC.6

     5.       The preparation of the Report has involved a fact-finding phase in which the
              experience of stakeholders has been solicited. A public consultation was launched on
              24 July 2008, which consisted of specific questions on the different features of the
              Regulation and sought substantiated input. This questionnaire was made public on
              the Commission's website7 and was also sent to individual consumer associations and
              judges' associations in order to maximise its reach. The Commission received 45
              submissions from businesses and business associations, law firms, lawyers'
              associations and academia.8 The Member States' competition authorities ("national
              competition authorities") have been closely associated with the preparation of this
              Report and have provided detailed input.

     6.       This Staff Working Paper, which accompanies the Report, follows the same structure
              and is divided into six main sections that address the principal facets of Regulation
              1/2003 and its functioning in practice: part 2 deals with the system change from the
              notification system to direct application of Article 81(3) EC; part 3 reports on how
              the Commission has used the tools provided by the Regulation for effective
              enforcement in its enforcement procedures; part 4 examines how the Regulation has
              led to more level playing field through the application of EC competition law in


     5
             Commission Regulation (EC) No 773/2004 of 7 April 2004 relating to the conduct of proceedings by
             the Commission pursuant to Articles 81 and 82 of the EC Treaty (OJ L 123, 27.04.2004, p.18), as
             amended by Commission Regulation (EC) No 622/2008 of 30 June 2008 amending Regulation (EC) No
             773/2004, as regards the conduct of settlement procedures in cartel cases (OJ L 171, 01.07.2008, p. 3).
     6
             The Modernisation Package, cf. Commission Notice on Cooperation within the Network of
             Competition Authorities (OJ C 101, 27.04.2004, p.43), Commission Notice on Cooperation between the
             Commission and the Courts of the EU Member States in the application of Articles 81 and 82 EC (OJ C
             101, 27.04.2004, p.54), Commission Notice on Informal Guidance relating to Novel Questions
             concerning Articles 81 and 82 of the EC Treaty that arise in Individual Cases (Guidance Letters) (OJ C
             101, 27.04.2004, p.78), Commission Notice on the Handling of Complaints by the Commission under
             Articles 81 and 82 of the EC Treaty, (OJ C 101, 27.04.2004, p.65), Guidelines on the effect on trade
             concept contained in Articles 81 and 82 of the Treaty (OJ C 101, 27.04.2004, p.81) and Guidelines on
             the application of Article 81(3) of the Treaty (OJ C 101, 27.04.2004, p.97).
     7
             http://ec.europa.eu/comm/competition/antitrust/consultations/consultation_1_2003.pdf.
     8
             The              (non-confidential)             replies           are            available              at
             http://ec.europa.eu/competition/consultations/2008_regulation_1_2003/index.html



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               accordance with Article 3 of Regulation 1/2003; part 5 looks into the enforcement of
               Articles 81 and 82 EC by national competition authorities and cooperation in the
               ECN; part 6 addresses the interaction of the Commission with national courts and
               part 7 raises certain aspects of the interface with third country enforcement.

     7.        The aim of the Report is to understand and assess how modernisation of the EC
               antitrust enforcement during the first five years has worked. The Report is a stock-
               taking exercise and therefore it leaves open the question of whether any amendment
               to the existing rules or practice is required. It will serve as a basis for the
               Commission to assess, in a further stage, whether it is appropriate to propose any
               revision of the Regulation.


     2.        SYSTEM CHANGE: FROM THE NOTIFICATION SYSTEM TO DIRECT APPLICATION OF
               ARTICLE 81(3) EC

     2.1.      Background

     8.        Regulation 1/2003 introduced a fundamental change in the framework for applying
               Articles 81 and 82 EC. It replaced the centralised notification and authorisation
               system which was created by Regulation 17 by an enforcement system based on the
               direct application of Articles 81 and 82 in their entirety.

     9.        Under Regulation 17, undertakings had to notify agreements to the Commission in
               order to benefit from the exception contained in Article 81(3) EC. The Commission
               had exclusive competence to apply this provision by way of formal exemption
               decisions, with national competition authorities and courts not being empowered to
               grant exemptions. The Commission's monopoly on the application of Article 81(3)
               EC and the system of prior notification and administrative authorisation resulted in a
               significant backlog of notifications, the closure of 90% of notifications informally
               and a diversion of resources away from the investigation and prosecution of serious
               antitrust infringements.

     10.       Under Regulation 1/2003, the Commission, national competition authorities and
               courts have the power to apply Articles 81 and 82 EC in full.9 In particular,
               agreements which are caught by Article 81(1) EC but which satisfy the conditions of
               Article 81(3) EC are now directly valid and enforceable, no prior decision to that
               effect being required.10 Undertakings can now invoke the exception rule contained in
               Article 81(3) EC as a defence in proceedings conducted by the Commission, national
               competition authorities and courts. At the same time, agreements or practices which
               are caught by Article 81(1) EC and do not fulfil the conditions of Article 81(3) EC
               are prohibited and void ab initio, without the need for prior administrative or judicial
               intervention.11

     11.       The change from a system of notification and administrative authorisation to one of
               direct application has been remarkably smooth in practice. Overall, neither the case


     9
              Articles 5 and 6 of Regulation 1/2003 state that the competition authorities of the Member States and
              the national courts have the power to apply Articles 81 and 82 EC.
     10
              Article 1(2) of Regulation 1/2003.
     11
              Article 1(1) of Regulation 1/2003.



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               practice of the Commission and the national enforcers, nor the experience reported
               by the business and legal community indicate major difficulties with the direct
               application of Article 81(3) EC. The system change has supported a shift in priorities
               of public enforcers.

     12.       The elimination of the notification system and the Commission's exclusive power to
               apply Article 81(3) EC also removed an important obstacle to private enforcement of
               the Community competition rules. Under Regulation 17, the private enforcement of
               Articles 81 and 82 EC could effectively be blocked by a notification of the
               agreement to the Commission and if it were not clear whether Article 81(3) EC was
               applicable, the national court would have to suspend proceedings.12 Regulation
               1/2003 has served as a first step to open the way for the increased private
               enforcement of Articles 81 and 82 EC, the importance of which has been explicitly
               recognised by the European Court of Justice.13 The Commission has launched a
               further policy initiative in this area with a view to foster private damages claims.14

     2.2.      The change in system after 5 years experience with Regulation 1/2003

     2.2.1.    The Commission’s enhanced priority setting

     13.       One of the objectives of the modernisation reform was to allow the Commission to
               better focus its resources on areas where they make a significant contribution to the
               enforcement of Articles 81 and 82 EC. In the run-up to the entry into application of
               Regulation 1/2003, the Commission had already started to shift the focus of its case-
               handling priorities from the follow-up of notifications to a more pro-active emphasis
               on pursuing serious infringements.15 Since May 2004, it has been able to implement
               the new enforcement system without any major interruption and to complete the shift
               in its enforcement priorities during the first years of application of Regulation
               1/2003.

     14.       Modernisation has clearly enabled the Commission to be more proactive. This is
               illustrated by the identification of sectors for priority action in the form of large scale
               sector inquiries in key sectors of the EU economy, which represent an important
               share of EU GDP and are of key concern for consumers. Since the entry into
               application of Regulation 1/2003, the Commission has undertaken inquiries in the
               media16, energy, retail banking, business insurance and pharmaceuticals sectors.17

     15.       The electricity and gas sectors constitute a key input to the overall economy and are
               fundamental services for citizens: together they represent a value of total retail sales

     12
              Case C-234/89 Stergios Delimitis v Henninger Braü [1991] ECR I-935, para 50.
     13
              Case C-453/99 Courage v Crehan [2001] ECR I-6297, paras 26 and 27, as confirmed by Joined Cases
              C-295/04 to C-298/04 Manfredi [2006] ECR I-6619.
     14
              See Commission White Paper on Damages Actions for Breach of the EC Antitrust Rules (COM (2008)
              165, 2.4.2008).
     15
              The last exemption decisions were adopted as follows: UEFA (Commission Decision 2003/778/EC of
              23 July 2003 (COMP/C.2-37.398 Joint selling of the commercial rights of the UEFA Champions
              League), OJ L 291, 08.11.2003, p.25) and Air France/Alitalia (Commission Decision 2004/841/EC) of
              7 April 2004 (COMP/A.38284/D2 – Société Air France/Alitalia Linee Aeree Italiane SpA), OJ L 362,
              09.12.2004.
     16
              3 G – Sale of sports rights and third generation mobile phone services. This sector inquiry was started
              already under Regulation 17 (in January 2004) but then continued under Regulation 1/2003.
     17
              See part 3.



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               before tax of more than € 500 billion per year. Retail banking – defined as services to
               consumers and small and medium-sized enterprises – remains the most important
               sub-sector of banking, representing over 50% of total EU activity in terms of gross
               income. The Commission estimated that in 2004 retail banking activity in the
               European Union generated gross income of € 250-275 billion, equivalent to
               approximately 2% of total EU GDP. Business insurance is of vital importance for
               both large and small businesses, given that the ability to insure a given risk may
               make or break a particular business model. It is estimated that EU insurers collect €
               375 billion in non-life premiums every year. In 2008, the Commission launched an
               inquiry into the market for prescription and non-prescription medicines, which is
               worth over € 138 billion ex factory and € 214 billion at retail prices. This translates
               into a retail expenditure of approximately € 430 for each EU citizen in 2007.

     16.       The more pro-active stance of the Commission is further illustrated in its decision-
               making practice. Today, the Commission is concentrating considerable resources on
               addressing infringements in economically highly important sectors, such as financial
               services, energy, IT, media and pharmaceuticals, which directly impact consumers.
               In addition, the Commission has consistently further increased the depth of its
               analysis over the last years. The investigation and examination of cases is
               characterised by increasing complexity and the use of greater sophisticated
               methodology in the context of the more effects-based approach applied by the
               Commission outside anti-cartel enforcement. Since the late 1990s, the Commission
               has used this approach in its analysis of restrictive horizontal and vertical agreements
               under Article 81 EC. Guidance has now been given as to how the Commission uses
               an effects-based approach to establish its enforcement priorities under Article 82 EC
               in relation to exclusionary conduct.18

     17.       The increasingly complexity of many cases is reflected in the ever greater role played
               by inspections in the investigation of cases, including outside the area of cartels. It is
               also illustrated by the steep increase in inspection days used for the investigation of
               non-cartel antitrust cases.19

     18.       The greater effectiveness of the Commission is also reflected by an increase in the
               number of enforcement decisions adopted. While it is difficult to isolate the impact
               of the reform from other contemporaneous developments,20 a comparison can be
               made with two previous distinct periods:

               (i)    the approximately comparable period in time from 1 January 2000 until the
                      entry into application of Regulation 1/2003 during which the Commission's
                      enforcement action was already increasingly oriented by the pending reform;

               (ii)   the preceding decade during which the Commission's antitrust enforcement
                      was still largely dominated by the notification system.




     18
              OJ C 45, 24.02.2009, p. 7.
     19
              The overall amount of man days for inspections in 2008 was 773.5 compared with a total of 213 man
              days in 2005.
     20
              E.g. the impact of the expansion of the EU in 2004 and 2007 and developments in the Commission's
              leniency policy which was initiated in 1996 and reviewed in 2002 and 2006.



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     19.       By adopting 34 decisions imposing fines in cartel cases since the entry into
               application of Regulation 1/2003 until 31 March 2009, compared with 27 in the
               period from 1 January 2000 to 30 April 2004, the Commission has sustained and
               further boosted its focus on enforcement against cartels despite the heightened
               awareness of infringing undertakings and the ensuing increased difficulty of
               investigations. In contrast, during the entire decade from 1 January 1990 until 31
               December 1999, the Commission had only adopted 18 decisions against cartels.21

     20.       Moreover, the Commission adopted 27 decisions enforcing Articles 81 and 82 (final
               decisions on substance) outside the field of cartels in the period since 1 May 2004.22
               By comparison, in the period from 1 January 2000 until 30 April 2004, only 17
               prohibition decisions were adopted.

     21.       The Commission’s more pro-active stance is also reflected in the fact that broadly
               50% of decisions taken since 1 May 2004 resulted from ex officio investigations not
               based on leniency information, one third were triggered by leniency applications and
               one tenth was based on complaints. By comparison, in the 1990s, own-initiative
               procedures accounted for only about 15% of new cases registered, with most
               procedures being triggered as the result of notifications. The effects of enhanced
               priority setting are also visible from the decrease in number of open cases (e.g. 943
               in 2000 decreasing to 225 in 2007).

     22.       Enhanced priority-setting is also reflected in the choice of instrument in individual
               cases and notably in the use by the Commission of the power of making
               commitments offered by undertakings binding and enforceable to address an
               identified competition problem. Since the entry into application of the Regulation,
               the Commission has adopted 13 decisions under Article 9.23

     23.       The huge increase in the enforcement of Articles 81 and 82 EC by the national
               competition authorities has meant that the enforcement of the EC competition rules is
               now commonplace throughout the EU.24 This allows the Commission to focus on
               cases and areas in accordance with its own priority setting. The Commission also
               contributes to effective and coherent enforcement by the national competition
               authorities through cooperation in the ECN.

     2.2.2.    Case practice under Article 81(3) EC

     24.       Under Regulation 1/2003, agreements that fulfil the cumulative conditions of Article
               81(3) EC are legal without the need for an affirmative decision by an authority. In
               the enforcement system established by Regulation 1/2003, the vast majority of
               agreements thus do not call for the intervention of any authority or enforcement body
               and are naturally not the subject of any decision or other act by such authorities.

     25.       Moreover, Regulation 1/2003 did not change the instrument of block exemption
               regulations which confers legality under Article 81(3) EC on agreements that fulfil



     21
              See table in the annex.
     22
              See table in the annex.
     23
              See part 3.
     24
              See part 5.



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               the requirements set out in the relevant Commission regulation.25 To the extent that
               an agreement fulfils the requirements of a block exemption regulation, no individual
               assessment under Article 81(3) EC is warranted.

     26.       In the enforcement system of Regulation 1/2003, Article 81(3) EC operates as a
               defence that undertakings may invoke in regard of agreements that are caught by
               Article 81(1) EC and are not block-exempted.26 In the framework of the
               Commission’s enforcement action during the reporting period, the conditions of
               Article 81(3) EC have been routinely considered in enforcement cases.27 If parties
               can provide a valid justification for their conduct, i.e. if Article 81(3) EC is likely to
               be fulfilled, the case is often not pursued further under the Commission's system of
               priority setting. Cases in which Article 81(3) EC aspects have been considered may
               also result in commitment decisions.

     27.       Extensive reasoning reflecting the analysis under Article 81(3) EC is thus naturally
               contained in prohibition decisions in cases that called for an in-depth examination
               under Article 81(3) EC, including in light of the evidence and argument put forward
               by the parties concerned to substantiate their claim that Article 81(3) EC was
               fulfilled.28

     28.       For example, in MasterCard29, the Commission found that an association of banks
               restricted competition by deciding on multilateral interchange fees (‘MIFs’).30
               MasterCard invoked Article 81(3) EC claiming that a revenue transfer (the MIF) was
               needed from the acquiring side to the issuing side to correct an asymmetry of costs
               between them and that it generated efficiencies in the form of increased output of the
               system. In its analysis under the first condition of Article 81(3) EC, the Commission


     25
              This is without prejudice to the right of the Commission or national competition authorities to withdraw
              the benefit of block exemption regulations in individual cases, pursuant to Article 29 of Reg. 1/2003.
              The following block exemptions have been adopted by the Commission: Commission Regulation No.
              2790/1999 of 22 December 1999 on the application of Article 81(3) of the Treaty to categories of
              vertical agreements and concerted practices (OJ L 336, 29.12.1999, p. 21-25), Commission Regulation
              No 2658/2000 of 29 November 2000 on the application of Article 81(3) of the Treaty to categories of
              specialisation agreements (OJ L 304, 05.12.2000, p.3), Commission Regulation No 2659/2000 of 29
              November 2000 on the application of Article 81(3) to categories of research and development
              agreements (OJ L 304, 05.12.2000. p.7), Commission Regulation No. 1400/2002 of 31 July 2002 on the
              application of Article 81(3) to categories of vertical agreements and concerted practices in the motor
              vehicle sector (OJ L 203, 01.08.2002, p.30-41), Commission Regulation No. 358/2003 of 27 February
              2004 on the application of Article 81(3) of the Treaty to certain categories of agreements, decisions and
              concerted practices in the insurance sector (OJ L 53, 28.2.2003, p.8-16), Commission Regulation No.
              772/2004 of 27 April 2004 on the application of Article 81(3) of the Treaty to categories of technology
              transfer agreements (OJ L 123, 27.04.2004, p.11-17) and Council Regulation (EC) No 246/2009 of 26
              February 2009 on the application of Article 81(3) of the Treaty to certain categories of agreements,
              decisions and concerted practices between liner shipping companies (consortia), OJ L 79, 25.03.2009,
              p.1.
     26
              Recital 5 of Regulation 1/2003.
     27
              Severe restrictions of competition are unlikely to fulfil the conditions of Article 81(3) EC as is noted in
              para 46 of the Guidelines on the application of Article 81(3) of the Treaty (OJ C 101, 27.04.2004, p.97).
              Accordingly, in such cases extensive reasoning as to the applicability of Article 81(3) EC is not
              required.
     28
              Parties which claim the benefit of Article 81(3) EC bear the burden of proving that its conditions are
              fulfilled in accordance with Art. 2 of Regulation 1/2003. See also part 2.4 below.
     29
              Case COMP/34.579, http://ec.europa.eu/competition/antitrust/cases/decisions/34579/remarks.pdf.
     30
              MIFs are defined as fees paid by acquiring banks – banks of merchants accepting payment cards - to
              issuing banks – banks issuing cards to cardholders.



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               notably verified whether the model underlying MasterCard's MIF was founded on
               realistic assumptions, whether the methodology used to implement that model could
               be considered objective and reasonable and whether the MIF had indeed led to the
               positive effects claimed. However, MasterCard failed to submit empirical evidence
               to demonstrate positive effects of its MIF on the market.

     29.       The Commission further concluded that MasterCard's MIF also did not fulfil the
               second condition of Article 81(3) EC. In this context, the Commission attributed
               particular importance to the question whether in setting a MIF, MasterCard used a
               methodology that guarantees from the outset that all consumers and, in particular,
               merchants obtain a fair share of the benefits. However, the cost benchmarks used by
               MasterCard were found to be largely arbitrary and inflated. Hence, without further
               evidence - which MasterCard did not submit - it was not proven that MasterCard's
               MIF had created efficiencies that benefit all customers, including merchants. Finally,
               MasterCard did not provide any empirical evidence on the actual effect of this MIF
               in the market although ECB statistics indicate that card schemes without a MIF
               display the highest card usage per capita in the EU. MasterCard had therefore not
               proven to the requisite standard that its MIF was indispensable to achieve a
               maximised system output or any claimed related efficiencies.

     30.       Further cases involving an extensive analysis under Article 81(3) EC in the financial
               services sector include Morgan Stanley/Visa31 and Groupement des Cartes
               Bancaires.32

     31.       In CISAC, the Commission adopted a prohibition decision against 24 European
               collecting societies for restricting competition by limiting their ability to offer their
               services to authors and commercial users outside their domestic territory resulting in
               a strict segmentation of the market on a national basis.33 The parties did not bring
               forward arguments which specifically addressed the application of Article 81(3) EC.
               However, it was argued that the territorial restrictions constitute a pre-requisite for
               the mutual exchange of repertoires and, therefore, for collecting societies to offer
               multi-repertoire licences. The Commission did not dispute that the network of
               bilateral reciprocal representation agreements between collecting societies provides a


     31
              Case COMP/37860: The Commission fined Visa €10,200,000 for refusing to admit Morgan Stanley as
              a member without an objective justification. Visa relied on Article 81(3) EC arguing that Visa (as a
              system and as a whole) generated efficiencies. However, the Commission concluded that such
              arguments did not show that the first condition of Article 81(3) EC of the Treaty is fulfilled with respect
              to the application of the exclusionary rule which was at issue in the case ("the Rule"). The Commission
              did not find any indication that the Rule as it was applied to Morgan Stanley generated pro-competitive
              effects. Its negative effects on the offer of acquiring services to merchants, innovation in the relevant
              market, and on Morgan Stanley itself, were therefore not outweighed by efficiencies. The Commission
              also held that VISA had not succeeded in demonstrating that the application of the Rule was necessary
              to prevent free riding. See http://ec.europa.eu/competition/antitrust/cases.
     32
              Case COMP/38.606: The Commission prohibited several measures by Groupement des Cartes
              Bancaires ("GCB") which hindered the issuing of cards in France at competitive rates, thereby keeping
              the price of payment cards artificially high to the benefit of the major French banks (in particular
              charges which were imposed on new entrants in a discriminatory way, thereby hindering the issuing of
              cards by other banks at a price lower than that of the large banks). Relying on Article 81(3) EC, GCB
              argued that the measures were necessary to promote economic and technical progress. The Commission
              concluded, however, that the arguments presented by GCB were contradictory and that the measures
              had an effect opposite to the effect claimed. See http://ec.europa.eu/competition/antitrust/cases.
     33
              Case COMP/38.698. See http://ec.europa.eu/competition/antitrust/cases.



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               national one-stop shop for a worldwide management of rights. However, it concluded
               that even without the restrictions, the alleged benefits, in particular the national one-
               stop-shops can still be provided. The restrictions are consequently not indispensable
               within the meaning of Article 81(3) EC. In addition, they eliminate competition on
               the markets for the administration of repertoires for other EEA CISAC members and
               the licensing of rights and therefore do not fulfil the forth of the cumulative
               conditions of Article 81(3) EC.

     2.2.3.    Application of Article 81(3) EC by national competition authorities

     32.       Regulation 1/2003 enables national competition authorities and courts to apply
               Articles 81 and 82 EC in full34 and obliges them to apply EC competition law in all
               cases that fall within its scope of application.35 The change in legal framework has
               resulted in a huge increase in enforcement of Articles 81 and 82 EC by the national
               competition authorities as from 2004.36 In general, national competition authorities
               are putting emphasis on pro-actively pursuing serious infringements.

     33.       As regards the application of Article 81(3) EC, the impact of the reform is similar to
               its effects in Commission cases, with the additional aspect of numerous national laws
               following the example of the Regulation by removing notification systems for the
               application of national competition laws.

     34.       Similar to the case practice of the Commission and in line with the basic scheme of
               the Regulation, Article 81(3) EC is normally invoked as a defence in cases
               investigated by national competition authorities in view of a possible prohibition
               decision. The vast majority of national competition authorities now have direct
               experience of applying Article 81(3) EC. At least half of the national competition
               authorities have adopted decisions in which it was found that the conditions of
               Article 81(3) EC were not fulfilled. The conclusion of cases in which the national
               authority considered the conditions of Article 81(3) EC to be fulfilled, depends on
               national procedural rules and practices. Numerous national competition authorities
               are – like the Commission – able to close such cases without adopting a reasoned
               decision and indeed regularly do so if they consider that the conditions of Article
               81(3) EC are likely to be fulfilled. To the extent that a decision by the authority is
               formally required, it has to comply with the last sentence of Article 5, according to
               which the national competition authorities may decide that there are no grounds for
               action on their part. Such decisions do not bind other enforcers or national courts.
               Cases that involve an analysis of the conditions of Article 81(3) EC may also be
               concluded by commitment decisions.

     35.       National competition authorities have carried out analyses of the application of
               Article 81(3) EC in a wide variety of sectors, including transport, food, energy,
               media and financial services. Many of these cases involved vertical restraints, and in
               particular, the application of the Vertical Restraints Block Exemption Regulation.37



     34
              Articles 5 and 6 of Regulation 1/2003.
     35
              Article 3 of Regulation 1/2003.
     36
              See parts 3 and 5.
     37
              Commission Regulation No 2790/1999 of 22 December 1999 on the application of Article 81(3) of the
              Treaty to categories of vertical agreements and concerted practices (OJ L 336, 29.12.1999, p. 21-25).



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     36.       Regulation 1/2003 does not oblige Member States to remove notification systems
               and exemption decisions in respect of national competition law. Nonetheless, a large
               majority of Member States have followed the model of Regulation 1/2003 by
               abolishing notification systems in the context of national competition law. In
               addition to not adopting clearance or exemption decisions in regard of Articles 81/82,
               most national competition authorities are thereby relieved of the obligation to deal
               with notifications in regard of national competition law, freeing up resources to focus
               on serious infringements. To date, the national competition laws of more than 20
               Member States operate without notifications.

     37.       To the extent that notifications under national law persist and the parallel application
               of EC law pursuant to Article 3 of the Regulation is required in notified cases,
               national competition authorities cannot adopt exemption decisions in respect of
               Article 81 EC, pursuant to Article 5, last sentence. They only have the possibility to
               combine an exemption or clearance decision under national law with the “no grounds
               for action” conclusion envisaged by the last sentence of Article 5. Given the phase-
               out of notifications in a large number of national laws, this issue has played a minor
               role in practice. Notwithstanding this, the maintenance of notification systems in
               national law may represent a drain on the scarce resources of the national
               competition authorities concerned.

     38.       Overall, no particular problems have been reported by the national competition
               authorities in terms of applying Article 81(3) EC and it seems that the vast majority
               of decisions which have involved an in-depth analysis under Article 81(3) EC and
               which were scrutinised by review courts have been upheld.

     2.2.4.    Case practice of national courts

     39.       National courts have applied Article 81(3) EC in a wide variety of sectors, including
               transport, energy, pharmaceuticals, financial services, cosmetics and media. Many of
               these cases involved vertical restraints, in particular, selective distribution, franchise
               agreements and resale price maintenance. In many rulings by national courts, the
               application of the Vertical Restraints Block Exemptions (old and new) is assessed.
               For example, in Spain, there have been numerous judgments concerning the possible
               nullity of exclusive purchase agreements between oil companies and petrol stations,
               several of which involved the application of the Vertical Restraints Block
               Exemption. Similar proceedings have been brought in The Netherlands, where the
               validity of exclusive purchase agreements, and in particular, of non-compete clauses
               in these contracts between oil companies and petrol stations have been reviewed by
               several national courts on the basis of the Vertical Restraints Block Exemption. In a
               number of Member States (France, Germany and The Netherlands), there have been
               a variety of judgments relating to the application of the Motor Vehicles Block
               Exemption (old and new).

     40.       Judgments in the Member States that joined the EU in 2004 and 2007 involving the
               application of Article 81(3) EC are still relatively infrequent which can to a certain
               extent be attributed to the fact that EC competition law became applicable as of the




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               date of accession only, with the effect that judicial proceedings under Article 81 EC
               are naturally less numerous and/or may not have reached the state of judgment yet.38

     41.       Overall, the relative scarcity of judgments involving Article 81(3) EC seems in the
               first place to stem from what appears to be a relatively low level of enforcement of
               EC competition law in general by national courts in the EU. This corresponds to the
               criticism made by some stakeholders that not all national courts have sufficient
               experience and/or expertise to apply Articles 81 and 82 EC. However, it is not
               evident that national courts face particular difficulties in applying Article 81(3) EC
               over and above the complexities involved with applying Article 81(1) and Article 82
               EC which have always been directly applicable.

     2.3.      Legal certainty debate and guidance practice

     42.       By granting validity and enforceability to all agreements that fulfil the conditions of
               Article 81(3) EC, Regulation 1/2003 removed uncertainty for a large number of
               agreements that remained in legal limbo under the old system inasmuch as only a
               very small number of agreements were covered by a formal exemption decision of
               the Commission.

     43.       The reform of the antitrust rules entailed a shift from giving comfort to individual
               agreements to a system in which the emphasis is on general guidance that can be
               helpful to numerous undertakings and other enforcers. This was a process which the
               Commission had already started prior to 2004 for vertical restraints39 and horizontal
               cooperation agreements.40 The 2004 Modernisation package included general
               guidelines on the application of Article 81(3) EC setting out the analytical
               framework for its application.41 Moreover, the Transfer of Technology Block
               Exemption and guidelines were adopted in 2004.42 The Commission regularly
               reviews its guidance, for example, it will review the Vertical and Horizontal
               Agreements Block Exemption Regulations by 2010. Such guidance is complemented
               by the ever-growing body of decision practice and case law.43 On 9 February 2009,


     38
              See further: http://ec.europa.eu/competition/elojade/antitrust/nationalcourts/. Listed herein is a
              compilation of the summaries prepared annually by most national competition authorities of the
              judgments rendered by their national courts involving the application of Articles 81 and 82 EC, in
              addition to the database of written judgments of national courts deciding on whether Articles 81 or 82
              EC are applicable, received by the Commission pursuant to Art. 15(2) of Reg. 1/2003. Neither of these
              sources appears to provide a complete overview of the application of the Articles 81 and 82 by national
              courts, but may be used to complement each other.
     39
              Commission Regulation No 2790/1999 of 22 December 1999 on the application of Article 81(3) of the
              Treaty to categories of vertical agreements and concerted practices (OJ L 336, 29.12.1999, p. 21-25)
              and Commission Notice on Guidelines on Vertical Restraints (OJ C 291, 13.10.2000, p.1).
     40
              Commission Regulation No 2658/2000 of 29 November 2000 on the application of Article 81(3) of the
              Treaty to categories of specialisation agreements (OJ L 304, 05.12.2000, p.3), Commission Regulation
              No 2659/2000 of 29 November 2000 on the application of Articles 81(3) to categories of research and
              development agreements (OJ L 304, 05.12.2000. p.7) and the Guidelines on the applicability of Article
              81 of the EC Treaty to horizontal cooperation agreements (OJ C 3, 06.01.2001, p.2).
     41
              Guidelines on the application of Article 81(3) of the Treaty (OJ C 101, 27.04.2004, p.97).
     42
              Commission Regulation No 772/2004 of 27 April 2004 on the application of Article 81(3) of the Treaty
              to categories of technology transfer agreements (OJ L 123, 27.04.2004, p. 11-17).
     43
              The Commission has also provided specific sectoral guidance regarding the application of the EC
              competition rules to information sharing in the context of the application of the REACH Regulation, see
              Corrigendum to Regulation (EC) No 1907/2006 of the European Parliament and Council of 18
              December 2006 concerning the Registration, Evaluation, Authorisation and Restriction of Chemicals



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               the Commission published guidance on its enforcement priorities in applying Article
               82 EC to abusive exclusionary conduct by dominant undertakings, in response to a
               strong demand from many stakeholders.44 This paper outlines for the first time the
               analytical framework that the Commission employs when assessing the most
               commonly encountered forms of exclusionary conduct, such as exclusive dealing,
               rebates, tying and bundling, predatory practices, refusal to supply and margin
               squeeze.

     44.       In view of possible cases that may arise which are not covered by existing sources of
               orientation, the Commission issued a Notice on guidance letters.45 In essence, the
               Notice enables undertakings to request for a guidance letter by the Commission when
               a case gives rise to genuine uncertainty because it presents novel or unresolved
               questions concerning the application of Articles 81 and 82 EC.46 The Notice takes
               account of the rationale of the Regulation that the Commission is to give priority to
               enforcement tasks by pursuing serious infringements of Articles 81 and 82 EC.47

     45.       During the reporting period, very few approaches have been made to the
               Commission for "informal guidance" as set out in the Notice on guidance letters.
               None of these approaches came close to fulfilling the conditions for making such a
               request, which must be made about novel or unresolved questions that give rise to
               genuine uncertainty, as opposed to providing what would amount to individual
               comfort letters as existed prior to modernisation.48

     46.       Stakeholder feedback after 5 years of application of Regulation 1/2003 is nuanced
               and there is currently no evidence of real problems that have materialised.

     47.       A certain number of respondents to the public consultation reiterate that the
               Commission should provide more guidance, including in the form of inapplicability
               decisions.49 Some stakeholders claim that a lack of legal certainty deters companies
               from pursuing certain investments that they would have contemplated with the
               protection of notification, or that certain transactions would be restructured so as to


              (REACH), establishing a European Chemicals Agency, amending Directive 1999/45/EC and repealing
              Council Regulation (EEC) No 793/93 and Commission Regulation (EC) No 1488/94 as well as Council
              Directive 76/769/EEC and Commission Directives 91/155/EEC, 93/76/EEC, 93/105/EC and
              2000/21/EC (OJ L 396, 30.12.2006). It has also adopted Guidelines on the application of Article 81 of
              the Treaty to Maritime Transport Services, SEC (2008) 2151 final, 01.07.2008.
     44
              OJ C 45, 24.02.2009, p.7.
     45
              Commission Notice on informal guidance relating to novel questions concerning Articles 81 and 82 of
              the EC Treaty that arise in individual cases (guidance letters) (OJ C 101, 27.04.2004, p.78).
     46
              Regulation 1/2003 expressly refers to the possibility for the Commission to provide guidance in Recital
              38. According to para 8 of the Commission Notice (ibid), a novel or unresolved question is raised where
              the substantive assessment of an agreement or practice poses a question of application of Articles 81 or
              82 EC for which there is no clarification in the existing EC legal framework.
     47
              See para 7 of the Commission Notice on guidance letters (ibid), which stipulates that the Commission
              will only provide informal guidance to undertakings insofar as this is compatible with its enforcement
              priorities.
     48
              It is the practice of the Commission to impose more than symbolic fines only where it is established,
              either in horizontal instruments or in the case law and practice, that certain behaviour constitutes an
              infringement. See para. 4 of the Commission Notice on guidance letters (ibid) and para 36 of the
              Guidelines on the method of setting fines imposed pursuant to Article 23 (2)(a) of Regulation No
              1/2003, OJ C 210, 01.09.2006, p.2. As a result, companies engaging in activities about which there
              exists genuine legal uncertainty are not at risk of being subject to a fine.
     49
              On Article 10, see further part 3.



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               fall under the Merger Regulation (or national equivalents) with a loss of efficiencies.
               Similarly, some stakeholders have commented that the conditions for fulfilling the
               Notice are too tightly drawn. While the criterion of novel or unresolved questions is
               largely uncontroversial, some stakeholders have called for guidance letters to be
               made also available in cases involving complex products or complex market
               conditions. However, no concrete examples have been provided in support of this.

     48.       Other respondents have advanced more limited ideas, e.g. calling for more dialogue
               with the Commission services on novel issues or commercial transactions involving
               significant investments or encouraging Commission case teams to more often set out
               their thinking in publications of the EC Competition Policy Newsletters type. These
               submissions are made in a context where the vast majority of respondents have
               commended the direct application of Article 81(3) EC as a more efficient and
               rational system of enforcement. For the most part, undertakings seem to be
               comfortable with assessing for themselves whether their agreements are likely to be
               caught by Article 81 EC and have welcomed the abolition of the administrative
               burden and long timescales that was part and parcel of notifications made under
               Regulation 17. A number of lawyers have indicated that they have not been asked for
               many more formal opinions on the applicability of Article 81(3) EC than was the
               case prior to modernisation. Businesses have also expressed that they have not felt
               the need for formal guidance from the Commission in the period since Regulation
               1/2003 entered into application. The Commission therefore concludes that it is now
               standard practice for undertakings to verify that their behaviour complies with the
               applicable legal requirements in many areas of law and that it is usually more
               effective and efficient for it to provide general guidance. Nonetheless, the
               Commission remains firmly committed to giving guidance on new or unresolved
               policy issues of general application which fulfil the conditions of the Notice on
               guidance letters.

     2.4.      The rule on burden of proof in Article 2

     49.       Regulation 1/2003 did not affect the substance of Article 81 EC, which is composed
               of a prohibition rule requiring an assessment of the anti-competitive object or an
               analysis of likely anti-competitive effects, and a defence, requiring an analysis of
               likely pro-competitive effects and the weighing up of those pro-competitive and anti-
               competitive effects.

     50.       Article 2 contains the ground-rule on the allocation of the burden of proof in EC
               competition law. It clarifies that the burden of proving an infringement rests with the
               authority, while undertakings claiming the benefit of Article 81(3) EC have the
               burden of proving that its conditions are fulfilled. This allocation of the burden of
               proof has been confirmed by the Court of Justice50 and is in accordance with general
               principles of law that the party claiming a defence has to prove that the conditions
               attached to that defence are satisfied and corresponds to the case law of the
               Community Courts.51 No concrete examples of this rule having posed a particular
               problem in practice have been brought to the Commission's attention.



     50
              Joined Cases C-204/00 and others Aalborg Portland [2004] ECR I-124, para 78.
     51
              See e.g. Cases 56/64 and 58/64 Etablissements Consten SàRL and Grundig-Verkaufs-GmbH
              v Commission [1965] ECR 299, at 347; Case T-34/92 Fiatagri and New Holland Ford v Commission



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     51.       The Community Courts are providing additional refinement to the rule in Article 2.
               In terms of the Commission's enforcement practice, they have clarified that in the
               course of the examination of a case the apportionment of the burden of proof may
               vary inasmuch as evidence presented by one side may require the other to provide an
               explanation or justification, failing which it is permissible to conclude that the
               burden of proof has been discharged.52

     52.       Article 2 of Regulation 1/2003 does not determine the standard of proof. Recital 5 of
               Regulation 1/2003 stipulates that national rules on the standard of proof are
               unaffected by the Regulation, although they must of course be compatible with
               general principles of Community law, and in particular cannot jeopardise the effet
               utile of Articles 81 and 82 EC, in particular, by raising the standard so high that the
               application of Article 81(1) EC becomes impossible or unduly difficult. A reference
               for a preliminary ruling has been made to the European Court of Justice asking if a
               national court applies Article 81 EC, is the evidence of a causal connection between
               concerted practice and market conduct to be adduced and appraised in accordance
               with the rules of national law, subject to the Community law principles of
               effectiveness and equivalence.53

     53.       In relation to Commission proceedings, the Community Courts have developed an
               abundant body of case law concerning the assessment of evidence, including the
               admissibility of evidence and the evidentiary value of a given item of information.
               For instance, the Court of Justice recently confirmed in Dalmine that the prevailing
               principle regarding the admissibility of evidence in Community law is "the unfettered
               evaluation of evidence and the only relevant criterion for the purpose of assessing
               the evidence adduced relates to its credibility."54 Nonetheless, this principle must be
               balanced in particular by respect for general principles of Community law such as the
               right to a fair legal process. Accordingly, the Court has for example held that the fact
               that certain information contained in an incriminating document must remain
               confidential (including the origin of the document) does not mean that the rest of the
               document cannot be used in evidence.55 However the anonymous origin of an
               incriminating document shall be taken into account in assessing the credibility of the
               document and thus has a direct impact on its evidentiary value. Within the context of
               the Leniency Notice, the Commission has also addressed evidentiary issues through
               the concept of "added value", i.e. the extent to which evidence by its very nature




              [1994] ECR II-905, para 99, Case T-112/99 Métropole Télévision (M6) et al v Commission [2001]
              ECR II-2459, paras 130-131. See Case C-49/92 P Commission v Anic [1999] ECR I-4125, para 86 and
              the case law listed therein, where the Court of Justice ruled that "[…] it is incumbent on the
              Commission to prove the infringements which it has found and to adduce evidence capable of
              demonstrating to the requisite legal standard the existence of the circumstances constituting the
              infringement"..
     52
              Aalborg Portland and Others v Commission, ibid, para 79, Case T-48/98, Acerinox v Commission
              [2001] ECR II-3859 paras 29-30, Case T-120/04 Organicos Peroxydos v Commission [2006] ECR
              II-4421, paras. 53 and para 71 and Case T-36/05 Coats Holding and J&P Coats v Commission, [2007]
              ECR II-110, para 122. See also above, part 2, for the Commission's assessment of MasterCard's claim.
     53
              C-8/08 – request for a preliminary ruling by the College van Beroep voor het Bedrijfsleven /
              Netherlands (Administrative Court for Trade and Industry) T-Mobile Netherlands BV and others.
     54
              Case C-407/04 P Dalmine v Commission [2007] ECR I-829, para. 63.
     55
              Case C-411/04 P Salzgitter Mannesmann GmbH v Commission, [2007] ECR I-959 paras 40-47.



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               and/or its level of detail strengthens the Commission's ability to prove the alleged
               cartel.56


     3.        COMMISSION PROCEDURES – HOW THE COMMISSION HAS USED ITS TOOLS UNDER
               THE REGULATION FOR EFFECTIVE ENFORCEMENT

     3.1.      Background

     54.       Under the EC Treaty, the Commission has responsibility for implementing the
               competition rules in Articles 81 and 82 EC.57 The Community enforcement system is
               that of an integrated public authority that has power to order infringements to be
               brought to an end and to impose sanctions for past behaviour. The Community
               system corresponds to the institutional choice of a majority of Member States.58

     55.       Such systems imply that the same institution investigates and takes decisions on the
               cases handled, which has raised queries from a number of stakeholders. However, as
               far as decisions adopted are subject to independent judicial control, such systems are
               fully compatible with established case law of both the Community Courts as well as
               the European Court of Human Rights. To this regard, besides the checks and
               balances that exist within the Commission procedures59, the decisions adopted by the
               Commission are subject to the judicial scrutiny by the Court of First Instance and the
               Court of Justice. In particular, the Community Courts have unlimited jurisdiction to
               review decisions whereby the Commission has fixed a fine or periodic penalty
               payment.60

     56.       Issues relating to the compatibility of the Community enforcement system with the
               rights of defence of the parties in competition proceedings were raised in the context
               of appeals against Commission decisions before the Community Courts and were
               rejected by the latter.61 The Community enforcement system also satisfies the
               requirements of the European Convention on Human Rights ("ECHR"). Under the
               case law of the European Court of Human Rights, administrative adjudication even
               of certain matters qualified 'criminal' within the meaning of Article 6 of the ECHR is


     56
              Point 24 of the Commission Notice on the non-imposition or reduction of fines in cartel cases, OJ C
              207, 18.07.1996, p. 4-6.
     57
              Article 85 EC, Case C-344/98 Masterfoods [2000] ECR I-11369, para 46. In the absence of an
              implementing regulation, the Commission can rely on Article 85 EC directly to adopt decisions; this
              tool is however not very effective in practice. When Regulation 1/2003 was adopted, it took over certain
              'lacunae' from the earlier enforcement regulations in the transport sector (Article 32); in these areas the
              Commission could consequently only act on the basis of Article 85 EC directly; the relevant provision
              has been removed by Regulations 411/2004 of 26 February 2006 and 1419/2006 of 25 September 2006.
     58
              See part 5 below.
     59
              Commission enforcement decisions are taken by the College of the Commission; the services of the
              Directorate General for Competition merely prepare such decisions. The decision-making process
              involves the Commission Legal Service and other associated services. Furthermore, the Hearing
              Officers are in charge of supervising compliance with the right to be heard in competition proceedings
              (see Commission Decision of 23 May 2001 on the terms of reference of hearing officers in certain
              competition proceedings; OJ L 162/21 of 19.6.2001).
     60
              Article 230 EC and Article 31 of Regulation 1/2003.
     61
              Cf. Cases 209-215 and 218/78, Heintz van Landewyck SARL and others v Commission (FEDETAB),
              [1980] ECR 3125, para 81; Cases 100-103/80, Musique Diffusion Française and others v Commission,
              [1983] ECR 1825, para 7; Case T-11/89, Shell International Chemical Company v Commission, [1992]
              ECR II-757, para 39.



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               not incompatible with the Convention so long as the party concerned can bring any
               such decision affecting it before a judicial body that has full jurisdiction, including
               the power to quash in all respects, on questions of fact and law, the challenged
               decision.62

     57.       Notwithstanding the legality and efficiency of the current procedure, the Commission
               notes that in this context various respondents have discussed the possibility of
               strengthening the role of the Hearing Officer with a view to ensure procedural
               fairness, transparency and independent (peer) review of evidence.

     58.       Regulation 1/2003 provides the Commission with a set of specific powers to ensure
               effective enforcement action. The procedural tools have to a large extent been
               developed from the earlier Regulation 17 and the case law based thereon. This
               concerns in particular the Commission's investigation and fining powers. The types
               of decisions were revised in light of the direct application of Article 81(3) EC. The
               Commission continuously refines its policy and develops new ways of enhancing
               enforcement within the framework of the Regulation.63

     59.       The present chapter is intended to reflect how the Commission has used the new or
               more developed instruments of the Regulation, taking into account that some
               instruments have been used more often than others. The Report identifies certain
               limited areas in which there appear to be efficiency reserves that the current legal
               framework and/or practice do not fully exploit and that may merit further reflection.

     3.2.      The Commission's increased investigative powers

     3.2.1.    Introduction

     60.       Chapter V of Regulation 1/2003 lays down the Commission's formal powers of
               investigation. As in Regulation 17, the principal powers are requests for information
               and inspections. Regulation 1/2003 essentially reinforced both of them, by
               introducing the power to adopt decisions immediately pursuant to Article 18(3), the
               power to carry out inspections in non-business premises, the power to affix seals in
               business premises and the power to ask oral questions on facts or documents relating
               to the subject-matter and purpose of an inspection and to record the answers.
               Moreover, Regulation 1/2003 provides for the possibility to impose fines if seals
               have been broken or incorrect or misleading answers have been given. In addition to
               these compulsory measures, the Regulation also introduced the power to interview
               legal and natural persons with their consent. In the framework of pro-active
               enforcement, the powers of investigation have gained in importance.

     3.2.2.    Sector inquiries

     61.       Article 17 of Regulation 1/2003 has substituted Article 12 of Regulation 17. It
               enables the Commission to undertake inquiries into sectors of the economy where
               there are indications to suggest that competition is being restricted or distorted in an

     62
              See in this context Bendenoun v France, Judgment of the ECtHR of 24 February 1994, para 46;
              Janosevic v Sweden, Judgment of the ECtHR of 23 July 2002, para 81.
     63
              National competition authorities apply the procedures and powers provided by national law even when
              the investigation relates to the enforcement of Articles 81 and 82 EC, subject to the Community
              principles of equivalence and effectiveness. See below, part 5.



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               economic sector of the common market. It also empowers the Commission to carry
               out inquiries into types of agreements.64

     62.       Since the entry into force of Regulation 1/2003, sector inquiries have become one of
               the key investigative tools for the Commission, reflecting an increased scope for
               taking action in priority areas that are vital to Europe's citizens and where market
               information suggests that competition does not work as it should. The Commission
               uses this instrument to improve its in-depth knowledge about a sector with a view to
               better identifying its main shortcomings caused by market participants. It is therefore
               an 'upstream' exercise to potential antitrust proceedings in specific cases which may
               follow. A sector inquiry can in addition provide empirical evidence that may be
               useful in reviewing the regulatory framework governing a sector.

     63.       The Commission's experience of the sector inquiries conducted during the reporting
               period, into the media65, gas and electricity66, retail banking67, business insurance68
               and pharmaceutical sectors69 is very positive. Sector inquiries have enabled the
               Commission to identify shortcomings in the competitive process of the respective
               sectors under investigation and provided a wealth of factual material that have
               supported the Commission in carrying out more detailed assessments in individual
               cases.

     64.       In the energy sector, the inquiry responded to concerns voiced by consumers and
               new entrants in the sector about the development of wholesale gas and electricity
               markets and limited choice for consumers. After nearly two years of intensive
               investigation, the Commission identified in its final report70 serious shortcomings in
               the electricity and gas markets, e.g. too much market concentration in most national
               markets, a lack of liquidity preventing successful new entry, too little integration
               between Member States’ markets, an absence of transparent, available market
               information leading to distrust in the pricing mechanisms, an inadequate current level
               of unbundling between network and supply interests which has negative
               repercussions on market functioning and investment incentives, customers being tied
               to suppliers through long-term downstream contracts, and current balancing markets
               and small balancing zones which limit competition and thereby ease costs for the
               final consumer. As a follow-up, the Commission launched a number of investigations
               under the EC Treaty rules, notably Article 82 EC, in the electricity and gas markets.
               Whereas several cases are still ongoing, the Commission has already adopted a
               landmark decision concerning two cases in the electricity sector.71 On the basis of

     64
              No such inquiry into types of agreements has been conducted in the reporting period.
     65
              3G – Sale of sports rights and third generation mobile phone services, Sector inquiry launched on 30
              January 2004. See http://ec.europa.eu/competition/sectors/media/inquiries.
     66
              Gas and electricity Sector inquiry launched in 2005; Final report presented on 10 January 2007. See
              http://ec.europa.eu/competition/sectors/energy/inquiry.
     67
              Sector inquiry launched on 13 June 2005; Final report presented on 31 January 2007. See
              http://ec.europa.eu/competition/sectors/financial_services/inquiries/retail.html.
     68
              Sector inquiry launched on 13 June 2005; Final report presented on 25 September 2007. See
              http://ec.europa.eu/competition/sectors/financial_services/inquiries/business.html.
     69
              Launched on 15 January 2008; Preliminary findings were presented on 28 November 2008; final
              resultsare due in summer 2009.
     70
              The Directorate General for Competition report on energy sector inquiry (SEC(2006) 1724, 10 January
              2007). See http://ec.europa.eu/competition/sectors/energy/inquiry.
     71
              Commission Decision of 26 November 2008 making binding the commitments by E.ON to divest
              respectively 5000MW of generation capacity (about one fifth of its portfolio) and its transmission



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               unprecedented structural commitments addressing horizontal and vertical concerns,
               this decision is expected to open two separate markets to competition. In another key
               case in the gas sector72, an undertaking has also provided structural commitments to
               bring the investigation to an end. The in-depth knowledge of the energy market
               which the Commission gained in the course of the sector inquiry has also served for
               reviewing the regulatory framework for energy liberalisation.73

     65.       The sector inquiry into the retail banking sector found a number of competition
               concerns in the markets for payment cards, payment systems and retail banking
               products, e.g. highly concentrated markets in many Member States, large variations
               in merchant fees across the EU, large variations in interchange fees between banks
               across the EU, high and sustained profitability particularly in card issuing and
               divergent technical standards.74 The impact of the inquiry on the retail banking
               market is multifaceted: the sector inquiry findings lent support to existing
               enforcement cases, in particular in the payment cards area. New areas of
               investigation have emerged, both for the Commission and for national competition
               authorities. Already after the publication of its interim report on payment cards and
               systems, the Commission met banks in some Member States75 to discuss where self
               regulation could address competition concerns and several market players have taken
               steps to address the Commission’s concerns. Several of the market barriers
               highlighted by the sector inquiry are addressed in the context of the discussions on
               SEPA (Single Euro Payments Area).76 Moreover, the knowledge of the market
               obtained in the course of the sector inquiry contributes to other Commission
               initiatives than competition law enforcement.77

     66.       The business insurance sector inquiry identified concerns about the operation of two
               areas of business insurance. Firstly, it highlighted long-standing and widespread
               industry practices in the reinsurance and coinsurance markets involving the
               alignment of premiums, which may lead to higher prices for large risk commercial
               insurance. The report left open the question of whether these constitute infringements
               of the prohibition on restrictive business practices (Article 81 EC), but invited
               industry either to justify the business practices concerned under the competition rules
               or to reform them. Secondly, the Commission also confirmed its concerns as to
               transparency of remuneration and conflicts of interest in insurance brokerage which
               may inflate prices and reduce choice, in particular for SMEs. This issue will be
               further explored in the context of the review of the Insurance Mediation Directive
               2002/92/EC. Finally, the sector inquiry has also provided useful data which will be




              network (including the system operation activities) in order to bring to an end two investigations
              respectively in the German wholesale electricity market and in the German balancing market. See
              http://ec.europa.eu/competition/antitrust/cases.
     72
              RWE Gas Foreclosure, see Commission Press Release IP/09/410 of 18/03/2009.
     73
              The EU Electricity & Gas markets: third legislative package, September 2007;
              http://ec.europa.eu/energy/electricity/package_2007.
     74
              Final Report, COM(2007)33 final, 31 January 2007.
              http://ec.europa.eu/competition/sectors/financial_services/inquiries/retail.html
     75
              Austria, Finland and Portugal.
     76
              See Commission Press Release, IP/07/114 of 31 January 2007.
     77
              Green Paper on Retail Financial Services of 30.04.2007, COM 2007 226 final.



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               fed into the review of the Insurance Block Exemption Regulation78, a report on the
               functioning of which was adopted by the Commission on 24 March 2009.79

     67.       The most recent sector inquiry was launched on 15 January 2008 into the
               pharmaceutical sector relating to the introduction of innovative and generic
               medicines for human consumption onto the market. The inquiry was launched in
               response to indications that fewer new medicines were brought to market and the
               entry of generic medicines seemed to be delayed. The preliminary findings presented
               on 28 November 200880 suggest that there is evidence that originator companies have
               engaged in practices with the objective of delaying or blocking market entry of
               competing medicines. It seems that such practices vis-à-vis generic companies
               include multiple patent applications for the same medicine (so-called patent clusters),
               initiation of disputes and litigation, conclusion of patent settlements which constrain
               market entry of generic companies and interventions before national authorities when
               generic companies ask for regulatory approvals. The preliminary findings also
               indicate that, where successful, these practices result in significant additional costs
               for public health budgets – and ultimately taxpayers and patients – and reduce
               incentives to innovate.81 The preliminary findings also suggest that companies
               applied defensive patenting strategies, primarily aimed at blocking competitors in the
               development of new medicines. The Commission will publish a final report in
               summer 2009.

     68.       Article 17 of Regulation 1/2003 enables the Commission to exercise its investigative
               powers under Articles 18, 19, 20 and 22 of Regulation 1/2003 in the context of a
               sector inquiry. The pharmaceutical sector inquiry is the first Commission sector
               inquiry that has been started with unannounced inspections at the premises of a
               number of originator and generic pharmaceutical companies. Unannounced
               inspections are organised notably to prevent the risk of documentation relating to
               possible anti-competitive practices being concealed, withheld or destroyed if other
               investigative means are used. In this particular inquiry, the kind of information the
               Commission examined, notably concerning the use of intellectual property rights,
               litigation and settlement agreements covering the EU, is by its nature highly
               confidential. Such information may also be easily withheld, concealed or destroyed.
               For these reasons, the Commission decided that immediate access to all such
               information was necessary. The knowledge acquired by the Commission during the
               sector inquiry has allowed the Commission to identify various competition concerns
               and to launch individual investigations. On this basis further unannounced
               inspections were organised at several pharmaceutical companies on 24 November
               2008.82



     78
              Commission Regulation (EC) No 358/2003 of 27 February 2003 on the application of Article 81(3) of
              the Treaty to certain categories of agreements, decisions and concerted practices in the insurance sector
              (OJ L 53, 28.2.2003, p. 8).
     79
              See             Commission               Press             Release,            IP/09/470             and
              http://ec.europa.eu/competition/sectors/financial_services/insurance.html
     80
              See        Commission        Press       Release,      IP/08/1829;       Report        published      on
              http://ec.europa.eu/comm/competition/sectors/pharmaceuticals/inquiry/index.html.
     81
              The preliminary report takes a sample of medicines that faced loss of exclusivity in the period 2000 to
              2007 in 17 Member States and estimates that additional savings of around € 3 billion would have been
              possible on that sample over this period if generic medicines had entered the market without delay.
     82
              See Commission Press Release, IP/08/734 of 24 November 2008.



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     69.       Respondents to the stakeholder consultation have criticised the use of inspections in
               the context of a sector inquiry. However, the power to conduct sector inquiries in the
               Regulation is a genuine investigation power aimed at effective enforcement. It
               therefore includes the right to conduct inspections under Article 20 which are
               necessary for carrying out the sector inquiry concerned. The use of inspections in a
               particular sector inquiry is carefully assessed by the Commission and depends on the
               circumstances of the individual inquiry and notably on the type of information the
               Commission needs for its investigation. Similarly, stakeholders have raised the scope
               of questionnaires addressed to undertakings in the context of sector inquiries. The
               Commission recognises that replies to information requests can be resource and time-
               intensive, however, it considers that it does not go beyond what is necessary to fully
               understand the markets concerned and the relationships between the market players.
               Without this key data, the findings of the sector inquiries would be less robust and
               could lead to erroneous or distorted conclusions by the Commission.

     3.2.3.    Inspections in business premises

     70.       Unannounced inspections in business premises have always been the Commission’s
               most important tool in its fight against cartels and other anticompetitive behaviour.
               Already provided for by Regulation 17, these powers have been reinforced by
               Regulation 1/2003 and further enhanced by new provisions which are set out in more
               detail below. Between 1 May 2004 and the end of 2008, the Commission conducted
               29 inspections in cartel cases. It also undertook inspections in the framework of the
               pharmaceutical sector inquiry and other antitrust cases.

     71.       The Community Courts in Hoechst83, Roquette84, and more recently in France
               Télécom85, have confirmed the powers of investigation conferred on the Commission
               by Regulation 17 and now by Regulation 1/2003.

     72.       Article 20(2)(d) of Regulation 1/2003 confers on Commission inspectors the power
               to seal premises, books and records insofar as it is necessary for the inspection. It
               permits a more extensive inspection to be conducted without the risk that documents
               will be removed. Seals have been regularly used during inspections since 2004. They
               are particularly useful when a considerable number of offices need to be inspected,
               numerous documents are found which cannot all be copied and registered in one day
               and when Forensic IT is used which often requires overnight scanning of IT files.
               Pursuant to Article 23(1)(e) of the Regulation breaching the seals affixed by the
               Commission may lead to a fine of up to 1% of the annual turnover of the
               undertaking.86

     73.       Article 20(2)(e) empowers the Commission during inspections in business premises
               to "ask any representative or member of staff of the undertaking or association of
               undertakings for explanations of facts or documents relating to the subject-matter and
               purpose of the inspection and to record the answers". Failure to comply can attract
               fines and/or periodic penalty payments on the company in accordance with Articles
               23 and 24. The power to ask questions has been a successful instrument in


     83
              Joined Cases 46/87 and 227/88 Hoechst AG [1989] ECR 2859, para 26.
     84
              Case C-94/00 Roquette Frères SA [2002] ECR I-9011, para 42.
     85
              Cases T- 339/04 and T-340/04 France Télécom v. Commission [2007] ECR II-521, paras 49-53.
     86
              See in this context below, the E.ON seals case, part 3.5.6.



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               Commission inspections in the last five years. In particular, in complex cartel cases
               where cartel members acted in a very sophisticated way to hide any traces of their
               unlawful conduct, factual questions to staff members have enabled the Commission
               to obtain access to relevant information.87

     3.2.4.    Commission inspections in non-business premises

     74.       The most significant extension of the Commission investigation powers was
               introduced by Article 21 of Regulation 1/2003 in the form of inspections in other
               than business premises, including for instance the homes of directors, managers and
               other members of staff of the undertakings and associations of undertakings
               concerned. This power can only be exercised by Commission decision and requires a
               reasonable suspicion that books or other records relating to the business and to the
               subject-matter of the inspection, which may be relevant to prove a serious violation
               of Article 81 EC or Article 82 EC, are kept there. Given the serious intrusion into
               private life, such inspections can only be executed with prior judicial authorisation.88

     75.       The first inspection of private premises took place in the context of the marine hose
               cartel investigation. In May 2007, Commission inspectors carried out an inspection
               of the premises of several marine hose producers in France, Italy and the United
               Kingdom.89 Simultaneously a Commission team inspected the private premises of a
               director of one of the undertakings concerned in the UK. The evidence found in the
               course of these inspections and in particular in the private premises enabled the
               Commission to fine the marine hose producers involved € 131 million for market
               sharing and price-fixing cartel in January 2009.90 This first successful experience has
               proven that the new investigation tool introduced by Article 21 is very important for
               the Commission in its fight against cartels which have become more and more
               complex and where efforts to hide evidence of forbidden activities have significantly
               increased during the last years. Another inspection in private premises has taken
               place in 2008.91

     3.2.5.    Legal professional privilege

     76.       The principle of legal privilege as an unwritten limitation of the Commission's power
               to inspect was recognised by the Court of Justice in the AM&S92 case. The question
               of an extension of legal privilege to in-house lawyers had been argued by certain
               proponents at the time of the adoption of Regulation 1/2003 and was raised anew in
               the public consultation for the Report.




     87
              For instance in case COMP/F/38.899 "Gas insulated switchgear" – GIS, Commission Decision of 24
              January 2007, http://ec.europa.eu/competition/cartels/cases.
     88
              See Article 21(3) of Regulation 1/2003.
     89
              See Commission Press Release, IP/07/163 of 3 May 2007.
     90
              See Commission Press Release, IP/09/137 of 28.1.2009; see also OFT Press release 70/07
              (http://www.oft.gov.uk/news/press/2007/70-07).
     91
              The case is still pending.
     92
              Case 155/79 AM& S [1982] ECR 1575; see also Case T-30-89 Hilti [1990] ECR II-163, para 18.



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     77.       In Akzo93 the Court of First Instance recently confirmed the AM&S jurisprudence, up-
               holding a uniform European standard for legal privilege in Commission inspections
               and providing clarifications about the material and personal scope of the privilege
               rule and about the procedure to be followed when dealing with contested claims of
               legal privilege during inspections.94

     78.       The Court of First Instance rejected legal privilege for lawyers who are in a
               relationship of employment with a company other than a law firm (in-house
               lawyers), relying notably on the lack of structural independence inherent to their
               position. It expressly rejected the argument that the abolition of the notification
               system and the ensuing extended need for self-assessment pleaded for an extension
               of legal privilege.95 Moreover, the Court of First Instance held that the evolution of
               national legislation which had been alleged by the applicants does not support a
               general finding that in-house lawyers should be covered by legal privilege.96 The
               question of legal privilege for in-house lawyers is further pending before the Court of
               Justice following the appeal of the Akzo judgment.97

     3.2.6.    Inspections by national competition authorities at the request of the Commission

     79.       Article 22 of Regulation 1/2003 is based on former Article 13 of Regulation 17 and
               has been adapted to the new enforcement system. It enables national competition
               authorities to carry out inspections or other fact-finding measures on their territory
               on behalf and for the account of another competition authority (paragraph 1)98 and
               inspections upon request by the Commission (paragraph 2). In both cases, Article 22
               inspections are carried out in accordance with the national law of the Member State
               where the inspection or fact-finding measure takes place. The assisting authority may
               use all investigative tools at its disposal independently of the fact that they may differ
               from the investigative tools at the disposal of the requesting authority.

     80.       As was the case in Regulation 17, national competition authorities are obliged to
               carry out an inspection where the Commission requests it. The Commission has used
               this provision in the context of the Flat glass investigation in France and in Germany
               in February 2005.99 It is potentially useful, in particular in investigations where a
               rather large number of sites need to be inspected simultaneously and the Commission
               would otherwise not be able to cover all inspection sites. Nevertheless, practical and
               legal issues have so far prevented extensive use of this provision. Inter alia, Article
               22(2) tends to import the differences in procedures in the Member States into
               Commission procedures. Uncertainties have occasionally also arisen with regard to

     93
              Joined Cases T-125/03 and T-253/03 Akzo Nobel Chemicals and Akzo Chemicals v. Commission,
              [2007] ECR II-3523. The President of the Court of First Instance had issued an order granting interim
              measures (Order of 30.10.2003) which was then reversed by the Court of Justice (Order of 27.9.2004).
     94
              Legal professional privilege covers also preparatory documents even if they were not exchanged with a
              lawyer or were not created for the purpose of being sent physically to a lawyer, provided that they were
              drawn up exclusively for the purpose of seeking legal advice from a lawyer in exercise of the rights of
              defence. The mere fact that a document has been discussed with a lawyer is not sufficient to give it such
              protection (para 123 of the judgment).
     95
              Ibid., para 172.
     96
              Ibid., para 170.
     97
              Case C-97/08 P, OJ C128 of 24.05.2008, p.22.
     98
              See below, part 5.4.2.
     99
              See Commission Press Release IP/05/63 of 24 February 2005; see also Decision COMP/39.165 of
              28.11.2007, http://ec.europa.eu/competition/cartels/cases.



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               whether the transfer of evidence should take place on the basis of Article 12 or
               Article 22, but to date this has been satisfactorily resolved. Further reflection on a
               possible clarification of the provision may be appropriate with a view to improve the
               effectiveness of this tool.

     3.2.7.    Requests for information

     81.       Article 18 of Regulation 1/2003 gives the Commission the power to obtain all
               necessary information from undertakings. This power can be used at any stage in the
               Commission's procedure and is not limited to the fact-finding stage. It continues to
               be of high importance to the Commission, as obtaining such information enables it to
               develop a full analysis of the markets concerned. Article 11 of Regulation 17 foresaw
               a two-stage procedure whereby failure to respond to a simple request was a
               prerequisite to a request by decision which obliges the addressee to reply. Under
               Article 18 of Regulation 1/2003, the Commission has the choice to issue either a
               simple request or to proceed immediately to a decision requiring that information be
               provided.

     82.       Articles 23(1) and 24(1) provide for fines and periodic penalty payments in the
               context of requests for information100 and the availability of these measures has
               improved the effectiveness of requests for information. Nonetheless, experience of
               the last years has shown that in many instances replies to simple requests were
               incomplete and/or were provided late. In the context of certain sector inquiries
               especially this was a mass phenomenon. Against this background, the Commission
               may consider more often using decisions pursuant to Article 18(3), as foreseen in
               Regulation 1/2003.

     3.2.8.    Voluntary Interviews

     83.       Article 19 empowers the Commission to interview any natural or legal person who
               consents to be interviewed for the purpose of collecting information relating to the
               subject-matter of an investigation. Article 3 of Commission Regulation 773/2004 sets
               out further detail in this regard The possibility to conduct an interview pursuant to
               Article 19 has to be distinguished from the right of the Commission to ask oral
               questions during on-site inspections pursuant to Article 20(2)(e) and to impose
               sanctions on the undertaking concerned in case of incorrect or misleading answers.

     84.       Interviews pursuant to Article 19 can be carried out in all investigations relating to a
               possible violation of Articles 81 and 82 EC. The Commission has used this
               instrument regularly in the last years. Experience has shown that the absence of
               penalties for misleading or false replies may be a disincentive to provide correct and
               complete statements. It should be further reflected whether the effectiveness of this
               tool can be improved.

     3.3.      Types of Commission Decisions in the new enforcement system

     85.       Regulation 1/2003 equipped the Commission with a renewed set of types of decision
               that is geared towards the principal objectives of the Regulation, effective and
               coherent enforcement. Chapter III of the Regulation provides for Commission


     100
              See below, parts 3.5.6 and 3.5.7.



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               decisions concerning the finding and termination of an infringement (Article 7),
               interim measures (Article 8), commitments (Article 9) and a finding of
               inapplicability (Article 10). In the Commission's decision making practice during the
               reporting period, prohibition decisions pursuant to Article 7 and commitment
               decisions pursuant to Article 9 have been the most relevant tools.101

     3.3.1.    Prohibition decisions (Article 7)

     86.       Article 7(1) of Regulation 1/2003 in the first place empowers the Commission to find
               an infringement and order the undertakings concerned to bring it to an end. Article 7
               has been developed from Article 3 of the now superseded Regulation 17. During the
               first five years of Regulation 1/2003, the Commission has adopted prohibition
               decisions with or without fines102 in a series of high-profile cases in sectors identified
               for priority enforcement. Several of these decisions – besides their impact on the
               conduct of the undertakings concerned – clarified the conditions for prohibition and
               thereby gave a signal to other undertakings and other enforcers.

     87.       Already shortly before the entry into effect of Regulation 1/2003, the Commission
               had adopted its decision imposing a fine of € 497 million on Microsoft103 for abuse of
               dominant position in the PC operating system market by refusing to disclose
               interoperability information that would enable its competitors to fully interoperate
               with Windows PCs and servers and by tying Windows Media Player with its
               dominant Windows PC operating system.

     88.       Throughout the reporting period, a number of Commission decisions have addressed
               complex cases in important sectors. Many of these decisions at the same time
               provided significant precedential value for national competition authorities'
               enforcement activity in various sectors. For instance, the Commission Decision of 4
               July 2007 imposing fines on the Spanish incumbent telecoms operator Telefónica104
               for abuse of its dominant position in the Spanish broadband market confirmed the
               Commission's methodology for the analysis of margin squeeze and provided
               guidance to national competition authorities in similar scenarios. In MasterCard105
               the Commission addressed the complex area of multilateral interchange fees (MIFs)
               for cross-border payment card transactions with MasterCard and Maestro branded
               debit and consumer credit cards. The Commission case is at the centre of a cluster of
               enforcement actions by national competition authorities dealing with domestic
               payment transactions.106 Similarly, already in 2004, the Commission adopted its




     101
              See Annex.
     102
              See below, part 3.5.
     103
              Commission Decision of 24 March 2004 relating to a proceeding pursuant to Article 82 of the EC
              Treaty and Article 54 of the EEA Agreement against Microsoft Corporation, OJ L 32, 06.02.2007,
              p. 23-28. Court of First Instance upheld the Commission decision in Case T-201/04, 17 September
              2007, ECR II-3601.
     104
              Commission Decision of 04.07.2007 relating to proceedings under Article 82 of the EC Treaty (Case
              COMP/38.784 – Wanadoo España vs. Telefónica), OJ C 83, 2.4.2008, p. 6-9,
              http://ec.europa.eu/competition/antitrust/cases.
     105
              Commission Decision of 19.12.2007 (COMP/34.579 MasterCard COMP/36.518 EuroCommerce and
              COMP/38.580 Commercial Cards). http://ec.europa.eu/competition/antitrust/cases.
     106
              See below, part 5.5.1.



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               decision in the Belgian Architects107 case which – together with further horizontal
               work in the context of the ECN – has given an impulse for enforcement action by
               national competition authorities in numerous cases in the field of professional
               services.108

     89.       Cartels are the largest category of infringements in which decisions have been
               adopted under Article 7. Within the reporting period many important cartels have
               been investigated and fined. High profile cases were, for instance, the Car glass
               cartel109 where the Commission imposed the highest fines ever110, both for an
               individual company and for a cartel as a whole, on four producers of car glass for
               illegal market-sharing and exchange of commercially sensitive information. In the
               Paraffin wax case111 nine big producers of paraffin waxes used in a variety of
               products such as candles were fined for their participation in a price-fixing and
               market-sharing cartel which had lasted from 1992 until 2005. Another decision of
               major importance concerned the Elevators and Escalators cartel112 where four
               companies had run an illegal bid-rigging, price-fixing and market-sharing cartel in
               Belgium, Germany, Luxembourg and The Netherlands between 1995 and 2004.

     90.       The Commission's policy of addressing decisions to both the entities actively
               involved in the cartel activities and their parent or other companies exercising
               decisive influence over them has been largely confirmed by the Court of First
               Instance.113 Moreover, in AC Treuhand114 the CFI confirmed the Commission's
               decision to pursue and fine for the first time ever a third party, the consultancy AC
               Treuhand, which was found to have contributed actively and intentionally to the
               cartel in the sector of organic peroxides.

     91.       Already in the context of Article 3 of Regulation 17, the European Court of Justice
               had confirmed that the Commission has the power to order the parties to take
               positive measures to bring an infringement to an end.115 Article 7(1) of Regulation
               1/2003 now explicitly provides that the Commission may impose any behavioural or
               structural remedies which are proportionate to the infringement committed and
               necessary to bring the infringement effectively to an end. Structural remedies can
               only be imposed either where there is no equally effective behavioural remedy or
               where any equally effective behavioural remedy would be more burdensome for the
               undertaking concerned than the structural remedy. Recital 12 further specifies that
               changes to the structure of an undertaking ("break-ups") would only be proportionate


     107
              See Commission Press Release IP/04/800 of 24/06/2004 and Commission Decision in Case
              COMP/38.549. The Commission concluded that the scale of recommended minimum fees of the
              Belgian Architects Association was in breach of the EC competition rules.
     108
              See below, part 5.5.1.
     109
              Case COMP/39.125; Decision of 12 November 2008, see Commission Press Release IP/08/1685.
     110
              Over € 1.3 billion.
     111
              Case COMP/39.181; Decision of 1st October 2008, see Commission Press Release IP/08/1434.
     112
              Case COMP/38.823; Decision of 21 February 2007, see Commission Press Release IP/07/209;
              published on http://ec.europa.eu/competition/cartels/cases/cases.html.
     113
              Case T-85/06, Judgment of the Court of First Instance of 18.12.2008, General Quimica, not yet
              published; Case T-314/01, Avebe v. Commission, [2006] ECR II-3085; Case T-112/05, Akzo Nobel
              NV and Others [2007] ECR- II-5049.
     114
              Case T-99/04, AC – Treuhand AG, Judgment of the Court of First Instance of 08.07.2008, not yet
              published.
     115
              Cases 6-7/73, Istituto Chemiorerapico Italiano Spa and Commerical Solvents Corp. v Commission
              [1974] ECR 223.



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               where there is a substantial risk of a lasting or repeated infringement that derives
               from the very structure of the undertaking.

     92.       The Commission has not so far imposed structural remedies in prohibition decisions
               under Article 7(1). The power to impose structural remedies under Article 7(1) has,
               nevertheless, positively contributed to the obtaining of structural changes as
               commitments under Article 9.116

     93.       Regulation 1/2003 also codified the case law of the Court in GVL117 according to
               which the Commission, where it has a legitimate interest, may, in principle, find that
               an infringement has been committed in the past, i.e. where such infringement has
               already come to an end, and without thus issuing a cease and desist order. The Court
               of First Instance gave a strict interpretation to the notion of "legitimate interest" in
               Sumitomo118, implying that the Commission must substantiate, in light of the facts of
               each individual case, the reasons why it considers that the condition of legitimate
               interest is satisfied (e.g. a specific risk of recidivism on the part of the undertakings
               concerned). In the reporting period, the Commission considered this possibility only
               in a few cases119, as its priorities are focused on pursuing the most serious on-going
               infringements.

     3.3.2.    Commitment decisions (Article 9)

     94.       Article 9 of Regulation 1/2003 empowers the Commission to adopt a new type of
               decision by which it may make commitments offered by undertakings binding and
               enforceable on them ("commitment decisions"). Commitment decisions are based on
               commitments voluntarily offered by the party or parties concerned and thus allow the
               Commission and the parties to conclude cases in a more consensual mode.
               Commitment decisions do not make a finding of an infringement, nor do they
               conclude that an infringement would be terminated as a consequence of the
               commitments. Article 9 adds considerable value in comparison to Regulation 17,
               under which no enforcement possibility was available for cases concluded by
               informal commitments. The primary purpose of commitment decisions is to preserve
               effective competition and to obtain faster changes in the market for the future. It is
               therefore used in cases in which the Commission considers that the commitments, if
               subsequently fully respected by the undertaking, sufficiently address its competition
               concerns.

     95.       According to Recital 13 of Regulation 1/2003, commitment decisions are not, in
               principle, appropriate in cases in which the Commission intends to impose a fine. For
               instance, in hard-core cartel cases fines are necessary, as the emphasis of
               enforcement is on punishing past behaviour and deterring anti-competitive practices.
               In other cases, the Commission has a margin of discretion in the choice offered to it
               under Regulation 1/2003, i.e. to make commitments binding through the adoption of



     116
              See below, part 3.3.2.
     117
              Case 7/82, Gesellschaft zur Verwertung von Leistungsschutzrechten (GVL) v Commission, [1983] ECR
              483.
     118
              Joined Cases T-22/02 and T-23/02 Sumitomo Chemical v Commission, [2005] ECR II-4065, para 138.
     119
              Decisions      COMP/38.662       –      GDF/ENEL     and     GDF/ENI      of  26.10.2004,     see
              http://ec.europa.eu/competition/antitrust/cases.



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               a decision under Article 9 or to pursue the case under Article 7, involving a finding
               of an infringement.120

     96.       The Commission has so far adopted 13 decisions under Article 9, relating to a variety
               of matters about which competition concerns were expressed under both Articles 81
               and 82 EC.121

     97.       The Coca-Cola, De Beers Distrigaz, and RWE involved concerns relating to possible
               exclusionary abuses of dominant position under Article 82 EC, the two E.ON cases
               involved concerns relating to possible exploitative abuses of a dominant position
               under Article 82 EC, and the DFB, FA Premier League, Repsol, Cannes Extension
               Agreement, Opel, Toyota, Fiat and Daimler Chrysler cases raised concerns under
               Article 81 EC. Whilst most Article 81 cases involved vertical agreements with
               exclusivity clauses or conditions of supply to third parties, the cases DFB, FA
               Premier League and the Cannes Extension Agreement concerned horizontal
               agreements. Except for E.ON and RWE, in which the Commission made structural
               commitments binding on the undertaking, all the commitments have been
               behavioural in nature. In sectors where a number of infringements derive from the
               very complex nature of business decisions (e.g. decisions taken on an hourly or finer
               basis for a large portfolio of assets and/or using a large number of non-programmable
               parameters) and from the structure (e.g. vertical integration) of the operators,
               structural measures may indeed be necessary.

     98.       On 11 October 2007, the Commission accepted commitments offered by Distrigaz to
               open the Belgian gas market by reducing the gas volumes tied in long-term contracts
               and thus allowing other gas suppliers to compete with Distrigaz and to build up a
               portfolio of customers.122 On 26th November 2008, the Commission accepted the
               commitments offered by E.ON to open the German electricity markets to
               competition and bring to an end two separate investigations.123 In the first case, the
               Commission had concerns that E.ON may have withdrawn available generation
               capacity from the German wholesale electricity markets in order to raise prices, and
               may have deterred investments in energy generation by competitors. In the second
               case, the Commission had concerns that the transmission subsidiary of E.ON may
               have favoured its production affiliate for providing balancing services, while passing
               the resulting costs on to final consumers, and may have prevented power producers
               from other Member States from exporting balancing energy into its transmission
               zone. Subsequently, E.ON offered to divest around 5 000 MW of its generation
               capacity to address the concerns regarding the wholesale market. E.ON also
               committed to divest its extra-high voltage network to meet the concerns on the
               electricity balancing market. The Commission has also recently accepted structural
               commitments proposed by RWE in the German gas market124 The Commission had
               concerns that RWE may have abused its dominant position on the gas transmission
               market, notably by means of its refusal to supply gas transmission services to third


     120
              Case T-170/06, Alrosa v. Commission [2007] ECR II-2601.
     121
              See table in the Annex.
     122
              Decision COMP/B-1/37.966 of 11 October 2007; see Commission Press Release IP/07/1487,
              http://ec.europa.eu/competition/antitrust/cases.
     123
              Decision COMP/B-/39.388 and 39.389 of 26th November 2008; Commission Press Release IP/08/1774;
              http://ec.europa.eu/competition/antitrust/cases.
     124
              See Commission Press Release IP/09/410 of 18/03/2009.



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               parties and by trying to lower the profit margins of its downstream competitors in gas
               supply. To address these concerns, RWE committed to divest its existing Western
               German high-pressure transmission network to an independent purchaser, the
               acquisition by whom would not give rise to prima facie competition concerns. The
               Commission will closely monitor compliance with these commitments.

     99.       Article 9 pursues the objective of enhancing efficiency and effectiveness in dealing
               with competition concerns identified by the Commission where the undertaking(s)
               concerned voluntarily offer commitments with a view to address these concerns. The
               choice of an Article 9 proceeding is thus often guided by considerations of
               expediency, as the procedure normally allows saving administrative and investigative
               resources that would be required in an Article 7 procedure, as well as considerations
               about the effectiveness of commitments proposed for solving market problems
               expeditiously.

     100.      Article 9 requires that the Commission expresses its competition concerns in a
               preliminary assessment vis-à-vis the undertaking(s) concerned. The preliminary
               assessment principally creates the opportunity for the Commission to make its
               competition concerns known to the parties at an earlier stage of the proceedings with
               a view to open commitment discussions. The preliminary assessment does therefore
               not need to have the level of detail required for a statement of objections, which
               produces procedural efficiencies.

     101.      Article 27 (4) of Regulation 1/2003 provides for a market test inviting interested
               third parties to submit their observations within a fixed time limit, before the
               commitments can be finally accepted. To this end, the Commission is obliged to
               publish in the Official Journal a concise summary of the case and the main content of
               the commitments. 125

     102.      Experience so far indicates that the instrument of commitment decisions has
               functioned well and has in several cases served as an effective means to address the
               competition problems at issue. As commitment decisions result from the parties'
               initiative and willingness to offer commitments, the same parties tend to be more
               readily inclined to implement their own voluntary commitments. Commitment
               decisions are also less likely to be challenged before the Community Courts than
               prohibition decisions. Indeed, thus far few commitment decisions adopted by the
               Commission have been subject to appeal at the Court of First Instance by third
               parties directly affected by the decision.126 Consequently, Article 9 decisions have
               helped to expedite market changes. Through the lesser litigation burden and other
               procedural economies, Article 9 has therefore also contributed favourably to the
               resource allocation within the Directorate General for Competition, freeing resources
               for the prosecution and punishment of the most serious infringements.

     103.      Notwithstanding, in Alrosa, the Court of First Instance annulled the Commission
               Decision 2006/520/EC of 22 February 2006 (De Beers), for breach of the principle of
               proportionality and the right to be heard. The Court in particular considered that,
               according to the principle of proportionality, commitments made binding on the basis


     125
              In this regard, see also Case T-170/06, Alrosa v. Commission [2007] ECR II-2601, para 196.
     126
              In Case T-170/06, Alrosa v. Commission the Court of First Instance annulled the Commission Decision
              2006/520/EC of 22 February 2006 (De Beers).



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               of Article 9 must be strictly aligned on remedies that the Commission could have
               imposed in a proceeding under Article 7, thereby requiring a parallel analysis
               independent of the commitments offered by the party/ies concerned. The judgment of
               the Court of First Instance is currently under appeal to the Court of Justice.127

     104.      Furthermore, there is a perception that the overall duration of the administrative
               proceedings in certain cases decided under Article 9 was relatively long and did thus
               not fully yield the efficiencies pursued by the Regulation. In this context, it can be
               highlighted that the majority of cases decided under Article 9 so far had been started
               under Regulation 17 and thus entered the commitment route after May 2004 (i.e.
               cases DFB, Distrigaz, De Beers, Coca-Cola, FA Premier League, Repsol, Cannes
               Extension Agreement). This case experience illustrates generally that a late switch
               from the prohibition to the commitment route may entail significant delays in the
               procedure, ranging from nearly four years (De Beers, Cannes Extension Agreement)
               to around seven years (DFB, Distrigaz). Even though in cases in which a statement
               of objections has been issued, from a procedural perspective, the requirement of the
               preliminary assessment is fulfilled, a market test under Article 27(4) is still
               necessary. In most of these cases, the difficulty in arriving at a satisfactory outcome
               on substance has led to relatively prolonged discussions with parties before it was
               possible for the Commission to accept commitments. The procedure has generally
               been shorter in cases which followed the entry into force of Regulation 1/2003. The
               car cases took less than three years each, whereas the E.ON cases were concluded in
               a comparatively limited time-span of less than two years.

     105.      It is also noted that the commitment procedures, as retained by some of the
               legislators of the Member States for the national competition authorities, differ from
               the Commission procedure.

     3.3.3.    Effects of commitment decisions

     106.      Feedback from the legal and business communities pointed to a certain number of
               queries about the effects of commitment decisions, including notably the issue of
               enforcement action by national competition authorities in relation to competition
               concerns covered by a Commission commitment decision. The Commission's
               experience has also shown that the possibility for the national authorities to bring
               cases relating to the same subject matter may complicate negotiations on
               commitments in some cases.

     107.      Recitals 13 and 22 specify that commitment decisions are without prejudice to the
               powers of national competition authorities and courts to find an infringement and
               decide upon the case. National authorities may thus in principle adopt a prohibition
               decision regardless of the Commission's commitment decision concerning the same
               subject matter. Moreover, Article 16 of Regulation 1/2003, according to which
               national competition authorities and courts must not adopt decisions that run counter
               to those adopted by the Commission, does not appear to preclude such a finding.128


     127
              Case C-441/07 P, OJ C 283 of 24.11.2007, p.22.
     128
              The position could arguably be different where a national competition authority or a national court
              requires an undertaking to carry out actions that conflict with the commitments made binding by the
              Commission decision, i.e. where the undertaking could not implement the obligations imposed by
              national authorities without breaching its commitments. It has been argued in doctrine that this scenario



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               The finding of an infringement is not in conflict with a Commission decision that
               limits itself to concluding that there are no longer grounds for action on the part of
               the Commission.129 This corresponds to the overall thrust of the Regulation which
               expressly differentiates commitment decisions from the former exemption decisions
               which had a blocking effect on national competition authorities and courts.

     108.      In the context of public enforcement, the matter has, however, rarely arisen in
               practice. One such instance arose in the Coca-Cola case, where certain national
               competition authorities conducted parallel proceedings which were closed after the
               Commission's commitment decision of 2005.130 The Greek competition authority, in
               turn, had adopted a prohibition decision against Coca Cola under Greek competition
               law in 2002 and imposed periodic penalty payments for non-compliance with that
               decision in 2006131, i.e. after the Commission had adopted its commitment decision.
               The approach of the national competition authority did not conflict with the
               Commission's commitment decision and could be implemented by the undertaking
               concerned on the local market. Generally, the Commission strives in commitment
               cases to address the competition concerns in such a way that parallel enforcement
               action by the national competition authorities within the territorial coverage of the
               Commission decision should in principle not be needed.

     109.      A different question is to which extent commitment decisions, notwithstanding their
               limited legal effects on other enforcers, can serve as a model for addressing similar
               situations. The Commission's commitment practice has been seen as acting in this
               way in several instances. In Distrigaz, for instance, the decision under Article 9 set
               out guidance on the Commission's approach toward foreclosure by long term
               contracts. Similarly, following the commitment decisions adopted by the
               Commission in the four car cases (see table in the annex), Citroën offered
               commitments in the context of a French procedure which also related to technical
               information.132 Moreover, in the area of marketing of media rights for sports events,
               the Commission has, after adopting commitment decisions in the cases DFB and FA
               Premier League, considered that further action in this field should not be a priority
               for it as the existing commitment decisions appeared to provide sufficient orientation
               to operators and national competition authorities to deal with domestic media
               markets effectively and consistently.

     3.3.4.    Interim Measures (Article 8)

     110.      Article 8(1) of Regulation 1/2003 provides that in cases of urgency due to the risk of
               serious and irreparable harm to competition, the Commission, acting on its own
               initiative, may order interim measures by decision, on the basis of a prima facie


              would attract the application of Article 16. See e.g. Gippini-Fournier, E. The Modernisation of
              European Competition Law: First Experiences with Regulation 1/2003, in FIDE XXIII Congress Linz
              2008, Congress Publications Vol. 2, p. 404. Article 16 codifies the judgment of the Court of Justice in
              Case C-344/98 Masterfoods [2000] ECR I-11369, in which the Court of Justice held that the national
              competition authorities and courts cannot adopt decisions that run counter to decisions adopted by the
              Commission.
     129
              The position is different for Article 10 decisions which foresee a formal finding of inapplicability.
     130
              The Spanish competition authority closed its proceedings on 15 July 2005.
     131
              See Decisions of the Hellenic Competition Commission 207/III/2002 and 309/V/2006, and Press
              Release of 14.06.2006, available at: http://www.epant.gr/news_details.php?Lang=en&id=89&nid=59.
     132
              Décision du Conseil de la Concurrence 07-D-31 of 9 October 2007.



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               finding of infringement. While Regulation 17 did not explicitly provide for interim
               measures, the European Court of Justice had held that the Commission had the power
               to impose such measures.133

     111.      Interim measures can only be adopted where there is a risk of serious and irreparable
               harm to competition, not only to an individual undertaking or a competitor. The
               purpose of Articles 81 and 82 EC is indeed to protect competition in the market, and
               the Commission, as a competition authority, acts in the public interest to protect
               competition, whereas national courts are considered better placed to protect the
               interests of individual companies.134Against this background, the Commission has
               not made use of Article 8 in its decisional practice during the reporting period.

     3.3.5.    Finding of inapplicability (Article 10)

     112.      Another new type of decision is introduced by Article 10 of Regulation 1/2003 which
               empowers the Commission to adopt decisions finding that an agreement or practice
               does not infringe Article 81 or 82 EC, where the Community public interest so
               requires. The Commission, acting on its own initiative, may by decision find that
               Article 81 EC is not applicable in a certain case, either because the conditions of
               Article 81(1) EC are not fulfilled or because the conditions of Article 81(3) EC are
               satisfied. The Commission may likewise make such a finding with reference to
               Article 82 EC. The Commission has the exclusive power to adopt such decisions
               which are binding on national competition authorities and national courts.

     113.      The Commission has not, to date, adopted any decisions under Article 10. It has been
               stated by some stakeholders that greater legal certainty would be guaranteed if the
               Commission were to adopt decisions under Article 10 of Regulation 1/2003.
               However, this view disregards the purpose of Article 10 as defined by the
               Regulation. The use of the term "Community public interest" in Article 10 excludes
               the adoption of such decisions in the interests of individual companies, to avoid this
               instrument being used as a replacement for the exemption decision under the old
               system. The terms of application of Article 10 have been clearly defined so that its
               use is confined to "exceptional cases"135 to clarify the law and ensure its consistent
               application throughout the Community, namely: (i) to "correct" the approach of a
               national competition authority; or (ii) to send a signal to the ECN about how to
               approach a certain case.

     114.      In practice, however, such an ex ante means of ensuring consistency has largely been
               overtaken by the extensive efforts of the ECN in promoting the coherent application
               of the EC antitrust rules. The extent to which the ECN has proven to be a successful
               forum to discuss general policy issues was not anticipated at the time of the adoption
               of Regulation 1/2003. Horizontal working groups and sector-specific subgroups have
               been set up where the case-handlers of the different authorities have been extremely
               proactive in exchanging views and learning from each others’ experiences with



     133
              Case 792/79 R, Camera Care v Commission [1980] ECR 119, paras 17-18.
     134
              See para 16 of the Commission Notice on the handling of complaints under Articles 81 and 82 EC (OJ
              C 101, 27.4.2004, p.65-77).
     135
              Recital 14 of Regulation 1/2003 states: "In exceptional cases where the public interest of the
              Community so requires…".



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                particular issues or with particular sectors. Against this background, the Commission
                has had no reasons to proceed under Article 10 to date.

     3.4.       Handling of complaints

     3.4.1.     General

     115.       Regulation 1/2003 has taken over from Regulation 17 the possibility for persons that
                are able to show a legitimate interest to be (formal) complainants that enjoy certain
                procedural rights.136 The details of the procedure to be followed are set out in
                Commission Regulation 773/2004137 and in the Commission Notice on the handling
                of complaints by the Commission under Articles 81 and 82 EC.138 The handling of
                complaints is further governed by case law of the Community Courts.
     116.
                Complaints are an important tool to trigger cases. Complainants often provide
                information which is indispensable for the investigation of an anti-competitive
                conduct as they are close to the facts. Experience has shown that, in particular in
                non-cartel cases for which leniency is not available, complaints are an important tool
                to discover anti-competitive conduct. Most prominent examples in the field of
                Article 82 EC are the Microsoft and Telefonica investigations.139 In the area of
                Article 81 EC complainants have also provided valuable information.140

     3.4.2.     Non-priority complaints

     117.       A large number of complaints are not about competition issues that are enforcement
                priorities for the Commission and they are consequently not followed up by the
                Commission by an in-depth investigation. Under the current legal framework, these
                complaints nonetheless trigger an administrative procedure.

     118.       The entry into application of Regulation 1/2003 introduced the possibility to re-
                allocate cases to Member States' competition authorities and to reject complaints in a
                simplified procedure on the ground that one or several of the latter is or are dealing
                with a case.141 This mechanism is now well established within the ECN. Several
                cases have been re-allocated from the Commission to national competition
                authorities. It is applied to complaints that – while not a priority for the Commission
                – are prima facie worthwhile investigating by a national competition authority and
                that a national competition authority is interested in pursuing. Since 1 May 2004, the
                Commission rejected 29 complaints pursuant to Article 13 of Regulation 1/2003.142



     136
               See in particular Article 7(2) of Regulation 1/2003.
     137
               OJ L 123, 27.4.2004, p. 18-24.
     138
               OJ C 101, 27.4.2004, p.65-77.
     139
               Commission Decision of 24.3.2004, Microsoft, COMP/C-3/37.792, Complaint by Sun Microsystems,
               Inc.; New proceedings initiated against Microsoft on the basis of a complaint by ECIS in January 2008
               – Case COMP/C-3/39.294; Commission Decision of 4.7.2007, Wanadoo Espana vs. Telefonica, Case
               COMP/38.784.
     140
               For instance in the field of financial services in the context of the Single European Payments Area
               ("SEPA"); see on this subject for instance Commission Press Release IP/09/468 of 24 March 2009 with
               further references.
     141
               Article 13 of Regulation 1/2003 and Article 9 of Regulation 773/2004.
     142
               See Case T-153/06. The case was later withdrawn. See in this context also Case C-53/03, Syfait, [2005]
               ECR I-4609.



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               However, the majority of incoming complaints are complaints that do not give rise to
               any priority case, neither by the Commission nor by a national competition authority.

     119.      Besides Article 13 of Regulation 1/2003, the Commission may reject an antitrust
               complaint on substance or for lack of Community interest. The Community Courts143
               have recognised that the Commission is entitled to give differing degrees of priority
               to the complaints that it receives and that it may rely on this concept for rejecting
               complaints. Since Regulation 1/2003 was intended to enable the Commission to
               focus on prosecuting the most serious infringements, complaints have been
               increasingly rejected for lack of Community interest.

     120.      The Commission has made public a list of criteria which it intends to use when
               examining whether or not complaints show sufficient Community interest. The
               criteria were published in the Annual Report on Competition Policy 2005 adopted in
               June 2006.144 Experience gained during the last years has shown that these measures
               have contributed to better focusing the enforcement resources of the Commission on
               priority case investigations.

     3.4.3.    Involvement of complainants in priority cases

     121.      Where the Commission is acting on the basis of a complaint in view of the adoption
               of a prohibition decision145, complainants are associated closely with the
               proceedings.146 The precise procedural rights are set out in Article 6 of Regulation
               773/2004 which notably foresees that the complainant shall be provided with a copy
               of the non-confidential version of the statement of objections. The procedure is
               different in case of a settlement procedure.147

     122.      In many cases, complaints received in the course of an already ongoing procedure
               can be very useful for the investigation. The outcome and duration of an
               investigation may depend on the well-substantiated information provided by a
               complainant. In only a limited number of cases where complainants come forward at
               a very late stage of already advanced proceedings, the handling of such late
               complaints can lead to certain delays in the proceedings. In such cases, the
               Commission may suggest to potential complainants to consider rather the status of
               interested third person pursuant to Article 13 of Regulation 773/2004.

     123.      To conclude, the Commission considers that substantiated complaints are an
               important tool for the detection of anti-competitive conduct and have given rise to a
               number of priority cases. However, with regard to complaints that do not reveal
               priority case investigations, the Commission needs to examine further how the
               procedure may be streamlined.


     143
              Cf. in particular Case T-24/90, Automec II, [1992] ECR II-2223 and Case C-119/97 P, Ufex, [1999],
              ECR I-1341.
     144
              Published on the Website of the Directorate General for Competition; Chapter 3.2, pt.26.
     145
              Article 7 of Regulation 1/2003.
     146
              Article 27(1) of Regulation 1/2003.
     147
              Commission Notice on the conduct of settlement procedures in view of the adoption of Decisions
              pursuant to Article 7 and Article 23 of Council Regulation (EC) N°1/2003 in Cartel cases, OJ C 167 of
              2.7.2008, p.1-6; Commission Regulation N°622/2008 of 30 June 2008 amending Regulation (EC)
              N°773/2004, as regards the conduct of settlement procedures in cartel cases, OJ L 171 of 1.7.2008, p.3-
              5.



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     3.5.      Fines and periodic penalty payments

     3.5.1.    The Commission's power to impose fines

     124.      Regulation 1/2003 essentially took over from Regulation 17 the legal basis for
               imposing fines for breaches of the substantive competition rules. In accordance with
               Article 23(2), the Commission may impose fines on infringing undertakings and
               associations of undertakings that do not exceed 10% of their total turnover in the
               preceding business year. Fines with sufficient deterrent effect, coupled with an
               effective leniency program, constitute the most efficient weapon in the Commission's
               armoury to fight cartels. In particular, deterrent fines prevent companies from
               entering into cartel agreements and entice cartelists to blow the whistle on existing
               cartels in return for immunity or a reduced fine under the leniency notice.

     125.      The Commission's practice with regard to fines has been extensively raised in replies
               to the stakeholder consultation, mostly pointing to legal questions of principle. In this
               context, it is noteworthy that the Community Courts have reviewed a great number
               of fines imposed by the Commission and did not find the level of fines to be
               disproportionate or excessive. The Courts have also confirmed the legality of Article
               15(2) of Regulation 17 as the legal basis for the Commission to impose fines for
               infringements of Community competition rules and have rejected objections of
               illegality raised by parties to proceedings in a constant series of rulings. In the recent
               Degussa case, the Court of First Instance and the Court of Justice confirmed that the
               absence of further precision as to the amount or method of calculation of fines in
               Article 15(2) of Regulation 17 (which set forth a ceiling on fines and criteria which
               allow to take into account the degree of illegality, namely the gravity and duration of
               the infringement) is not contrary to the principle of legality of penalties.148 The case-
               law which concerns Article 15(2) of Regulation 17 is also pertinent for Article 23(2)
               of Regulation 1/2003 which replaced the former provision without any substantial
               changes. The Community Courts have also confirmed on various occasions the
               legality of the Commission's 1998 guidelines on the method of setting of fines.149
               Moreover, according to settled case-law, the proper application of the Community
               competition rules requires that the Commission may at any time adjust the level of
               fines to the needs of the Community competition policy, including an increase in the
               level of fines in individual cases or by adopting fining guidelines.150 The Community
               Courts, while emphasising a wide discretion of the Commission in setting fines, have


     148
              See Case T-279/02, Degussa v Commission (Methionine), [2006] ECR II-897, para 66-98; the
              Judgment of the Court of Justice of 22 May 2008, Case C-266/06 P, Degussa v Commission, para 36-63
              (not yet published); see also Case T-43/02, Jungbunzlauer v Commission (Citric Acid), [2006] ECR II-
              3435, paras 69-92.
     149
              Guidelines on the method of setting fines imposed pursuant to Article 15 (2) of Regulation No 17 and
              Article 65 (5) of the ECSC Treaty (98/C 9/03), OJ C 009, 14.01.1998, p. 3–5. See, for example, Case T-
              23/99 LR AF 1998 v. Commission [2002] ECR II-1705, Case T-9/99 HFB and Others v. Commission
              [2002] ECR II-1487, Case T-15/99 Brugg Rohrsysteme v. Commission [2002] ECR II-1613, Case T-
              16/99 Lögstör Rörv. Commission [2002] ECR II-1633, Case T-17/99 KE Kelit v. Commission [2002]
              ECR II-1647, Case T-21/99 Dansk Rørindustri v. Commission [2002] ECR II-1681 and Case T-31/99
              ABB Asea Brown Boveri v. Commission [2002] ECR II-1881 (Pre-insulated pipes cartel), confirmed in
              Joined Cases C-189/02 P, C-202/02 P, C-205/02 P, to 208/02 P and C-213/02 P Dansk Rørindustri et al.
              v Commission, [2005] ECR I-5425.
     150
              See, for example, Joined Cases C-189/02 P, C-202/02 P, C-205/02 P, to 208/02 P and C-213/02 P
              Dansk Rørindustri et al. v Commission, [2005] ECR I-5425, para 227-232; see also Case T-279/02,
              Degussa v. Commission (Methionine), [2006] ECR II-897, para 81.



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               held that the Commission did not have an unlimited discretion. Article 15(2) of
               Regulation 17 (now Article 23(2) of Regulation 1/2003) itself limits the
               Commission's discretion and, in addition, the Commission is bound to comply with
               the general principles of law, in particular the principles of equal treatment and
               proportionality.151 Moreover, the Community Courts have unlimited jurisdiction to
               review Commission decisions, whereby it imposes fines (Article 229 EC and Article
               31 of Regulation 1/2003).

     3.5.2.    New developments

     126.      During the reported period, the Commission has revised certain existing tools and
               searched for new instruments in order to improve the enforcement of competition
               rules, in particular for a more efficient and swifter fight against cartels. Existing tools
               were further developed taking into account experience in the past years, with the
               view of increasing transparency and providing more guidance to undertakings as well
               as to respond to realities. The aim of achieving procedural economies in order to be
               able to use resources for other cases also played a vital role in this development.
               These tools include, in particular, a revised Leniency Notice, revised Guidelines for
               setting fines and a new settlement procedure in cartel cases. They have to be seen in
               the overall framework of instruments under Regulation 1/2003, for they derive their
               legal basis from the Regulation and contribute to the implementation of competition
               rules.

     3.5.3.    The Guidelines on fines

     127.      On 28 June 2006, the Commission adopted new Guidelines152 on the method of
               setting fines to be imposed on companies that infringe Articles 81 and/or 82 EC.
               These Guidelines revise those adopted in 1998153, with a view to increasing the
               deterrent effect of fines. The ceiling of 10% of the undertaking's total annual
               turnover remained unchanged in the reform from Regulation 17 to Regulation
               1/2003. Within this limit, the revised Guidelines provide that fines may be based on
               up to 30% of the company’s annual sales to which the infringement relates,
               multiplied by the number of years of participation in the infringement. In addition, a
               part of the fine, the so-called “entry fee”, may be imposed irrespective of the
               duration of the infringement in order to increase deterrence. An additional increase
               for deterrence (the so-called "multiplier") may be applied to take into account a
               particularly large turnover of the undertaking beyond the sales related to the
               infringement.




     151
              Judgment of the Court of First Instance of 5 April 2006, Case T-279/02, Degussa v. Commission
              (Methionine), [2006] ECR II-897, para 77; the Judgment of the Court of Justice of 22 May 2008, Case
              C-266/06 P, Degussa v Commission, para 36-63 (not yet reported), para. 51.
     152
              Guidelines on the method of setting fines imposed pursuant to Article 23(2)(a) of Regulation
              No 1/2003, OJ C 210, 1.09.2006, p. 2-5, available at
              http://ec.europa.eu/competition/antitrust/legislation/fines.html.
     153
              Guidelines on the method of setting fines imposed pursuant to Article 15 (2) of Regulation No 17 and
              Article 65 (5) of the ECSC Treaty (98/C 9/03), OJ C 009, 14.01.1998, p. 3–5.



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     3.5.4.    The 2006 Leniency Notice

     128.      On 6 December 2006, the Commission adopted a revised Notice on immunity from
               fines and reduction of fines in cartel cases154 (the "2006 Leniency Notice"). It is the
               third Commission leniency notice155 and sets out the framework for rewarding
               cooperation in the Commission investigation by undertakings which are or have been
               party to secret cartels affecting the Community. It is a revised version of the
               preceding 2002 Leniency Notice, a successful instrument, which greatly contributed
               to detecting and putting an end to numerous cartels. It takes into account practice
               implementing the 2002 Leniency Notice and focuses on providing more guidance
               and increasing transparency.

     129.      In particular, the 2006 Leniency Notice clarifies what information and evidence an
               applicant needs to provide to the Commission to benefit from immunity from fines. It
               also clarifies the conditions for immunity and reduction of fines. Moreover, the 2006
               Leniency Notice introduced a so-called marker system for immunity applicants. A
               marker protects an immunity applicant's place in the queue for a specified period in
               order to allow for the gathering of the necessary information and evidence required
               to meet the threshold for immunity from fines. The marker system is discretionary
               (the Commission services may grant a marker, where justified).

     130.      Since the 2006 Leniency Notice entered into force, the Commission has received, on
               average, two applications for immunity per month.

     131.      The leniency policy enhances investigative effectiveness by the voluntary
               collaboration of undertakings involved in cartels. As a reward, collaborating
               undertakings are granted immunity from fines (the first one to submit information
               and evidence about an alleged cartel, provided all requirements are met) or a
               reduction of a fine (for other undertakings that provide the Commission with
               evidence which has significant added value and meet other requirements). The
               Community Courts have acknowledged that cooperation with the Commission
               investigation may be rewarded.156 The leniency policy must be understood within the
               framework of Commission's discretionary powers to set fines, in accordance with the
               limits set forth by Article 23 of Regulation 1/2003. The Community Courts have
               stated that the Commission's discretion to adjust the level of fines also applies to the
               leniency policy.157 This policy is inter alia driven by the objectives of general
               prevention of infringements and of effective enforcement of the EC competition
               rules. Moreover, the Community Courts have recognised the Commission's
               discretion to set conditions for leniency and have stated that its leniency programmes
               may create legitimate expectations for companies.158 However, the legitimate
               expectations that undertakings are able to derive from the Leniency Notice is limited


     154
              OJ C 298, 08.12.2006, p. 17-22.
     155
              The first notice was adopted in 1996 (Commission Notice on the non-imposition or reduction of fines in
              cartel cases, OJ C 207, 18.07.1996, p. 4-6), (the "1996 Leniency Notice").. On 19 February 2002, the
              1996 Notice was replaced by the 2002 Leniency Notice (OJ C 45, 19.02.2002, p. 3-5).
     156
              See, for example, Case T-31/99 ABB Asea Brown Boveri v. Commission [2002] ECR II-1881, para
              238.
     157
              See Joined Cases C-189/02 P, C-202/02 P, C-205/02 P, to 208/02 P and C-213/02 P, Dansk Rørindustri
              A/S et al. v Commission, [2005] ECR I-5425, para 456 and paragraphs referred therein.
     158
              See for example Joined Cases C-189/02 P, C-202/02 P, C-205/02 P, to 208/02 P and C-213/02 P, Dansk
              Rørindustri A/S et al. v Commission, [2005] ECR I-5425, para. 394-396, 187-188 and 456.



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               to an assurance that their fines will be reduced by a certain percentage. The notice
               does not extend to the method of calculating fines or, a fortiori, to a specific level of
               the fine capable of being calculated at the time when the undertaking decides to
               implement his intention to cooperate with the Commission.159 Therefore, a
               Commission notice constitutes a proper legal basis for the leniency policy.

     3.5.5.    Settlement procedure

     132.      On 30 June 2008, the Commission introduced a settlement procedure in cartel
               cases.160 This new instrument allows the Commission to adopt a final decision in
               cartel cases through a simplified and quicker procedure, freeing up resources to
               handle more cases. The Commission retains a broad margin of discretion to
               determine which cases may be suitable for settlement. Parties have neither the duty
               nor the right to settle.

     133.      In the settlement procedure, parties may choose to acknowledge their involvement in
               a cartel and their liability for it, in exchange for a reduction of their fines by 10%.
               The Commission does not negotiate or bargain the use of evidence or the appropriate
               sanctions. However, the Commission effectively hears the parties and gives them an
               opportunity to argue their case. This form of cooperation is different from the
               voluntary production of information and evidence under the Leniency Notice (see
               above). It is not aimed at collecting evidence, but is a simplified procedure where
               parties acknowledge their involvement in a cartel and liability for it, having seen the
               evidence on which the Commission bases its envisaged objections. Where both a
               settlement reduction and a leniency reduction are applicable, they are applied
               cumulatively. In contrast to the commitment procedure under Article 9 of Regulation
               1/2003, the administrative proceedings always end with a decision finding an
               infringement and imposing fines, irrespective of whether the standard procedure or
               the settlement procedure applies.

     3.5.6.    Recovery of fines from members of associations of undertakings

     134.      Article 23(4) of Regulation 1/2003 introduced a novel provision concerning the
               recovery of fines imposed on an association of undertakings taking account of the
               turnover of its members. It provides that in case the association is not solvent, it is
               obliged to call for contributions from its members to cover the amount of the fine.
               Where such contributions have not been made within a time-limit fixed by the
               Commission, the Commission may require payment of the fine directly by
               undertakings involved in the association according to the order set forth by that
               Article. By virtue of these provisions, members of an association are not fined
               themselves but may bear financial liability in order to ensure effective recovery of
               the fine when an infringement is committed by the association. However, such
               recovery shall not apply to undertakings which show that they have not implemented


     159
              See the Judgment of the Court of Justice in Joined Cases C-189/02 P, C-202/02 P, C-205/02 P, to
              208/02 P and C-213/02 P, Dansk Rørindustri A/S et al. v Commission, [2005] ECR I-5425, para. 188.
     160
              Commission Regulation (EC) No 622/2008 of 30 June 2008 amending Regulation (EC) No 773/2004,
              as regards the conduct of settlement procedures in cartel cases, OJ L 171, 1.7.2008, p. 3–5; Commission
              Notice on the conduct of settlement procedures in view of the adoption of Decisions pursuant to Article
              7 and Article 23 of Council Regulation (EC) No 1/2003 in cartel cases, OJ C 167, 2.7.2008, p. 1–6. See
              http://ec.europa.eu/comm/competition/cartels/legislation/settlements.html.



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               the infringing decision of the association and either were not aware of its existence or
               have actively distanced themselves from it before the Commission started
               investigating the case. The burden of proof of these two cumulative conditions rests
               on undertakings. The Commission has not applied Article 23(4) during the reporting
               period.

     3.5.7.    Fines for procedural infringements – seals case

     135.      Regulation 1/2003 introduced more effective sanctions for non-compliance with
               obligations incumbent on undertakings in the context of investigations (Article
               23(1)).161 In January 2008, the Commission made use of this provision for the first
               time and imposed a fine of € 38 million on the German energy company, E.ON
               Energie AG for the breach of a seal.162 The Commission had found a seal broken on
               a door of E.ON’s premises during an inspection in May 2006. The breach of the seal
               occurred, at the very least, as a result of negligence, since it was E.ON’s
               responsibility to organise its own business sphere in such a way as to ensure that the
               instruction not to break the seal was complied with.163 When setting the fine, the
               Commission considered that breaches of seals must, as a matter of principle, be
               regarded as a serious infringement. Accordingly, the level of the fine had to ensure
               that it had a sufficiently deterrent effect for E.ON, which is a large subsidiary of a
               major European energy company.164

     3.5.8.    Periodic penalty payments to enforce prohibition decisions

     136.      Another important improvement introduced by Regulation 1/2003 concerns periodic
               penalty payments that can be imposed for failure to comply with a Commission
               decision. In order to better ensure compliance with enforcement decisions, Article
               24(1) increased substantially the ceilings for these payments from those provided for
               in Regulation 17. The limit for periodic penalties is now 5 % of the average daily
               turnover in the preceding business year per day. One main objective of the revised
               framework was to ensure effective compliance with Commission decisions.

     137.      The Commission has had to use this provision notably in the case of Microsoft for
               failure to comply with its obligation to make interoperability information available to
               third parties on reasonable terms. In this case, the Commission had to adopt two
               decisions against Microsoft pursuant to Article 24(2) fixing the amount of the
               penalty payment for non-compliance with its obligations. These decisions were
               preceded by a separate decision165 under Article 24(1) imposing daily periodic
               penalty payments. The first decision fixed an amount of €280.5 million166 and the


     161
              The fines available under Regulation 17 had become highly ineffective.
     162
              A        non-confidential       version      of       the       decision       is      available under
              http://ec.europa.eu/competition/antitrust/cases/index/by_nr_78.html#i39_326.
     163
              In this respect, the Commission also noted that E.ON had not informed all personnel authorised to enter
              the E.ON building, e.g. its cleaner, about the existence of the seal and the need to respect it.
     164
              For more details see Oliver Koch and Dominik Schnichels, The E.ON seals case - € 38 million for
              tampering with Commission seals, in Competition Policy Newsletter 2/2008.
     165
              See Commission Decision of 10.11.2005 imposing a periodic penalty payment on Microsoft
              Corporation (Case COMP/C-3/37.792 Microsoft).
     166
              Commission Decision of 12 July 2006 fixing the definitive amount of the periodic penalty payment
              imposed on Microsoft Corporation by Decision C(2005)4420 final and amending that Decision as
              regards the amount of the periodic penalty payment (Case COMP/C-3/37.792 Microsoft).



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               second decision imposed a €899 million penalty on Microsoft.167 The case revealed
               that the multi-stage procedure foreseen in Article 24 can prove relatively lengthy and
               cumbersome, requiring successive statements of objections, oral hearings and
               decisions168, and may thus not be optimally designed in view of the objective pursued
               by the Regulation. The potential room for improvement in this area should be
               examined.

     138.      In MasterCard169, the Commission used Article 24 in a simpler procedure,
               announcing directly in the Article 7 decision a penalty payment of 3.5 % of
               MasterCard's daily turnover for each day of non-compliance after the period of six
               months given to comply with the decision. Accordingly, there was no need for a
               separate decision under Article 24(1), but the failure to comply with the
               Commission's decision before the fixed deadline would lead to the imposition of the
               definitive amount of the penalty payment in an Article 24(2) decision. In June 2008,
               MasterCard temporarily repealed its cross-border MIF for consumer cards, while it
               continued to engage in discussions with the Commission.170 On 1 April 2009, the
               Commission took note of three undertakings given by MasterCard regarding the
               calculation of its cross-border MIF for consumer cards, the repeal of scheme fee
               increases announced in 2008 and the introduction of certain transparency enhancing
               measures.171


     4.        APPLICATION OF EC COMPETITION LAW IN ACCORDANCE WITH ARTICLE 3 OF
               REGULATION 1/2003

     4.1.      Introduction

     139.      Article 3 of Regulation 1/2003 regulated for the first time the relationship between
               national competition law and the EC competition rules. It represents a major step
               forward in ensuring a more level playing field for undertakings that are doing
               business in the internal market. Article 3 consists of two main elements: the



     167
              Commission Decision of 27 November 2008 fixing the definitive amount of the periodic penalty
              payment imposed on Microsoft Corporation by Decision C(2005)4420 (Case COMP/C-3/37.792
              Microsoft. This decision concerns the period of non-compliance not covered by the penalty payment
              decision of 12 July 2006 (see Commission Press Release IP/06/979) covering the period between 21
              June 2006 and 21 October 2007.
     168
              A complete set of the documents relating to the Microsoft procedure are found at:
              http://ec.europa.eu/competition/antitrust/cases/microsoft/index.html. For the implementation, see in
              particular: http://ec.europa.eu/competition/antitrust/cases/microsoft/implementation.html, including
              IP/05/673 of 06/06/2005 (market test for new proposals from Microsoft on interoperability);
              Commission Decision of 10.11.2005 imposing a periodic penalty payment pursuant to Article 24(1) of
              Regulation No 1⁄2003 on Microsoft Corporation (Case COMP/C-3/37.792 Microsoft); Commission
              Press Release IP/05/499 of 22/12/2005 (Statement of Objections for non-compliance with March 2004
              Decision); Commission Decision of 12 July 2006 fixing the definitive amount of the periodic penalty
              payment imposed on Microsoft Corporation by Decision C(2005)4420 final and amending that
              Decision as regards the amount of the periodic penalty payment (Case COMP/C-3/37.792 Microsoft);
              Commission Press Release IP/07/269 Date: 01/03/2007 (SO for failure to comply with certain of its
              obligations under the March 2004 Commission decision); Commission Decision of 27 November 2008
              (op.cit).
     169
              See above, part 3.3.1.
     170
              See Commission Press Release IP/08/397 of 12/06/2008.
     171
              See Commission Press Release IP/09/525 of 01/04/2009.



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               obligation to apply contained in paragraph 1 and the convergence rule set out in
               paragraph 2. Both elements have central functions in the Regulation.

     140.      Article 3(1) obliges national competition authorities and courts to apply Articles 81
               EC and 82 EC to agreements or conduct capable of affecting trade between Member
               States. The obligation to apply EC competition law is intended to ensure that the EC
               competition rules are applied to all cases within their scope. Compliance also entails
               that the cooperation mechanisms involving the Commission and national competition
               authorities and courts, as set forth in Articles 11 to 13 and 15, are fully applicable in
               such cases and are not avoided by applying only national law.

     141.      The convergence rule contained in paragraph 2, seeks to create a level playing field
               by providing for a single standard of assessment which allows undertakings to design
               EU-wide business strategies without having to check them against all the relevant
               national sets of competition rules. In its current wording, the obligation of
               convergence covers only the application of national competition law to agreements,
               concerted practices and decisions by associations of undertakings. Member States
               remain free to enact and maintain stricter national competition laws than Article 82
               EC to prohibit or sanction unilateral conduct.

     142.      Overall, Article 3 can be characterised as one of the major successes of Regulation
               1/2003. Stakeholders from the legal and business communities have largely
               confirmed that Regulation 1/2003 has positively contributed to the creation of a level
               playing field, along with the substantive convergence of national laws with the EC
               competition rules. On the other hand, the divergence of standards regarding unilateral
               conduct was commented on critically by the business and legal communities.

     4.2.      Obligation to apply Articles 81 and 82 EC

     4.2.1.    Effect on trade criterion and case record

     143.      While Articles 81(1) and 82 EC could be applied at Member State level under
               Regulation 17, there was no obligation to do so and many national competition
               authorities principally applied national competition law to the cases that they were
               dealing with. The obligation to apply the EC competition rules in Article 3(1) has led
               to a very significant increase in the application of Articles 81 and 82 EC, thereby
               making the cooperation mechanisms of the Regulation fully applicable.

     144.      The jurisdictional criterion that delineates the scope of application of Articles 81 and
               82 EC, and thus the scope of the obligation to apply in Article 3, is the notion of
               effect on trade between Member States. This concept has been clarified in extensive
               case law of the Community Courts. In order to provide additional guidance, the
               Commission issued Guidelines concerning the concept of effect on trade which set
               out a methodology for the application of the effect on trade concept and includes
               guidance on frequently occurring situations.172

     145.      The Guidelines remain relevant to this date as no significant change could be
               observed in the case law of the Community Courts. In particular, during the reporting


     172
              See Guidelines on the effect on trade concept contained in Articles 81 and 82 of the Treaty, OJ C 101 of
              27.04.2004, p.81, with extensive references to case law.



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               period, the Court of First Instance confirmed, in a cartel case covering the territory of
               Austria, the established case law according to which horizontal cartels covering the
               whole of a Member State are normally capable of affecting trade between Member
               States even where the members of the cartel had not taken specific measures to
               exclude foreign competitors from the market. 173

     146.      The choice of the correct legal basis is the responsibility of the national competition
               authorities and courts in the individual case, in light of the facts at hand. The rule in
               Article 3(1) is directly applicable and imposes unconditional and precise obligations
               on the enforcers concerned. Compliance with Article 3(1) ensures that cases come
               under the mechanisms of Regulation 1/2003. Undertakings can rely on Article 3(1) in
               proceedings before both national competition authorities and courts, including at the
               judicial review stage, to invoke the application of EC competition law and of
               Regulation 1/2003.

     147.      Based on the available information, it appears that there is generally a high degree of
               awareness on the part of national competition authorities and courts of the obligation
               to apply Articles 81 and 82 EC. After 1 May 2004, national competition authorities
               massively migrated to the application of the EC competition rules where trade may
               be affected. By the end of 2004, they had already informed the Commission of 200
               cases which they were handling on the basis of the EC competition rules.

     148.      Moreover, for a large number of national competition authorities, cases in which they
               applied the EC competition rules amounted to a significant share of their overall
               antitrust caseload. For instance, roughly one half of the enforcement decisions
               adopted by the Italian competition authority during the reporting period were based
               on Community law. The French competition authority applied EC competition law in
               nearly 40% and the Belgian, Danish and Dutch authorities in around 30% of all cases
               dealt with in the antitrust field. In Portugal and Greece this ratio was approximately
               25 %, whereas Hungary and Slovenia were close to 20%.

     149.      Insofar as certain national competition authorities dealt with lower ratios of cases
               based on EC competition law, this can be due to a range of factors. Notably, the ratio
               will be crucially influenced by the priority setting applied by the respective national
               competition authorities. For instance, an authority that investigates numerous
               agreements or alleged abuses of local scope will have a lower percentage of cases
               based on EC competition law.174 For the Member States that joined the EU in 2004
               and 2007, and in particular Romania and Bulgaria, the rate of application of Articles
               81 and 82 EC is also influenced by the period of applicability of those rules in their
               territories. Moreover, for some authorities, the overall number of formal enforcement
               decisions is too small to make meaningful conclusions about the ratio of EC law
               cases decided.

     150.      Feedback from stakeholders largely confirms that national competition authorities
               and courts in general appear to comply with their obligation to apply Articles 81
               and/or 82 EC. Stakeholders raised few examples of alleged deviations. Moreover, in
               some Member States national courts have in certain cases construed the criterion of


     173
              Joined Cases T-259/02 to T-264/02 and T-271/02, Raiffeisen Zentralbank Österreich AG and others,
              ECR II-5169; the judgment is currently under appeal, Case C-125/07 P, OJ C 117 of 26.05.2007, p.7,
     174
              Guidelines on the effect on trade concept contained in Articles 81 and 82 of the Treaty, op cit., para 91.



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               effect on trade more narrowly than the national competition authority. In Germany,
               for instance, the Higher Regional Court of Düsseldorf rejected the national
               competition authority's analysis in two decisions for the lack of sufficient evidence of
               foreclosure and any appreciable effect on trade.175 In Italy, where national rules are
               not applied in parallel with Articles 81 and 82 EC, the Italian Supreme
               Administrative Court overturned a decision of the competition authority criticizing,
               inter alia, the lack of rigorous and concrete examination of the condition of effect on
               trade.176 The French Court of Cassation, in turn, concluded in the Bausch and Lomb v
               Medint case177 that the Court of Appeal's decision was not well founded as it had
               failed to establish whether the agreement concerning exclusive dealing between
               Chauvin and BL was liable to affect trade appreciably between Member States.

     151.      In sum, the obligation to apply the EC competition rules to cases capable of affecting
               trade has been broadly followed, making a single legal standard a reality on a very
               large scale. Given the central importance of the rule in Article 3(1) for ensuring a
               level playing field, the question merits the continued close attention of all enforcers.
               Parties are well placed to enforce the respect of the rule in Article 3(1) in any given
               individual case, including before the competent review courts which have the power
               and/or obligation to refer to the Court of Justice under Article 234 EC in appropriate
               cases. A persistent disregard for the rule in Article 3(1) and/or misconception about
               the effect on trade criterion in a Member State could also attract the attention of the
               Commission in view of its powers pursuant to Article 226 EC.178

     4.2.2.    Experience with parallel application

     152.      Whilst Article 3(1) of Regulation 1/2003 requires the application of Articles 81 or 82
               EC to cases capable of affecting trade between Member States, it does not impose an
               obligation to apply national law in parallel to such cases. The parallel application of
               national rules is thus optional and depends on the respective national system.179
               Certain Member States, such as Italy and Luxembourg, have indeed opted for the
               exclusive application of EC competition law to cases falling within its scope. Most
               Member States have, however, chosen the possibility to rely on a double legal base,
               and parallel application of the EC and national rules has become a well-established
               practice.

     153.      The primary interest of parallel application is that it protects enforcement decisions
               by national competition authorities against legal challenges based on the question
               whether there is effect on trade. In other words, if the EC law base is not upheld, the
               case would still stand for the infringement of national competition law.180



     175
              Judgments in cases VI-Kart, 14/06(V) and VI-2 Kart 12/04 (V).
     176
              Italian Supreme Administrative Court, 2 October 2007, judgment No 5085/07.
     177
              Cours de Cassation, 12 December 2006, Case Bausch and Lomb v Medint.
     178
              See Case C-129/2000, Commission v Italy, [2003], ECR I-14637, para. 32, on the conditions under
              which jurisprudence by national courts may amount to a state infringement.
     179
              SEC(2002)219 of 22.2.2002 - Commission Staff Working Paper, Article 3 – The relationship between
              EC law and national law, parallel application, convergence and other issues; paras 7 to 9.
     180
              See e.g. the Portuguese salt cartel case (Case No. 965/06.9TYLSB, Decision of the Lisbon Commercial
              Court, 2 May 2007) in which a Portuguese court considered that the trade effect test was not met and
              annulled the part of the decision applying Article 81 EC but upheld the infringement of national
              competition law.



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     154.      The parallel application of Articles 81 and 82 EC and their national counterparts has
               not been reported to have caused major difficulties. In a small number of cases,
               national enforcers have dealt with infringements that were punishable under national
               competition law, for which however no legal basis for penalties existed in relation to
               Articles 81 and 82 EC at the relevant point in time. In these cases, sanctions could
               only be imposed on the basis of national competition law in accordance with the
               principle nullum crimen sine lege.

     155.      Certain national review courts have explicitly confirmed the principle of parallel
               application.181 In 2007, the Czech review court overruled the national competition
               authority’s decisions in two cases182 on the ground that the application of EC and
               national competition law regarding the same infringement in the same decision
               would violate the principle of ne bis in idem. The Czech Supreme Administrative
               Court183 later overturned the lower court's judgment and held that that court had
               misinterpreted the principle. The Commission considers that the finding of an
               infringement of both EC and national competition law and the sanctioning of such
               infringement in one single decision does not fall within the scope of ne bis in idem,
               as interpreted by the Community Courts184 and the European Court of Human Rights
               (ECtHR).185 This case law sets out the difference between, on the one hand, a single
               decision finding that one conduct breached several legal provisions ('concurrence
               ideale') as opposed to the scenario of a second trial or punishment imposed for the
               same behaviour that could come under the principle of ne bis in idem.

     4.3.      The convergence rule

     156.      The parallel application of national competition law to agreements, concerted
               practices and decisions by associations of undertakings is subject to an obligation of
               convergence with Article 81 EC under Article 3(2) of Regulation 1/2003. Where
               such conduct is capable of affecting trade between Member States but does not
               restrict competition within the meaning of Article 81(1) EC or falls within the
               exception rule of Article 81(3) EC, it cannot be prohibited under national law. The
               rule in Article 3(2) is to be seen in the context of the principle of primacy of
               Community law. It flows from that principle that national competition law cannot



     181
              See e.g. Portuguese cases concerning professional associations for Veterinarians (Case No 8638/06-9,
              Decision of the Lisbon Appeals Court, 5 July 2007), Dentists (Case No 1372/06-9, Decision of the
              Lisbon Appeals Court, 19 June 2008) and Medical Doctors (Case No 5352/07-9, Decision of the Lisbon
              Appeals Court, 22 November 2007).
     182
              Case No. 62 Ca 8/2007-171, RWE Transgas, Decision of the Regional Court Brno, 22 October 2007;
              Case No. 62 Ca 4/2007-115, Tupperware, Decision of the Regional Court Brno, 1 November 2007.
     183
              Case 5 Afs 8/2008 – 328, RWE Transgas, Decision of the Supreme Administrative Court, 31 October
              2008; Case 7 Afs 7/2008-200, Tupperware, Decision of the Supreme Administrative Court, 3 December
              2008.
     184
              See, e.g., Case 7/72 Boehringer v Commission, [1972] ECR 1281, para. 3; Case T-224/00 Archer
              Daniel Midland and Archer Daniel Midlands Ingredients v. Commission [2003] ECR II-2597, para. 86.
              See also Joined Cases C-238/99 P, C-244/99 P, C-245/99 P, C-247/99 P, C-250/99 P to C-252/99 P and
              C-254/99 P, Limburgse Vinyl Maatschappij (LVM) and Others v Commission [2002] ECR I-8375, para
              59.
     185
              In essence, the principle of ne bis in idem - developed in the context of criminal law - constitutes the
              right not to be tried or punished again for an offence for which he has already been finally acquitted or
              convicted; see Article 4 of Protocol No 7 ECHR and Article 50 European Charter of Fundamental
              Rights as well as e.g. ECtHR, Sergey Zolotukhin v. Russia, Judgment of 10 February 2009 ECtHR.



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               authorise an agreement or practice, which is prohibited by Articles 81 and/or 82
               EC.186

     157.      The objective of Article 3(2) is to create a level playing field within the internal
               market by prescribing a common competition law standard within the scope of
               application of the EC competition rules. Article 3(2) is a directly applicable rule that
               can be relied on before national courts, which implies that any measure adopted in
               breach of that rule would be inapplicable and unenforceable.

     158.      The convergence rule applies to agreements, concerted practices and decisions by
               associations of undertakings, whereas Member States are not precluded from
               enacting and applying stricter national laws which prohibit or sanction unilateral
               conduct.

     159.      No major difficulties with the application of the convergence rule have been
               reported. In view of some stakeholder submissions, it is worthwhile recalling that
               Article 3(2) does not apply to agreements or practices outside the jurisdictional scope
               of the EC competition rules. Accordingly, stricter national competition laws are not
               as such objectionable, as long as they are not applied to agreements, concerted
               practices and decisions of associations of undertakings that fall within the
               jurisdictional scope of the EC competition rules, in breach of Article 3(2).

     4.4.      Exception from the convergence rule for unilateral conduct

     160.      According to the last sentence of Article 3(2), Member States are not precluded from
               adopting and applying stricter national laws which prohibit or sanction unilateral
               conduct. Unilateral behaviour capable of affecting trade between Member States can
               thus be prohibited by national law, even if it occurs below the level of dominance or
               is not considered abusive within the meaning of Article 82. Article 3(2), last
               sentence, thus contains an exception from the level playing field and implies that
               undertakings doing cross-border business in the internal market may be subjected to
               a variety of standards as to their unilateral behaviour.

     161.      Provisions of the type referred to in Article 3(2) exist in a number of Member States.
               While such rules take different shapes, it is possible to identify certain categories
               which are described hereafter.

     4.4.1.    National rules concerning economic dependence and similar situations

     162.      As an example of stricter national rules concerning unilateral conduct, Recital 8 of
               Regulation 1/2003 explicitly mentions national provisions which prohibit or impose
               sanctions on abusive behaviour toward economically dependent undertakings.
               Besides rules concerning specifically the abuse of economic dependence, some
               national provisions regulate behaviour labelled as 'abuse of superior bargaining
               power' or 'abuse of significant influence'. The aim of these kinds of rules is
               essentially to regulate disparities of bargaining power in distribution relationships,
               including where neither the supplier nor the distributor holds a dominant position on
               a specific market.



     186
              See Recital 8 of Regulation 1/2003. See also Case 14/68 Walt Wilhelm [1969] ECR, p. 1.



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     163.      In 2004, the Member States with specific provisions concerning the abuse of
               economic dependence or superior bargaining power included notably France,
               Germany, Italy, Portugal and Spain, as well as Ireland and Slovakia which had
               measures with a more limited scope covering groceries and retail trade, respectively.
               In Spain, these provisions were removed from competition law in 2007 but the abuse
               of economic dependence remains an infringement of the "Ley de Competencia
               Desleal", which concerns essentially unfair competition and trading practices, and
               the new competition law allows the competition authority to pursue such conduct
               where the distortion of free competition affects the public interest. Hungary, in turn,
               introduced provisions to prohibit abuses of significant market power in 2006 and
               Latvia did the same in 2008¸ both vesting the enforcement of these provisions to the
               competition authority. In Greece, the prohibition of the abuse of a relationship of
               economic dependence was reintroduced in 2005, after having been abolished in
               2000.187

     164.      The French, German, Greek and Portuguese laws concerning the abuse of "economic
               dependence" apply to various types of exclusionary conduct on both the demand and
               supply sides and normally require that there is no reasonable alternative source of
               supply or demand of the product or service in question.

     165.      For instance, in French law, the abuse of economic dependence is, along with the
               abuse of dominant position, one of the two forms of unilateral conduct prohibited by
               Article L.420-2 of the French Code de commerce. It prohibits, where the functioning
               or the structure of competition may be affected, the abusive exploitation of the
               condition of economic dependence in relation to a customer company or a supplier
               by non-dominant firms that have a powerful position with regard to their commercial
               partners. Such abuses may consist, inter alia, of the refusal to deal, tied sales or
               discriminatory practices. Due to the strict conditions of application188, this provision
               has been rarely enforced, and since 2004 no sanction has been imposed on this legal
               basis. In 2007, in three out of four decisions applying Article L.420-2, the
               Competition Council concluded that there was either no dependence or insufficient
               evidence thereof.189 In practice, the parties concerned seem to prefer relying on
               overlapping and more detailed provisions on pratiques commerciales déloyales.190


     187
              Law 3373/2005 amending Law 703/1977. Since the entry into force of Law 3373/2005, the Greek
              competition authority has not issued any decisions applying this prohibition.
     188
              The conditions include inter alia: (i) the notoriety of the trading partner, (ii) significance of its market
              share, and (iii) importance of the part of turnover achieved with this trading partner in the total turnover.
     189
              Décision n°07-D-14 relative au secteur du tourisme, décision n°07-D-18 relative au secteur agricole,
              décision n°07-D-25 relative à la distribution de motocycles et décision n°07-D-30. http://www.conseil-
              concurrence.fr/pdf/avis/06d10.pdf;                  http://www.conseil-concurrence.fr/pdf/avis/06d16.pdf;
              http://www.conseil-concurrence.fr/pdf/avis/06d17pdf.
     190
              Often suppliers of large supermarket chains opt for civil proceedings and invoke the detailed rules of
              Article L.442-6 of Code de commerce concerning unfair trade practices instead of Article L-420-2. In
              contrast to the abuse of economic dependence, which is considered an anticompetitive practice in
              French Law (i.e. with reference to an abuse on a given relevant market), unfair trade practices relate to
              restrictive trade practices in a bilateral contractual or tort perspective and the rules relating thereto are
              enforced by civil courts, not by the Competition Council. As amended by Loi n°2008-3 du 3 janvier
              2008                         -                        art.                      8;                        see
              http://www.legifrance.gouv.fr/./affichCodeArticle.do?idArticle=LEGIARTI000018047923&cidTexte=
              LEGITEXT000005634379&dateTexte=20080723&fastPos=1&fastReqId=2063796063&oldAction=rec
              hCodeArticle. Prosecution of a practice under Article 442-6 does not necessarily rule out a prosecution
              for abuse of dominant position or economic dependence.



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     166.      In German law, Sections 20(2) and 20(4) of the German Competition Act set forth
               specific provisions protecting small and medium-sized enterprises (SMEs) from
               "unfair hindrance" and discrimination, without objective justification, by
               undertakings with "superior market power". Section 20(2) relates to vertical
               dependence, whereas Section 20(4) is concerned with horizontal dependence and
               resale below cost (see below).191 SMEs can be qualified as dependent if they, as
               suppliers or purchasers of certain kinds of goods or services, depend on undertakings
               having superior market power to such an extent that sufficient and reasonable
               possibilities of resorting to other undertakings do not exist.192 The primary objective
               of these provisions is, hence, to ensure diversity of suppliers and to prevent the abuse
               of buyer power to gain additional discounts from suppliers. In practice, Section 20
               has an important function for private enforcement, as private plaintiffs often invoke
               Section 20, instead of Article 82 EC and/or its counterpart in Section 19 of the
               German Competition Act.

     167.      The Latvian and Hungarian laws, in turn, which prohibit the abuse of "significant
               influence" or "significant market power", focus on the buyer power side by
               protecting local suppliers and distributors from being prejudiced by their relative lack
               of bargaining power as compared to the large retailers and supermarket chains.
               Under Hungarian law, buyer power is assessed on the basis of the retailer's turnover,
               regardless of its strength on the downstream market or on the size or countervailing
               seller power of large suppliers. In Latvia, further to a turnover threshold, a 25%
               market share threshold is applied to determine the condition of "significant
               influence". Certain other laws are yet more limited in scope, including for instance
               the Austrian statute for protecting local suppliers in rural areas,193 and the Irish law
               concerning discriminatory and coercive conduct by grocery goods undertakings.194

     168.      In most jurisdictions, including Germany, France, Greece, Ireland, Latvia and
               Portugal, the provisions in question are part of competition statutes and enforced by
               competition authorities but they may also emerge from a different legal context. In
               Italy, for instance, unlawful exploitation of a situation of inequality of market power
               can be addressed through a private civil action for injunctive relief and




     191
              Nearly all decisions based on Section 20(4) have dealt with resale below cost. See Federal Cartel
              Office, decision of 5.5.1983, WuW/E 2029 "Coop Bremen"; Bavarian Cartel Authority, decision of
              14.5.1982, WuW/E 223 "Kaufmarkt" and the following court decisions by the Munich Higher Regional
              Court, judgment of 28.7.1983, WuW/E 2942 "Kaufmarkt"; Federal Court of Justice, judgment of
              28.3.1984, WuW/E 2073 "Kaufmarkt"; Federal Court of Justice, judgment of 4.5.1995, WuW/E 2977
              "Hitlisten-Platten".
     192
              Section 20(2) was indeed introduced in 1973 in reaction to the oil crisis to prevent oil companies from
              discriminating against independent petrol stations. Another underlying concern was to oblige
              manufacturers of banded goods to supply retailers where the branded goods were necessary to enable
              retailers to compete. See Reasoning of the 2nd Amendment to the Competition Act, WRP 1973, p. 385 et
              seq.
     193
              The Federal Law for the Improvement of Local Supplies and the Competitive Conditions
              (“Nahversorgungs-Gesetz”) prohibits a number of practices, including discrimination and demanding
              payments or services without equivalent.
     194
              See the Irish Competition Act of 2002 and the Competition (Amendment) Act of 2006, Section 15.



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               compensation, which prevents firms from exploiting a situation of ‘economic
               dependence’ of their customers or suppliers in business-to-business relations.195

     169.      Since 2004, some Member States have chosen to withdraw their regulation
               concerning economic dependence and similar forms of unequal bargaining power,
               others have introduced such regulation. There thus does not appear to be any general
               tendency in one direction or the other in the laws of the Member States.

     4.4.2.    Prohibition of resale below cost or at loss

     170.      Legal provisions concerning resale below cost or at loss are another type of
               regulation on unilateral market conduct.196 These provisions normally outlaw resale
               prices that fall below the price the reseller paid for the product. They are often based
               on a similar economic rationale as provisions concerning predatory pricing but do
               typically not require proof of dominance.

     171.      Several Member States have, in recent years, removed their rules concerning resale
               below cost or at loss, including Ireland, Italy, and the United Kingdom. The Member
               States currently prohibiting resale below cost or at loss include notably France,
               Germany, Spain and Portugal. In the latter two, resale at loss is regulated outside
               competition law, in particular in statutes concerning unfair competition and trading
               practices.197

     172.      In France, Article L.420-5198 of the Code de Commerce contains a prohibition on
               offers or "abusively low" pricing practices where the object or effect of such offers or
               practices is to exclude an undertaking from the market. The conditions of application
               of this provision are otherwise similar to those concerning predatory pricing (cost
               test), but its scope is limited to sales to consumers, not to commercial customers, and
               it does not require proof of a dominant position. The Competition Council has never
               imposed sanctions for the infringement of this provision and it has been very rarely
               invoked in practice. The last decisions concerning the application of L.420-5 were
               taken in 2004, both rejecting the allegations regarding abusively low prices.199 Whilst


     195
              Section 9 of Law 192 of 18 June 1998. The Italian Competition Authority has authority to intervene in
              this field only if the alleged abuse of economic dependence also has an impact on the protection of
              competition and the market.
     196
              The resale-below-cost laws (“RBC” laws) were the subject of an OECD roundtable in 2005, see
              Roundtable on resale below cost laws and regulations, Note by the OECD Secretariat, 22 September
              2005. In Joined Cases C-267/91 and C-268/91, Keck and Mithouard (ECR I-6097), the Court of Justice
              confirmed that the EC competition rules do not preclude Member States from prohibiting sales below
              the purchase price.
     197
              For the Portuguese law, see Decree-Law No 371/93 of 29 October 1993, Article 3, as amended by
              Decree-Law No 140/98 of 16 May 1998; for Spanish law, see Ley de Competencia Desleal and Ley de
              Ordenacion de Comercio Minorista.
     198
              http://www.legifrance.gouv.fr/affichCode.do?cidTexte=LEGITEXT000005634379&dateTexte=20080718.       The
              "Loi Galland" of 1996 prohibited selling at a loss, defined as a price less than the invoice price plus
              transportation costs and taxes, expanding the prohibition in order to control the use of “marges
              arrières”, i.e. devices which had the effect of changing the prices effectively paid from those shown on
              the invoice at time of delivery.
     199
              Décisions n° 04-D-10, relative à une offre d’abonnement permettant un nombre illimité d’entrées dans
              les salles de cinéma exploitées par la société UGC Cité-Ciné, et n°04-D-33, relative à des pratiques
              mises en œuvre sur les marchés de produits d’électronique grand public; found respectively at
              http://www.conseil-concurrence.fr/pdf/avis/04d10.pdf;
              http://www.conseil-concurrence.fr/pdf/avis/04d33.pdf.



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               retail trade has traditionally been highly regulated in France200, this Member State
               has recently taken some steps to reduce regulation concerning distribution and retail
               trade.201 One of these measures was the lowering of the threshold for resale at loss,
               which allows deeper discounting by resellers so that they can sell at lower prices than
               previously without breaching Article L.420-5.202

     173.      In Germany, resale below cost price is one of the forms of "unfair hindrance" by
               undertakings with "superior market power" prohibited by Section 20(4) of the
               German Competition Act.203 The provision generally requires that sales below cost
               price take place in a certain market 'not merely occasionally'. The ban was tightened
               in 2007 in relation to the groceries retail market, by extending it also to occasional
               offers of foodstuffs below cost price unless there is an objective justification. 204

     4.4.3.    Stricter national rules concerning dominance and dominant undertakings

     174.      Besides the rules applicable to unilateral behaviour by firms that expressly extend to
               undertakings that do not have a dominant position in the market within the meaning
               of Article 82 EC, national laws may also foresee different standards for assessing
               dominance as well as stricter national provisions governing the conduct of dominant
               undertakings.

     175.      Stakeholders pointed to a degree of diversity in the national law counterparts of
               Article 82 EC or their application. This relates inter alia to the fact that certain


     200
              See OECD, Predatory Foreclosure Roundtable Background Note, Section 2.4; and OECD Reviews of
              Regulatory Reform, Germany: Consolidating Economic and Social Renewal (2004), pp. 47 and 94.
     201
              The "Loi de modernisation de l'économie" removed some administrative hurdles constraining the entry
              and expansion of large sales surfaces (e.g. maxi discount stores) inter alia by rising the threshold of
              application for administrative authorisation and by limiting the requirement of authorisation to ensuring
              that the projects respect the new criteria of territorial planning and durable development.
     202
              Source: Attali report (www.liberalisationdelacroissance.fr), p. 144-154. The Attali report proposed a
              total removal of the current rules prohibiting resale at loss, but the Loi Chatel, which entered into force
              in March 2008, retained the prohibition while lowering the threshold so that resale at loss can onlybe
              found in stricter conditions and thus less frequently.
     203
              See www.bundeskartellamt.de; Section 20 (4) provides that undertakings with superior market power in
              relation to small and medium-sized competitors shall not use their market position directly or indirectly
              to hinder such competitors in an unfair manner. An unfair hindrance within the meaning of sentence 1
              exists in particular if an undertaking: 1) offers foodstuffs within the meaning of Section 2 (2) of the
              Law on Foodstuffs and Feedstuffs below its cost price or; 2) offers other goods or commercial services
              not merely occasionally below its cost price or; 3) demands from small or medium-sized undertakings
              competing with it in the downstream market in the sale of goods or provision of commercial services a
              higher price for its supplies than it otherwise offers in this market, unless this is objectively justified.
              The offer of foodstuffs below cost price is objectively justified if this is likely to prevent their
              deterioration or impending unsaleability by the retailer through their timely sale.; see also Case Wal-
              Mart in 2002, WuW/E DER 1042, upholding the Decision by the Federal Cartel Office, WuW/E DEV
              316 and the Judgment by the Düsseldorf Higher Regional Court, WuW/E DER 781.
     204
              8th Amendment to the Act against Restraints of Competition of 18 December 2007 (Federal Official
              Journal 2007, Part I, pp. 2966 et seqq.), in force since 22 December 2007. The government considered
              that small and medium-sized retailers were being squeezed out of the market because of their relatively
              disadvantaged purchase conditions, which prevented them from standing up to the competitive pressure
              caused by the large chains. See Government Reasoning to the Act to Combat Price Abuse in the Energy
              Sector and the Grocery Retail Market, Official Records of the German Bundestag 16/5847 of 27 June
              2007, pp. 1, 9 et seq. The Monopolies Commission objected to the amendment, rejecting the underlying
              rationale and proposing a total abolition of Section 20(4). Monopolies Commission, Special Report No.
              47 of March 2007, available only in German on www.monopolkommission.de.



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               national laws foresee different standards for finding dominance, even where those
               rules are otherwise modelled on Article 82 EC. An example is found in Austrian
               law205, according to which an undertaking is deemed to be dominant if it has a
               superior position in relation to its customers or suppliers, in particular where the
               latter are dependent on the maintenance of the business relationship if they want to
               avoid severe business disadvantages. Dominance is presumed, shifting thus the
               burden of proof, when an undertaking holds: (i) at least 30% share in the relevant
               market; or (ii) in excess of 5% and is exposed to competition of no more than two
               undertakings; or (iii) a share in excess of 5% and belongs to the four largest
               entrepreneurs in this market, which hold a combined share of at least 80% of sales on
               the relevant market. In those cases the burden of proof shifts to the alleged dominant
               undertaking to show that it is not dominant.206 Similar laws exist in other Member
               States.

     176.      Furthermore, the exception entails that Member States laws may impose stricter rules
               on dominant undertakings. For example, during the reporting period, Section 29 of
               the German Competition Act was amended to include a specific provision against the
               abuse of market power in the energy sector, enacted due to concerns over the energy
               price levels and the lack of competition in the energy networks' upstream and
               downstream markets.207 The purpose of this sector-specific provision is to prevent
               excessive pricing in the energy sector.208 It allows finding an abuse where a
               dominant supply undertaking demands, without objective justification, payment
               which is higher than those demanded by other supply undertakings.209

     4.4.4.    Evaluation and feedback

     177.      The business and legal communities have called for an extension of the convergence
               rule to national laws covering unilateral conduct. Feedback from stakeholders
               suggests that diverging standards fragment business strategies that are typically
               formulated on a pan-European or global basis. This is not a priori contradicted by the
               fact that some of the national provisions on unilateral conduct appear to be rarely
               applied in the practice of national competition authorities. This does not mean that
               the existence of these provisions would be without effect from the perspective of
               market participants, since firms have to make sure that their practices comply with
               all the legal standards in those Member States in which they have activities.

     178.      Concepts such as the abuse of economic dependency exist in the competition laws of
               some Member States, as seen above. Yet, it is not clear whether competition law is


     205
              Sec.4-6 of Austrian Cartel Act 2005.
     206
              Legal assumption laid down in Section 4 subsection 2 of the Austrian Cartel Act 2005.
     207
              See Government Reasoning to the Act to Combat Price Abuse in the Energy Sector and the Grocery
              Retail Market, Official Records of the German Bundestag 16/5847 of 27 June 2007, p. 1.
     208
              See Government Reasoning to the Act to Combat Price Abuse in the Energy Sector and the Grocery
              Retail Market, Official Records of the German Bundestag 16/5847 of 27 June 2007, pp. 9 et seq.
     209
              The Monopolies Commission objected to the introduction of this provision, inter alia, because it had
              doubts over its effects on competition. In particular, a dominant supplier has to adjust its prices
              immediately, if its competitors reduce their prices, which may lead to parallel conduct and collusion by
              the firms. Moreover, customers are not likely to change suppliers in case of identical prices; a price
              reduction by competitors will consequently stay without effect, as new market entry is not likely to
              occur to increase competition. See Monopolies Commission, Special Report No. 47 of March 2007,
              available only in German on www.monopolkommission.de.



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               the appropriate instrument to address concerns arising from e.g. disparities in
               bargaining power (see paragraph 181 below).210 As regards specifically the laws
               concerning resale below cost or at loss, certain studies have suggested that this kind
               of regulation results in price increases and loss of consumer welfare.211

     179.      Against this background, the exclusion of unilateral conduct from the scope of the
               convergence rule is a matter which should be further examined, both in terms of
               evaluating the extent of any potential problems and assessing the need for action at
               European level.

     4.5.      Questions relating to the scope of Article 3

     180.      Article 3(3) specifies that paragraphs 1 and 2 do not preclude the application of
               national provisions that predominantly pursue an objective different from that
               pursued by Articles 81 and 82 EC. Article 3 thus applies to national laws that aim at
               protecting or promoting competition, not to state measures pursuing predominantly
               other legitimate objectives, such as those prohibiting or sanctioning unfair trading
               practices, the application of which does not depend on the "actual or presumed
               effects of such acts on competition on the market"212. As an example of this kind of
               legislation falling within Article 3(3), Recital 9 of Regulation 1/2003 mentions those
               prohibiting undertakings from imposing on their trading partners terms and
               conditions that are unjustified, disproportionate or without consideration.

     181.      Drawing the borderline appears particularly difficult in relation to laws concerning
               stricter competition rules for unilateral conduct, on the one hand, and laws covering
               unfair trading practices, on the other hand, both of which currently fall outside the
               scope of the convergence rule. If the objective of the national rules is to regulate
               contractual relationships between undertakings by stipulating the terms and
               conditions that for instance suppliers must offer to distributors (rather than their
               competitive behaviour on the market), the proper classification appears to be that of
               laws concerning unfair trading practices. On the other hand, national rules combating
               excessive market power or protecting smaller undertakings in a market against their
               larger competitors appear more likely to be considered competition law provisions.213



     210
              See ICN Special Program for Kyoto Annual Conference, Report on Abuse of Superior Bargaining
              Position, prepared by Task Force for Abuse of Superior Bargaining Position, ICN 7th Annual
              Conference, Kyoto, Japan, April 14-16, 2008.
     211
              For instance, in the UK the Office of Fair Trading concluded that the removal of the prohibition of
              resale below cost has generally proven beneficial to consumers with lower prices, more choices and no
              decline in quality. See U.K. Office of Fair Trading, “Supermarkets: The Code of Practice and Other
              Competition Issues, Conclusions” (August 2005). In France, certain studies also suggest that resale
              prices increased as a result of the Loi Galland of 1996, with the largest increases being for well-known
              brands. See also OECD Roundtable on Resale Below Cost Laws and Regulations, Note by the
              Secretariat, Directorate for Financial and Enterprise Affairs, Competition Committee, 22 September
              2005 (concluding that predatory foreclosure could be more accurately analysed and addressed in the
              context of rules concerning the abuse of dominant position through predatory pricing, rather than by
              laws regulating resale below cost).
     212
              See Recital 9 of Regulation 1/2003.
     213
              It has been submitted that the main distinctive feature is whether the aim of the provision is limited to
              regulating a contractual relationship with a view to protecting a weaker party against a stronger party or
              whether competition on the market is taken into account either in the elaboration of the rule or its
              application. Each individual provision of national law should be examined, rather than the overall



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     5.        EFFECTIVE  AND COHERENT ENFORCEMENT BY MORE ENFORCERS – THE
               CONTRIBUTION OF THE MEMBER STATES' COMPETITION AUTHORITIES AND THE
               EUROPEAN COMPETITION NETWORK (ECN)

     182.      Regulation 1/2003 has entrusted the Member States’ competition authorities with a
               key role in ensuring that the EU competition rules are applied effectively and
               consistently, in conjunction with the Commission. This has presented both an
               opportunity and a challenge. After five years, it is apparent that the key challenge in
               this respect, to boost enforcement results while ensuring the consistent and coherent
               application of EC competition rules, has been largely achieved.

     183.      During the reporting period, the Commission and the Member States’ competition
               authorities have worked together towards the aim of making Europe an open
               business environment with a level playing field. Cooperation in the ECN has
               surpassed expectations and has given a more ‘structural impetus’ to the enforcement
               of the EC competition rules.214 The possibility to (re-) allocate cases to a another well
               placed authority and the co-operation mechanisms provided by Regulation 1/2003
               have been used reasonably and largely successfully and have significantly enhanced
               the enforcement activities within the ECN. Informal exchanges and cooperation in
               various multilateral fora have contributed towards building a common competition
               culture.

     5.1.      National competition authorities as enforcers of the EU competition rules

     5.1.1.    Enforcement record of the authorities in the ECN

     184.      Since the entry into force of Regulation 1/2003, the enforcement of EC competition
               rules has vastly increased. The results of enforcement actions within the ECN are
               impressive.215 More than 1000216 cases have been pursued over the last five years on
               the basis of the Community competition rules. Within this time period the
               Commission has been informed of more than 300 envisaged decisions submitted by
               the national competition authorities pursuant to Article 11(4) of Regulation 1/2003.
               These figures compared to the situation before the entry into force of Regulation
               1/2003217 clearly demonstrate a significant increase of enforcement activities in the
               EU since 2004.

     185.      Not only the Commission218, but also the Member States' competition authorities
               launched major sector inquiries in important sectors such as energy219, financial


              statute in which it is contained. See e.g. De Smijter E. and Kjoelbye, L. The Enforcement system under
              Regulation 1/2003, in Faull & Nikpay: The EC law of competition, part 2.59.
     214
              See Emil Paulis and Eddy De Smijter, Enhanced enforcement of the EC competition rules since 1 May
              2004 by the Commission and the NCAs. The Commission's view, Paper for the IBA Conference on the
              Antitrust Reform in Europe, 9-11 March 2005 para 8.
     215
              Updated figures and information are regularly published on the ECN Website which was set up in April
              2006 in order to provide information to the legal and business community and to the citizens. For
              further information see http://ec.europa.eu/comm/Competition/ecn/index_en.html.
     216
              All figures cover the period from 1 May 2004 until 31 March 2009.
     217
              See Annual Reports on the application of competition rules in the EU (part V.B);
              http://europa.eu.int/comm/competition/annual_reports.
     218
              See above, part 3.
     219
              Austria (Electricity and Gas), Bulgaria (Thermal energy and electricity), Germany (Petrol and Diesel),
              Greece (Petrol), Finland (Electricity), France (Electricity), Hungary (Electricity), Italy (Electricity,



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               services220, media221, pharmaceuticals222 and food223. Other areas as for example
               motor vehicles224, taxis225, air transport226, construction227, healthcare228,
               environment229 and telecoms230 were also investigated. Sector inquiries have become
               a frequently used and highly valuable enforcement tool within the ECN. They have
               led to investigations in individual cases and have served to identify (wider)
               competition problems on particular markets and provided information on how these
               could be best addressed.

     186.      Enforcement by national competition authorities demonstrates a strong emphasis on
               the liberalised sectors (e.g. energy, telecoms, post), where the high number of
               envisaged decisions confirms the importance of antitrust vigilance in this field. In the
               energy sector for instance, the Commission has been informed of more than 30
               envisaged decisions since January 2007. Other key sectors were financial services,
               transport, food, pharmaceuticals and construction. Member States' competition
               authorities also pro-actively deal with cases that did not previously attract antitrust
               attention, for example in the field of professional services.231

     187.      Approximately 55% of the envisaged decisions about which the Commission has
               been informed pursuant to Article 11(4) concerned an infringement of Article 81 EC,
               approximately 30% an infringement of Article 82 EC and the remainder an
               infringement of both provisions. Most of these decisions are prohibition decisions
               imposing fines.232

     188.      Cartels, the most pernicious infringements of the EC competition rules, were pursued
               in some 90 cases by the ECN members since May 2004. The Commission has
               adopted 33 cartel decisions over this period, with the national competition authorities
               taking more than 50 such decisions.233 Close cooperation in a number of cartel cases,


              Gas), Latvia (Fuel), Poland (Electricity, Coal), Portugal (Fuel prices, Electricity and Gas), Slovak
              Republic (Electricity, Gas), UK.
     220
              Bulgaria (Retail banking), Denmark (banks), Finland (Retail banking), France (Bank and Insurance
              Services), Hungary (Retail banking), Ireland (Non-life Insurance, Private Health Insurance, Non-
              investment Banking), Italy (Switching costs in retail banking), Netherlands, Portugal (Payment cards),
              Slovenia, Slovak Republic (Retail banking), UK.
     221
              Germany, Hungary.
     222
              Bulgaria, Denmark, Portugal.
     223
              Austria (Food retail), Bulgaria (Wheat, wheat flour and wheat bread), Cech Republic (Beer), Germany
              (Milk), Finland, Denmark (Nordic Food market), France (Fruit and vegetables, Wine), Italy (Food
              delivery), Lithuania (Bread, Milk, Meat), Latvia (Milk, Eggs, Poultry), Netherlands (Fruit, Vegetables,
              Flour), Poland (Spices, Salt), Portugal, Romania (Grains), Slovenia (Daily consumer goods), UK
              (Groceries).
     224
              Czech Republic, France, Latvia.
     225
              Denmark.
     226
              Finland, France, Italy, Spain.
     227
              Denmark, Finland, Latvia.
     228
              Denmark, France, Italy, Latvia, Netherlands.
     229
              France (Waste), Italy (Packaging Waste), Slovak Republic (Packaging Waste).
     230
              Denmark, Finland (Broadband Market), Italy (Television, Mobile Phone), Latvia, Portugal (Fixed
              telephony, Broadband Internet Access), Slovak Republic.
     231
              The Hungarian competition authority for instance has adopted over the last years several decisions
              relating to various aspects of the self-regulation rules of national and local liberal profession bodies
              (e.g. advertising, prices). See http://www.gvh.hu.
     232
              In 2008, 38 prohibition decisions with fines, 20 commitment decisions, 16 prohibition decisions without
              fines and 11 fines only decisions were communicated pursuant to Article 11(4) to the Commission.
     233
              Most of the cartel decisions were adopted by the French, German, Dutch, Italian and Greek authorities.



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               such as the Flat Glass case234 where several competition authorities provided
               information that was crucial to start the Commission's investigation, or the Elevators
               case235 where the Commission's investigation triggered investigations at national
               level236, has significantly contributed to this record.

     189.      A large number of Member States introduced the power to adopt commitment
               decisions in line with Article 9 of Regulation 1/2003.237 As a consequence, a
               significant increase in such decisions could be observed, in particular as from 2007
               onwards.238

     5.1.2.    Evolving Structure of National Competition Authorities

     190.      Regulation 1/2003 does not compel Member States to adopt a specific institutional
               framework for the implementation of EC competition rules. The prerequisite
               established by Article 35 of Regulation 1/2003 is that “Member States shall
               designate the competition authority or authorities responsible for the application of
               Articles 81 and 82 EC in such a way that the provisions of this regulation are
               effectively complied with”. It is the responsibility of the Member States to decide on
               the structure and organisation of their respective competition authorities. Member
               States may allocate different powers and functions to the different authorities and
               they may also decide on the administrative or judicial nature of the authority, subject
               to the general Community law principles of equivalence and effectiveness.

     191.      Paragraph 2 of the Commission Notice on cooperation within the Network of
               Competition Authorities (the "Network Notice")239 identifies basic types of
               authorities present in the network. During the first five years of application of the
               Regulation, a significant degree of evolution in Member States' enforcement
               structures could be observed, with Member States generally striving to have effective
               enforcement structures in place.

     192.      By the end of the reporting period, most Member States have a system of one
               administrative authority investigating and deciding cases.240 Several Member States'
               systems migrated from dual administrative authority systems towards a single
               authority. In Spain, for example, the two former competition bodies were replaced by
               a single independent authority – the National Competition Commission (NCC) by the
               Competition Act 15/2007.241 Most recently Estonia242 has changed its initially dual


     234
              Commission Decision of 28.11.2007, OJ C 127, 24.05.2008.
     235
              Commission Decision of 21.02.2007, OJ C 75, 26.03.2008.
     236
              Austria, Decision of Cartel Court of 18.12.2007.
     237
              Austria, Belgium, Bulgaria, Cyprus, Czech Republic, Denmark, Finland, France, Germany, Greece,
              Hungary, Italy, Latvia, Lithuania, Netherlands, Poland, Slovakia, Sweden, UK. In Spain, the possibility
              to adopt commitment decisions existed already under its now superseded competition law of 1989; the
              Spanish competition law of 2007 confirmed the procedure.
     238
              In 2007, 29 commitment decisions, and in 2008, 20 commitment decisions have been communicated to
              the Commission pursuant to Article 11(4) of Regulation 1/2003, as compared to 7 commitment
              decisions in 2006.
     239
              OJ C 101 of 27.04.2004, p. 43-53.
     240
              Bulgaria, Czech Republic, Denmark, Germany, Estonia, Greece, Italy, Cyprus, Latvia, Lithuania,
              Hungary, Netherlands, Poland, Portugal, Romania, Slovenia, Slovakia, Finland, Sweden, UK.
     241
              "Ley de Defensa de la Competencia 15/2007" of 3 July 2007.
     242
              Since January 2008 the previous Competition Board, Communications Board and the Energy Regulator
              have been merged into one single competition authority.



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               system into one single authority. The French system has also been subject to
               significant changes in 2008/2009243, in particular providing the new Autorité de la
               Concurrence with extended powers in antitrust and mergers.244

     193.      Belgium245 and Luxembourg246 currently still opt for a traditional dual administrative
               system. In Ireland and Austria the investigations are carried out by the respective
               competition authorities247, with the decision-making powers having been transferred
               to courts.248 In Malta, the Office of Fair Competition is part of the Ministry of
               Finance. In Greece249, Ireland250 and the United Kingdom251, sectoral regulators are
               empowered to enforce the EC competition rules in specific sectors, e.g.
               telecommunications, postal services, energy. In all Member States the decisions of
               the national competition authorities are subject to judicial review.

     194.      In general, the differences in the institutional structure of the national competition
               authorities have not raised any particular issues in the application of Articles 81 and
               82 EC.252 Certain criticism has been expressed in the course of the public
               consultation for this Report as to the limited resources of some national competition
               authorities and its possible impact on competition proceedings, e.g. limited capacities
               for investigations, longer duration of proceedings.




     243
              Loi n°2008-776 du 4 août 2008 de modernisation de l'économie, published in the French official journal
              of 5 August 2008.
     244
              The Autorité de la Concurrence replaces the Conseil de la Concurrence and has investigatory powers in
              antitrust cases, right to own-initiative opinions on anti-competitive effects of legislative/administrative
              measures, stronger focus on priority cases and exclusive competence for merger control.
     245
              The Conseil de la Concurrence/Raad voor Mededinging is the decision-making body and the Direction
              Générale de la Concurrence is the investigating body. With regard to the interpretation of Articles 2,
              15, 35 of Regulation 1/2003 and the involvement of the Belgian competition authorities in the appeal
              proceedings see Case C-439/08, VEBIC, pending at the Court of Justice, OJ C 313 of 06.12.2008, p.19.
     246
              The Conseil de la Concurrence is the decision-making body and the Inspection de la Concurrence is
              the investigating body.
     247
              In Austria the Federal Competition Authority, “Bundeswettbewerbsbehörde”, has mainly investigatory
              powers and is one of the two official parties in proceedings to the Cartel Court. The Federal cartel
              Attorney, “Bundeskartellanwalt”, is entrusted with the representation of the public interests in
              competition matters and is the other official party in proceedings to the Cartel Court. In Ireland, the
              Competition Authority enforces all competition law. The Commission for Communications Regulations
              enforces competition law together with the Competition Authority in the area of telecommunications.
     248
              In Austria, the Cartel Court, "Oberlandesgericht Wien als Kartellgericht", has exclusive jurisdiction to
              decide whether a certain agreement or behaviour violates competition law. In Ireland, decisions in
              competition matters are made by courts, either in the course of a criminal prosecution, or in civil
              proceedings brought by the Competition Authority or by the Commission for Communications
              Regulation.
     249
              National Telecommunications and Post Commission.
     250
              Commission for Communications Regulation.
     251
              Office of Communication (Ofcom), Office of Gas and Electricity Markets (Ofgem), Office of Water
              Services (Ofwat), Office of Rail Regulation (ORR), Civil Aviation Authority (CAA).
     252
              However, see further Case C-439/08 VEBIC, where an Article 234 EC reference has been made to the
              European Court of Justice on the interpretation of Articles 2, 15(3) and 35(1) of Regulation 1/2003 with
              regard to the involvement of the Belgian competition authorities in the appeal proceedings. The
              reference for a preliminary ruling was from the Hof van Beroep te Brussel and was lodged on 6 October
              2008 – VZW Vlaamse Federatie van Vereniging van Brood-en Banketbakkers, Ijsbereiders en
              Chocoladebewerkers 'VEBIC', the other parties being Raad voor de Mededinging and the Minister van
              Economie, OJ C 313 of 06.12.2008, p. 19.



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     5.1.3.    Powers of the National Competition Authorities to apply Articles 81 and 82 EC

     195.      As mentioned, Article 35, in conjunction with Article 5, requires that Member States
               designate a competition authority to enforce Articles 81 and 82 EC. A clear
               empowerment is the prerequisite for effective enforcement. During the reporting
               period, three situations attracted the attention of the Commission in this regard. In
               2006, the Commission for the Protection of Competition of Cyprus decided253 that it
               lacked the power to apply Articles 81 and 82 EC, because national law made no
               provision to this effect, and it had not been designated as competition authority
               pursuant to Article 35 of Regulation 1/2003. The issue was later addressed by
               legislative amendments and government measures. In 2007, the Commission initiated
               infringement proceedings against the Czech Republic following an amendment to the
               Competition Act in 2005. The amendment excluded the application of the
               Competition Act in relation to behaviour in breach of the regulatory framework for
               electronic communications. The Commission closed the case after these provisions
               had been repealed.254 Recently, infringement proceedings were initiated against the
               Slovak Republic in a similar case255. It appears that Section 2(6) of the Slovak
               Competition Act limits the ability of the Slovak Competition Authority to effectively
               apply Articles 81 and 82 EC to anticompetitive behaviour which falls under the
               competence of a regulatory authority, such as the Slovak Telecommunications
               Office. The Commission is therefore seeking clarification from the Slovak authorities
               on whether the Slovak Republic is respecting its obligations under Article 10 EC in
               combination with Articles 35 and 5 of Regulation 1/2003.

     5.1.4.    Powers of the National Competition Authorities pursuant to Article 5

     196.      Article 5 of Regulation 1/2003 sets out the national competition authorities' powers
               to apply Article 81 and 82 EC in individual cases. In essence, Article 5 lists the types
               of decisions which national competition authorities can take, i.e. those finding an
               infringement, ordering interim measures, accepting commitments and imposing fines
               and other penalties. It concludes that "(w)here on the basis of the information in their
               possession the conditions for prohibition are not met they may likewise decide that
               there are no grounds for action on their part."

     197.      During the reporting period, the interpretation of Article 5 has given rise to certain
               queries. Firstly, the question has arisen whether Article 5 is capable of direct effect,
               i.e. if the powers listed in that provision are immediately and directly available to all
               national competition authorities even if not expressly provided for by national law.
               Absent any guidance from case law, this question is still subject to discussion. Its
               practical relevance has declined insofar as national competition authorities gradually
               obtained additional powers pursuant to national laws.256

     198.      Moreover, the question has come up whether national competition authorities may
               adopt declaratory decisions in relation to past infringements. Given that Article 5
               does not contain a provision equivalent to the last paragraph of Article 7(1) of


     253
              Case Lumiere TV Public Company Ltd./Multichoice (national file reference 11.17.14/2006), See
              http://www.competition.gov.cy.
     254
              See Commission Press Release IP/07/956 of 28.06.2007.
     255
              See Commission press Release IP/09/200 of 02.02.2009.
     256
              See below, part 5.1.5.



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               Regulation 1/2003, there remains a question mark about whether the lack of an
               express provision may prevent national competition authorities from taking a
               decision on the basis of Articles 81 and 82 EC in relation to past infringements where
               they do not intend to impose a fine.

     199.      In conclusion, the first practical experiences with Article 5 of Regulation 1/2003
               have shown that some uncertainties remain in this context.

     5.1.5.    Convergence and Divergence of national competition authorities' powers

     200.      Crucially, Article 5 is a very rudimentary rule. Regulation 1/2003 does not formally
               regulate or harmonise the procedures of national competition authorities over and
               above Article 5 and the rules applicable to cooperation mechanisms. This implies
               that European competition authorities apply the same substantive rules according to
               divergent procedures and they may impose a variety of sanctions.257 In important
               respects, the Regulation reconciled the requirements of substantive coherence with
               the existing procedural diversity amongst European Competition authorities.258

     201.      Nevertheless, the entry into force of Regulation 1/2003 has generated an
               unprecedented degree of voluntary convergence of the procedural rules dedicated to
               the implementation of Articles 81 and 82 EC.259

     202.      An area where considerable convergence has taken place is leniency where 25
               Member States now operate a leniency programme and have largely aligned their
               programmes to the ECN Model Programme adopted in September 2006.260 An
               alignment of investigative powers of the national competition authorities has taken
               place over the last years concerning inspections in business premises (e.g. powers
               related to on the spot investigations – power to seal premises, books and records, to
               ask for oral explanations). The majority of the national competition authorities
               themselves see no significant differences with regard to the Commission powers
               under Articles 19 and 20 of Regulation 1/2003.261 Many Member States have also
               introduced the power to inspect private premises, although several national
               competition authorities have however indicated that they do not yet have any
               practical experience in this regard.262 Finally, considerable convergence has also
               taken place with regard to fines263, the power to adopt interim measures, commitment
               decisions and the power to carry out sector inquiries.264



     257
              Pecuniary and/or custodial sanctions on individuals and undertakings.
     258
              Articles 11 and 12 of Regulation 1/2003.
     259
              In this sense, Christophe Lemaire and Jérôme Gstalter, The Silent Revolution Beyond Regulation
              1/2003, Global Competition Policy, 2008.
     260
              See below, part 5.3.
     261
              E.g. Belgium, Cyprus, CZ Republic, Denmark, Estonia, Greece, Finland, Italy, Latvia, Lithuania,
              Luxembourg, Netherlands, Poland, Romania, Slovenia, Slovak Republic, Spain, UK (civil cases). In
              several Member States, judicial authorisation for inspections of business premises is required: Austria,
              Bulgaria, Germany (fines procedure), France, Hungary, Ireland, Portugal, Sweden.
     262
              Cyprus, CZ Republic, Estonia, Greece, Spain, Hungary, Luxembourg, Malta, Romania, Slovenia,
              Slovak Republic, Sweden. The power to inspect private premises is not foreseen in Bulgaria, Denmark,
              Finland, Italy, Portugal.
     263
              All Member States provide for pecuniary sanctions on undertakings. It should however be noted that
              there still exist considerable differences as regards the level of fines and the calculation of fines. Recent
              efforts within ECA (European Competition Authorities, founded in 2001, a forum of discussion for



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     203.      However, this remarkable level of convergence should not lead to an underestimation
               of the still existing divergences on important procedural issues that may influence the
               outcome of individual cases, e.g. fines, criminal sanctions, liability of undertakings
               or associations of undertakings, succession of undertakings, prescription periods,
               standard of proof and the power to impose structural remedies. Moreover, the ability
               of national competition authorities to set priorities is greatly divergent insofar as a
               large number of authorities are obliged to investigate and/or rule on complaints that
               they are seized with265, while others are legally empowered to set priorities in one
               form or another.

     204.      With regard to fines, for example, there is a consistent trend towards ensuring that
               antitrust fines have a sufficient deterrent effect. The vast majority of competition
               agencies take into account the same or similar elements when setting the appropriate
               level of antitrust fines. However, the legislative and administrative frameworks are
               not identical. These differences can result in appreciable divergences in the
               calculation of fines. Moreover, competition law and the guidelines adopted by
               several authorities do not quantify in detail the relative weight of the fundamental
               criteria and/or the adjustment factors which concur to the quantification of the
               antitrust fines. This has led to significant divergences in the practical application of
               even largely corresponding provisions.

     205.      In other areas too, where a high level of convergence is observed in the sense that
               numerous Member States broadly aligned their laws on the model of the Regulation,
               a considerable degree of (micro-) divergence remains in relation to the exact features
               of the procedures applied. This is for instance the case for procedures leading to
               commitment decisions as well as the procedures available for follow-up of
               commitment decisions. In this context, it appeared that many authorities do not
               follow the scheme of Regulation 1/2003 in terms of preparing a preliminary
               assessment and market testing. Conversely, certain national systems foresee
               procedural constraints unknown to the Commission, e.g. a cut-off date for the
               submission of commitments. At least one authority does not have the power to
               impose fines directly in case of non-compliance with a commitment decision.

     206.      Stakeholders in the context of the public consultation for this Report have called
               strongly for further harmonisation of procedures within the ECN. They particularly
               emphasised different national rules on sanctions/fines for violations of Articles 81
               and 82 EC, leniency, settlements, commitments, complaints, rules governing the
               admissibility of evidence (e.g. Legal Professional Privilege – LPP) and procedural
               rules (e.g. limitations, deadlines, procedural fines etc.). According to stakeholders,
               these differences in national rules may lead to discrepancies in the outcome of a case
               depending on the jurisdiction in which it is reviewed and could therefore harm the
               rights of undertakings.




              Competition Authorities in the EEA) have led to the adoption of the "Principles for convergence on
              pecuniary sanctions imposed on undertakings for infringements of antitrust law", in May 2008;
              see http://ec.europa.eu/comm/competition/publications/eca/.
     264
              See above, part 5.1.1.
     265
              Belgium, Bulgaria, Cyprus, Czech Republic, Greece, Spain, Finland (rather flexible system), France ,
              Hungary, Ireland, Italy, Lithuania, Luxembourg, Latvia, Malta, Netherlands, Romania, UK.



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     207.      The subject of divergences in national procedures for the enforcement of Articles 81
               and 82 EC should be further reflected upon. In order to optimise the efficiency of
               procedures within the ECN, areas need to be identified where further convergence
               should be promoted. Such a policy discussion should also explore the means by
               which procedural convergence could best be achieved, e.g. soft harmonisation or the
               adoption of certain minimum standards through legislative rules.

     5.2.      Cooperation between enforcers

     5.2.1.    Work sharing in the network – principles

     208.      The work-sharing arrangement within the ECN, i.e. the system of parallel
               competences266 and flexible case-allocation rules, means that any "well-placed"
               authority can take action in a case. Indicative, non-binding principles are set out in
               the Network Notice, which explain when a Network member is well-placed to act.267
               The case allocation principles do not create individual rights for the companies
               involved in, or affected by, an infringement to have a case dealt with by a particular
               authority.268

     209.      A competition authority which is well placed and willing to investigate and sanction
               an infringement informs the Network of its intentions at an early stage of the
               investigation269 by inserting some basic information in the ECN database. This
               allows the network members to detect rapidly multiple proceedings and ensures
               efficient work- sharing within the ECN. Other authorities may signal their interest to
               also act in the case, either in parallel with the first authority (in the case of national
               competition authorities) or solely (in the case of the Commission). In the rare case
               that authorities disagree on the most suitable allocation of the case, bilateral
               discussions take place between the concerned authorities.

     210.      The Commission is in principle always well placed to deal with any infringement of
               the Treaty capable of having an effect on trade between Member States. It is
               particularly well-placed to act where the infringement has effects in more than three
               Member States or where there is a link to other priority actions of the Community.270
               On the other hand, the Commission is never obliged to act, even if a given case has
               effects in more than three Member States. Cases may also be re-allocated within the
               network members if efficient enforcement so requires.271




     266
              Articles 4 and 5 of Regulation 1/2003 give the Commission and the national competition authorities full
              parallel competences to apply Articles 81 and 82 EC.
     267
              Notice on cooperation within the Network of Competition Authorities OJ C 101 of 27.04.2004 (the
              "Network Notice"), p. 43-53, paras 8-13.
     268
              The Network Notice, para 31. This question was raised in Cases T-339/04 and T-340/04, France
              Télécom [2007] ECR II-521.
     269
              Pursuant to Article 11(3) of Regulation 1/2003, national competition authorities inform the Commission
              when they are acting under Articles 81 and 82 EC, before or without delay after commencing the first
              formal investigative measure. It has been agreed amongst the members of the ECN that the national
              competition authorities will also get this information (see the Network Notice, Point 17). Similarly, the
              Commission will inform the other ECN members when it starts investigating a case (Article 11(2) of
              Regulation 1/2003).
     270
              The Network Notice, paras 14-15.
     271
              The Network Notice, paras 6 and 7.



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     211.      The principles of work sharing as introduced by Regulation 1/2003 and the Network
               Notice have been fully endorsed by the Court of First Instance in the France Télécom
               judgments of 8 March 2007.272 The cases concerned an action for the annulment of a
               decision by the Commission to conduct an inspection targeted at France Télécom
               and its subsidiaries (Wanadoo was at the time a subsidiary of France Télécom) and
               aimed at finding evidence of a suspected violation of Article 82 EC by predatory
               pricing and margin squeeze in the market for high-speed Internet access for
               residential customers in France.273 Prior to the Commission's inspection decision, a
               competitor of Wanadoo had filed a complaint and an application for interim
               measures with the French Conseil de la Concurrence. The application for interim
               measures was rejected by the latter for lack of urgency one week before the adoption
               of the Commission's inspection decision. The inspection decision was appealed by
               both Wanadoo and France Télécom.274 The applications for annulment invoked a
               broad range of pleas, concerning notably the reasoning of the Commission's
               inspection decision and the extent of its obligation to cooperate with national courts
               called upon to authorise coercive measures in case of opposition.

     212.      In its judgment in Case T-339/04, the Court of First Instance rejected the arguments
               of the applicant(s) in their entirety. It held in particular that Regulation 1/2003 has, in
               conformity with the principle of subsidiarity, provided for a wider association of the
               national competition authorities with the application of the EC competition rules.
               The Regulation has, however, not changed the general competence of the
               Commission recognised by the case law of the Court of Justice (Masterfoods).275

     213.      Moreover, the Court of First Instance held that Regulation 1/2003 has not established
               a 'division of competences' that could preclude the Commission from carrying out an
               inspection where a national competition authority is already dealing with the same
               case. On the contrary, Article 11(6) provides that the Commission is empowered –
               upon simple consultation of the national authority – to initiate proceedings with a
               view to adopt a decision itself. A fortiori, it is able to conduct an inspection in such
               case. Neither the Network Notice – as evidenced by its contents and wording – nor
               the Joint Statement establish binding criteria that could lead to the conclusion that
               solely the Conseil de la Concurrence could deal with the case and that the
               Commission was prevented from doing so. Furthermore, the Court of First Instance
               held that the obligation of close cooperation in Article 11(1) does not support the
               conclusion that the Commission could not investigate a case when a national
               competition authority is already dealing with it. The opposite can be derived from
               Article 11(6). The principle of subsidiarity does not put into question the
               competences conferred on the Commission by the EC Treaty, which include the
               enforcement of the EC competition rules. In Case T-340/04, the Court of First
               Instance further stated that Article 11(6) leaves scope for parallel investigations by
               the Commission and national competition authorities in the early stages of a case.



     272
              Case T-339/04 and Case T-340/04, France Télécom v. Commission, [2007] ECR II-521.
     273
              At the time, there were indications suggesting that Wanadoo repeated or continued practices found to
              violate Article 82 EC by the Commission in its Decision of 16 July 2003 in Case COMP/38.233 –
              Wanadoo Interactive. The case as such was later closed.
     274
              During the judicial proceedings, Wanadoo and its parent merged. France Telecom thus became the
              applicant in both court cases.
     275
              Case C-344/98, Masterfoods, [2000] ECR I-11369.



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     5.2.2.    Work sharing – practical experience

     214.      Five years of experience of work-sharing within the ECN have clearly demonstrated
               and confirmed the well-functioning of the flexible and pragmatic approach
               introduced by Regulation 1/2003 and the Network Notice. Contrary to the various
               concerns raised at the time of the adoption of the modernisation package, discussions
               on case-allocation came up only in a few cases and actual re-allocation of cases took
               place even less, i.e. cases mostly remain with the competition authority that started
               the investigation. Also the public consultation has shown that the legal and business
               community has dropped its initial fears and has only rarely called for more clarity in
               this respect. Claims for binding case-allocation criteria remain isolated.

     215.      Case-allocation and re-allocation have played a role mainly in cartel cases or in
               investigations started by a complaint.

     216.      In several cartel cases, notably in which parallel leniency applications had been
               received, the Commission and national competition authorities cooperated at an early
               stage. In the Flat Glass cartel case276, for example, the Commission started its
               investigation in 2005 on the basis of information provided by several national
               competition authorities277 which had received complaints or leads from customers or
               other third parties that suspected the a cartel existed. In the Power Transformers
               case278 the German Bundeskartellamt dealt with a separate, but related case.

     217.      Furthermore, a certain number of complaints received by the Commission or a
               Member State competition authority or both have been passed on within the
               Network. Important examples are the Deutsche Post cases where the Commission
               and the German competition authority were seized with similar complaints referring
               to Article 82 EC concerning the same practice of Deutsche Post AG with regard to
               discounts for pre-sorted mail. Deutsche Post's practice was based on a provision of
               the German postal legislation which was the subject of a Commission procedure
               under Article 86 EC. In this case, the Commission whose experts were preparing the
               Article 86 decision, considered that the most effective and efficient way forward
               would be the investigation of the complaint by the Bundeskartellamt. The
               complainant agreed to withdraw the complaint with the Commission. The work
               sharing proved successful inasmuch as both proceedings have now been concluded
               by decisions.279 Both decisions have been appealed. These cases are a remarkable
               example of how the action of the Commission and that of a Member State
               competition authority can effectively complement each other in practice.

     218.      The issue of work sharing was also addressed in the Wanadoo case the details of
               which are already described above.280 In the so called iTunes case concerning on-line
               delivery of music, the Commission was approached by the UK Office of Fair


     276
              Commission Decision of 28 November 2007, See Commission Press Release IP/07/1781.
     277
              German, French, Swedish and British competition authorities; the BKartA had already asked the
              complainant for information when re-allocation took place.
     278
              See Commission Press Release IP/08/783 of 11.12.2008.
     279
              Commission Decision of 20 October 2004 on the German postal legislation relating to mail preparation
              services (COMP/38.745); BKA, Decision of 11 February 2005 (B 9-55/03); See also Martinez
              Lopez/Obst, The BdKEP decision, the application of competition law to the partially liberalised postal
              sector, Competition Policy Newsletter 2005, N°1, 31.
     280
              See above, part 5.2.1.



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               Trading, which had been seized with a complaint from a consumer organisation. The
               Commission agreed to take up the case which concerned several Member States and
               opened proceedings in April 2007.281 After Apple's announcement to equalise prices
               for music downloads from iTunes in Europe in January 2008282, the case was closed.

     219.      More recent examples of re-allocation of cases which took place from the
               Commission to national competition authorities concern an investigation related to a
               triple play offer (TV, telephone and broadband) jointly commercialised by
               Telefonica and Sogecable283 and investigations into the joint selling of football
               rights284.

     220.      Re-allocation of cases between national competition authorities has been very rare.
               The Commission has been informed only of three cases. These re-allocations were
               mainly due to the fact that the locations of the companies concerned by the
               investigations were situated in another Member State.285

     221.      The cases mentioned generally illustrate how work-sharing in the Network takes
               place in practice. As is well known, Regulation 1/2003 does not provide for a
               "transfer" of cases as such. "Re-allocation" involves one authority going ahead with
               the investigation of a case while another authority abstains from acting or closes its
               file either on the basis of its discretion (not) to act or on the basis of Article 13 of the
               Regulation.

     222.      One issue which has given rise to certain discussions in the Network relates to the
               situation where a national competition authority is seized by a complainant but is not
               particularly well placed to deal with the case, as it requires extensive investigations
               in other Member States. However, the Commission or another national competition
               authority does not consider the case to be a priority. Such a "negative conflict of
               allocation" scenario has occurred in very limited instances. It is in the first place
               linked to the afore-mentioned issue that some authorities in the network are bound to
               deal with cases, even where they are not an enforcement priority, whereas others are
               not. Still, the subject may merit further observation in the practice of the network,
               with a view to determine if the mechanisms for assistance should be enhanced in
               order to further improve the ability of national competition authorities to deal with
               cases requiring fact-finding in other Member States.

     223.      Parallel proceedings between network members are also very rare. The vast majority
               of national competition authorities have not acted in parallel to other national
               competition authorities or to the Commission. One single case of parallel action in
               relation to a single infringement can be reported upon: the German and the Belgian
               competition authorities received a leniency application relating to a European wide
               price-fixing cartel for the chemical product Benzyl-Buthyl-Phtalat. Both authorities
               investigated the case and imposed fines.286 The Belgian authority which imposed the


     281
              See Commission Press Release IP/07/126 of 03.04.2007.
     282
              See Commission Press Release IP/08/22 of 09.01.2008.
     283
              Re-allocation to the Spanish competition authority.
     284
              For instance re-allocation to German competition authority and the Danish competition authority.
     285
              Two re-allocation of cases took place towards the UK OFT, both cases were closed.
     286
              Decision of the German Bundeskartellamt in case B 11-23/05. Decision of Belgian Competition
              Council of 4 April 2008,



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               second fine notably contemplated the issue of "ne bis in idem". It considered inter
               alia that it was able to impose a fine in regard of the effects of the cartel in the
               Belgian territory and based on the turnover in Belgium insofar as the first fine had
               been imposed by the German authority in view of the effects in the German territory
               only. The case might prima facie have presented the opportunity for the Community
               Courts (pursuant to an Article 234 EC reference) to clarify questions relating to the
               principle of ne bis in idem and in particular the definition of 'idem'. However, neither
               of the decisions was appealed.

     224.      In conclusion, work sharing within the ECN has worked very well. The ECN is well
               equipped to avoid unnecessary duplication of work and to ensure efficient
               enforcement. The ECN members have demonstrated their readiness to solve case-
               allocation issues in a manner that ensures efficient work-sharing.

     5.3.      ECN cooperation in the field of leniency

     5.3.1.    The ECN Model Leniency Programme

     225.      Since 2004, significant developments have taken place in the field of leniency
               programmes within the ECN. Regulation 1/2003 is built on a system of parallel
               competences in which national competition authorities are active enforcers of
               Articles 81 and 82 EC alongside the Commission. A logical consequence of such a
               system is that a leniency applicant may need to protect its position with all the
               authorities that may impose sanctions for the cartel activity, i.e. it entails a need for
               multiple filings in different jurisdictions.

     226.      The co-existence of several leniency programs within the European Union has been
               addressed as from the entry into force of Regulation 1/2003. In the Commission
               Notice on Cooperation within the Network of Competition Authorities (the "Network
               Notice"), potential applicants were advised that they might have an interest in
               protecting their position in several jurisdictions.287 Moreover, safeguards concerning
               the transmission of leniency related information within the ECN were put in place.288

     227.      As from 2005, a dedicated ECN Leniency Working Group prepared further
               measures, considering that certain discrepancies indeed may have adverse effects on
               the effectiveness of the programmes and on the incentives of undertakings to disclose
               their cartel activities throughout the EU. To address these concerns, the heads of all
               ECN members endorsed the ECN Model Leniency Programme289 (the "Model
               Programme") on 29 September 2006. The aim of this Programme is to remove
               certain discrepancies between the policies of the ECN Members and to facilitate
               multiple filings within the EU.

     228.      The Model Programme was drafted as a coherent document setting out the essential
               procedural and substantive elements that the ECN members believe every leniency
               programme should contain. It concerns only secret cartels, which are difficult to


              http://www.economie.fgov.be/organisation_market/competition/iurisprudence/13200813_Bayer_Ferro_
              Solutia_Lonza.pdf.
     287
              See Commission Notice on cooperation within the Network of Competition Authorities OJ C 101,
              27/04/2004, p. 43, para 38.
     288
              The Network Notice, paras 40 and 41.
     289
              Available at http://ec.europa.eu/competition/ecn/model_leniency_en.pdf.



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               detect by other means.290 Its purpose is to harmonise the key elements of leniency
               policies, including inter alia the conditions for immunity from fines and the
               exclusion of certain applicants from the protection, marker system, information
               required for immunity and markers, conditions for reduction of fines and the
               maximum percentage for reduction of fines.291 It foresees that coercers of the cartel
               are excluded from immunity.292 The Model Programme also introduces a uniform
               summary application system that facilitates the procedure when an applicant wants to
               protect its position with one or more national competition authorities in addition to
               the Commission.293

     229.      Insofar as multiple filings are concerned, various alternative options were examined
               within the ECN in connection with the elaboration of the Model Programme but were
               rejected as unworkable in practice.294 A mutual recognition system, for instance,
               could, absent a high degree of harmonisation, invite forum shopping. In turn, the
               option that the Commission would act as a central decision-maker for immunity
               applications, besides being a heavy administrative task for the Commission, would
               entail disincentives for applicants and for national competition authorities. For cartels
               of smaller territorial scope, parties may be reluctant to approach the Commission.
               Moreover, a national competition authority that would deal with a case would be cut
               off from the early contacts with the applicant which are normally essential for the
               competition authority to target its investigation in an optimal way. Both options have
               in common that they would require that, in order to decide with effect for the whole
               Community, the approached authority would have to check that no other authority
               had sufficient information to launch an ex officio investigation. This would require
               extensive contacts at a very early stage of the case.

     230.      In the light of these considerations, the Model Programme opted for a summary
               application system for cases in which the Commission is “particularly well placed”
               to deal with the case (i.e. cases concerning more than three Member States).295
               Where a full application has been made with the Commission, national competition
               authorities can accept temporarily to protect the applicant’s position on the basis of
               very limited information foreseen in the Model Programme. This information is
               broadly equivalent to information needed for a marker. Such information can be
               given orally.296 Should a national competition authority act on the case, it will grant
               the applicant a period of time to complete its application.




     290
              See paras 1-2 of the Explanatory Notes.
     291
              See the Explanatory Notes. For instance, reductions of fines should not exceed 50% of the fine in order
              to ensure that there is a significant difference between immunity and reductions, so that it will be
              significantly more attractive to apply for immunity than wait to be the second in line.
     292
              Para 8 of the Model Programme sets out that an undertaking which took steps to coerce another
              undertaking to participate in the cartel will not be eligible for immunity from fines. In general, the
              Model Programme does not prevent ECN members from adopting a more favourable approach.
              However, some programmes of ECN Members set out that they are not applicable to the sole
              ringleaders (see also footnote 4 of the Model Programme).
     293
              See paras 22-25 of the Model Programme and para 14 of the Network Notice.
     294
              For a further discussion of these options, see Gauer, C. and Jaspers, M.: Designing A European Solution
              For A "One Stop Leniency Shop", E.C.L.R. 2006, 27(12), p. 685-692.
     295
              See para 14 of the Network Notice.
     296
              See in particular para 48 of the Explanatory Notes.



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     231.      In this system, summary applications facilitate multiple filings and their processing
               by competition authorities where it is likely that the Commission will deal with the
               case. Undertakings that take part in cross-border cartels expose themselves to
               penalties in several jurisdictions. It is for the applicant to take the steps which it
               considers appropriate to protect its position with respect to possible proceedings by
               the relevant authorities.297

     5.3.2.    Way forward

     232.      In the stakeholder consultation, the legal and business community stated a strong
               preference for a more centralised approach for leniency in the European Union, some
               expressing a desire to see the matter dealt with by regulation. At the same time,
               practical experience suggests that potential applicants are generally aware of the
               system and undertake the necessary to protect their interests.

     233.      Whilst the Model Programme is not a legally binding document and does not prevent
               members from adopting a more favourable approach towards applicants, the ECN
               members have committed to use their best efforts to align their respective
               programmes with it.298

     234.      The work within the ECN has been a major catalyst in encouraging Member States
               and/or national competition authorities to introduce and develop their own leniency
               policies and in promoting convergence between them. The adoption of leniency
               programmes by the ECN members and their harmonisation with the Model
               Programme has progressed considerably during the reported period. Today, only
               Malta and Slovenia do not have any kind of leniency policy in place.

     235.      The Model Programme foresees that the ECN will evaluate the status of convergence
               of the leniency programmes as at the end of 2008. The assessment will form the basis
               for a reflection on whether further action is needed in this field.

     5.3.3.    Safeguards for leniency information within the ECN

     236.      In order not to discourage potential applicants from voluntarily reporting cartels, the
               Network Notice sets out special safeguards for the exchange and use of leniency
               related information. In particular, according to paragraph 39 of the Network Notice,
               leniency related information submitted pursuant to Article 11 of Regulation 1/2003
               cannot be used by other authorities to start an investigation. According to paragraph
               41, information submitted by a leniency applicant or collected on that basis, may
               only be exchanged between two authorities in the following circumstances: (i) the
               applicant consents to the exchange; or (ii) the applicant has applied for leniency with
               both authorities in the same case; or (iii) the receiving authority provides a written
               commitment not to use the information transmitted or any information it may obtain
               after the date of the transmission to impose sanctions on the applicant, its
               subsidiaries or its employees. In accordance with the Regulation, information so
               exchanged between the Commission and national authorities shall only be used in


     297
              See also para 38 of the Network Notice.
     298
              The Model Programme explicitly recognises that not all competition authorities have the power to
              implement changes in their national leniency programmes as this power is held by other bodies, see
              para 9 of the Explanatory Notes.



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               evidence for the purpose of applying Article 81 EC. It cannot be used for applying
               national laws, unless applied in parallel with Article 81 EC.299

     237.      In order to limit any negative consequences for leniency programmes by risk of
               disclosure of leniency information and documents, the Model Leniency Programme
               allows for oral applications in all cases where this would appear to be justified and
               proportionate.300 The Model Leniency Programme also foresees that no access will
               be granted to any records of any oral statements before the statement of objections
               has been issued. Moreover, the Model Leniency Programme foresees that the
               exchange of records of oral statements between authorities is limited to cases where
               the protections afforded to such records by the receiving authority are equivalent to
               those afforded by the transmitting authority.

     5.4.      Cooperation for fact-finding purposes

     5.4.1.    Information exchange pursuant to Article 12 of Regulation 1/2003

     238.      In contrast to Regulation 17, which contained only little provision for the exchange
               of information between the Commission and national competition authorities and
               none at all for the exchange of information between the national competition
               authorities, Regulation 1/2003 introduced an explicit provision concerning the
               exchange of information between all European competition authorities, including
               confidential information, and the use of such information as evidence.

     239.      Article 12(1) of Regulation 1/2003 empowers competition authorities to exchange
               information as intelligence irrespective of the (criminal or administrative) nature of
               the underlying proceedings and irrespective of whether sanctions are imposed on
               individuals, provided that the exchange occurs for the purpose of applying Articles
               81 and 82 EC. Conversely, the use in evidence of information received from another
               competition authority is subject to certain additional conditions, as laid down in
               paragraphs 2 and 3 of Article 12.

     240.      As far as proceedings against undertakings are concerned, Article 12(2) of
               Regulation 1/2003 assumes a sufficient degree of equivalence of the rights of
               defence in the different enforcement systems.301 Information collected in one system
               can therefore be used in evidence in another system, provided that the general
               conditions of Article 12(2) are fulfilled, notably that the information may be used
               only for the purpose of applying Article 81 or 82 EC and in respect of the ‘subject-
               matter’ for which it was collected.

     241.      As far as proceedings against individuals are concerned, Article 12(3) of Regulation
               1/2003 subjects the use in evidence of information received from other competition
               authorities to certain additional conditions.

               – The use in evidence is possible under the first indent of Article 12(3) if the
                 transmitting system also targets individuals and provides for sanctions of a similar


     299
              Article 12 (2).
     300
              According to para 14 of the Network Notice, oral applications are always justified and proportionate in
              cases where the Commission is “particularly well placed" to act.
     301
              See recital 16.



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                   kind (financial, custodial or other) in which case the Regulation presumes that
                   there are sufficiently equivalent standards of rights of defence. The qualification
                   of the sanctions or procedures at national level as administrative or criminal is
                   irrelevant.

               – Where the types of sanctions on individuals are materially different, information
                 may only be exchanged for use in evidence if the information has been collected
                 in a way that respects the same level of protection of the rights of the defence as
                 provided for under the rules of the receiving authority (second indent, first
                 sentence of Article 12(3)). A comparison regarding the level of protection is
                 therefore required. However, Article 12(3), second indent last sentence provides
                 that in this case information collected in a jurisdiction that does not provide for
                 custodial sanctions cannot be used in evidence in another jurisdiction to seek the
                 imposition of custodial sanctions.

     242.      The possibility to exchange and use information gathered by another competition
               authority has proven to be one of the cornerstones of the modernisation package,
               given that it greatly enhances the overall efficiency within the network and that it is a
               pre-condition for a flexible case-allocation system. Since the entry into force of
               Regulation 1/2003, information exchanges pursuant to Article 12 have taken place to
               and from the Commission and between the national competition authorities, notably
               in the following three scenarios:

               – In the context of inspections, information exchange may enable several authorities
                 that have received different pieces of information to obtain a more complete
                 picture of a suspected infringement. Such exchanges strengthen the individual
                 ECN members' ability to detect infringements. They occur normally at a very
                 early stage of an investigation (prior to inspections) and are highly confidential.

               – In the context of Article 22 inspections, the information collected on behalf of the
                 requesting authority is transferred on the basis of Article 12.

               – If a case is allocated between authorities or re-allocated to another authority, the
                 information is passed on pursuant to Article 12.

     243.      The cases where information was not only exchanged but also used in evidence are
               more limited, and most of them are still ongoing. The majority of these cases are
               related to the Article 22 scenario (e.g. Flat Glass302, Sanitary fittings). In this
               context, it was reported by national competition authorities that some difficulties
               were encountered in using the documents collected by another national competition
               authority due to different legislation on the confidentiality requirements.

     244.      As regards the conditions provided for by Article 12(3) and the use of evidence in
               case of sanctions on individuals, experience is very limited. No network member has
               reported any particular case where it had to carry out an analysis of the conditions of
               Article 12(3) in view of using information received from another network member,
               nor where it abstained from requesting potentially relevant information, nor where it
               was unable to use in evidence information relevant to a case for the imposition of
               custodial sanctions received from another network member.


     302
              See above, part 3.2.6.



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     245.      In this context, a discussion has however arisen whether the ban on the use of
               information for the imposition of custodial sanctions where the law of the
               transmitting authority does not foresee such sanctions, as provided for by the last
               sentence of the second indent of Article 12(3), is too far-reaching and constitutes an
               obstacle to effective enforcement. In this regard, alternative concepts, such as the
               "double barrier" approach303 have been proposed. These considerations could also be
               relevant for future discussions concerning international cooperation agreements with
               selected jurisdictions.304

     5.4.2.    Assistance pursuant to Article 22 of Regulation 1/2003

     246.      Article 22(1) of Regulation 1/2003 gives Member States' competition authorities the
               power to carry out inspections or other fact-finding measures on behalf of another
               Member States' competition authority. The fact-finding measures are governed by the
               law of the Member State where they take place. That means that the investigation
               authority acts on the basis of its investigatory powers, as provided by national law,
               and has to respect the procedural rights of the undertakings under investigation, as
               provided by national law. The results of the investigatory measures may be
               exchanged on the basis of Article 12. Assistance pursuant to Article 22(1) has been
               successfully used within the network during the last five years. In the vast majority
               of cases, requests were followed up on by the requested authority and results have in
               particular fed into cartel investigations in the receiving national competition
               authorities. Assistance was requested and provided mainly in the context of
               inspections, witness interviews and requests for information.

     247.      Whereas generally this tool has proven to be very useful, some practical and legal
               issues have arisen in the last years. The practical issues are mainly linked to the
               partly limited resources of some national competition authorities and language
               issues. Legal issues arose primarily as a result of divergent national procedural
               frameworks and concerned for instance the acquisition of evidence, due to
               divergences in national legislation concerning the requirements to conduct an
               inspection or proceed with a request for information and with regard to varying
               powers to conduct Forensic IT searches.

     5.5.      The ECN as a forum to promote coherent application

     5.5.1.    Horizontal work in the ECN

     248.      Five years of experience have shown that the ECN is a successful forum to discuss
               general policy issues. The means of cooperation and the subjects of discussion have
               been manifold and have developed over time. Currently, policy work is organised at
               four different levels of organisation: the yearly meetings of the Directors General of
               the European Competition Authorities, the Plenary meetings, the horizontal working
               groups and the sector-specific subgroups. Discussions in the different fora have
               promoted a coherent approach and the coherent application of the EC antitrust rules.



     303
              According to the proposed concept of a "double barrier": (i) the transmitting authority would have to
              verify that the information transmitted can be used in conformity with its rules; and (ii) the receiving
              authority would have to verify that the information received can be used in conformity with its rules.
     304
              See below, part 7.2.



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               – The Director General’s meeting is the forum for discussing major policy issues
                 within the Network and constitutes the top level of the ECN framework. It takes
                 place once per year and discussions have, for example, taken place on major
                 topics such as the review of the Commission's policy on Article 82 EC, the ECN
                 Leniency Model Programme, increases in food and energy prices and the financial
                 crisis.305

               – Another central forum is the "ECN Plenary" where horizontal antitrust issues of
                 common interest policy are discussed, e.g. the ability of national competition
                 authorities to disapply State measures in their application of the EC competition
                 rules in combination with Article 10 EC, following the CIF ruling306 of the
                 European Court of Justice. Cases undertaken by national competition authorities
                 on this basis are typically complex and a debate was held on the conditions that
                 must be met for the disapplication of anti-competitive State measures. Such
                 exchange of experience and know-how has proved extremely beneficial in terms
                 of further developing a common competition culture within the Network.
                 Participants are normally officials of the national competition authorities
                 responsible for ECN matters and officials of the ECN unit of the Directorate
                 General for Competition.

               – Under the "umbrella" of the Plenary, there is a varying number of working groups
                 that deal with horizontal questions of legal, economic or procedural nature
                 situated at the interface between Community law and diverse national laws (e.g.
                 Cooperation issues, Leniency, Sanctions and ne bis in idem, Information and
                 Communication, Article 82 EC, Competition Chief Economists, Vertical
                 Restraints and Horizontal Agreements). For example, the Cooperation issues
                 working group has addressed the implementation, and further refinement, of
                 cooperation mechanisms within the ECN, such as cooperation on sector inquiries
                 and requests for assistance from national competition authorities pursuant to
                 Article 22 of Regulation 1/2003. Two working groups were created in the context
                 of the review of the Commission's policy on horizontal agreements and vertical
                 restraints. These working groups are tasked with exploring the case experience of
                 enforcers in these fields and will feed into the Commission's review of the
                 existing Block Exemption Regulations, and accompanying Guidelines, which are
                 due to expire in 2010.

               – In addition to the horizontal working groups, the ECN also encompasses 15
                 subgroups that deal with particular sectors (e.g. Banking; Securities; Insurance;
                 Food; Pharmaceuticals; Professional Services; Healthcare; Environment; Energy;
                 Railways; Motor Vehicles; Telecommunications; Media; Sports; Maritime
                 transport). In these subgroups, expert officials of the national competition
                 authorities and the Directorate General for Competition exchange views and best
                 practices. They mainly deal with substantial questions, thus promoting a common
                 culture in their sectors. Particularly active subgroups have been the subgroups on
                 Energy, Banking and Pharmaceuticals and more recently the subgroup on Food.
                 For example, the Energy subgroup group brought together national competition
                 authorities and national regulators for high-level Energy Days in 2004, 2005,

     305
              See above, part 5.3.1.
     306
              Case C-198/01 Consorzio Industrie Fiammiferi (CIF) and Autorità Garante della Concorrenza e del
              Mercato [2003] ECR I-8055.



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                  2006, 2007 at which, inter alia, the energy sector inquiry undertaken by the
                  Commission was discussed. The Banking subgroup has engaged in detailed
                  discussions on the MasterCard Decision and its follow-up, multilateral
                  interchange fees ("MIFs") and the Single European Payment Area ("SEPA").307
                  The work in the ECN subgroups has also resulted in or contributed to some
                  sectoral guidance on the application of Articles 81 and 82 EC, e.g. in the area of
                  sport308 and waste management systems.309 Moreover, the Pharmaceuticals
                  subgroup has been closely associated with the sector inquiry into pharmaceuticals.
                  The Food subgroup became very active in 2008 in response to the sharp increase
                  in some food prices. Experience was shared on the different actions taken by
                  enforcers to address this issue (investigations, advocacy and inquiries).

     249.      This constant dialogue between the network members on all levels over the last years
               has significantly contributed to a coherent approach and coherent application of the
               EC competition rules. The permanent exchange of experiences and views, very often
               in an informal manner, has established confidence and trust between network
               members, increased the expertise and promoted convergence. It has led to the
               creation of a space to think that allows fruitful discussions in a spirit of close
               cooperation and with the final objective of promoting a common competition culture
               in Europe. This development over the last five years is highly appreciated by all
               network members and is certainly one of the major successes of the ECN. This
               achievement is widely recognised by the legal and business community which calls,
               however, for more transparency about ongoing discussions in the network.

     5.5.2.    Work on individual cases and envisaged decisions

     250.      The three main mechanisms to ensure coherent application of the EC competition
               rules provided for by Regulation 1/2003 are the following: (1) the obligation to apply
               Community law whenever there is an effect on trade in a manner that ensures
               convergence between national and Community law (Article 3(1)); (2) the obligation
               for national competition authorities to inform the Commission at the latest 30
               calendar days before an envisaged decision is adopted (Article 11(4); (3) the
               possibility for the Commission to intervene if there is a serious risk of incoherence,
               by relieving the national competition authority of its competence to act (Article
               11(6)).

     251.      These formal mechanisms form the backbone of close and extensive cooperation
               within the ECN. In practice, the extent and intensity of this cooperation surpass by
               far what is strictly legally required.

     252.      Notably, Article 11(4) of Regulation 1/2003 is one of the key instruments to ensure
               consistent application of EC competition rules. Pursuant to Article 11(4) national
               competition authorities must inform the Commission at least 30 days prior to the
               adoption of a decision requiring that an infringement be brought to an end, accepting
               commitments or withdrawing the benefit of a block exemption regulation. The


     307
              See above, part 2.2.2.
     308
              Annex I to the Commission White Paper on Sport of 11 July 2007: sport and EU competition rules,
              available at http://ec.europa.eu/sport/white-paper/whitepaper112_en.htm.
     309
              The Directorate General for Competition Paper relating to issues of competition in waste management
              systems, available at http://ec.europa.eu/competition/antitrust/others/waste.pdf.



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               information supplied to the Commission may be shared with the other network
               members in order to improve horizontal cooperation and to stimulate European
               competition policy.

     253.      The purpose of Article 11(4) is to enable the Commission and the national
               competition authorities to ensure that Articles 81 and 82 EC are applied in a
               consistent manner within the network. The Commission has the possibility to make
               written observations on cases about which it is informed pursuant to Article 11(4) to
               the national competition authority in question.310 In case of a major divergence, the
               Commission may decide to initiate formal proceedings in the same case, thus
               relieving the national competition authority of its competence to deal with this case
               pursuant to Article 11(6).

     254.      This information obligation applies to all types of envisaged decision referred to in
               Article 11(4) since the entry into application of Regulation 1/2003. The national
               competition authorities must submit the text of the envisaged decision and a
               summary of the case. Instead of a draft decision, the national competition authorities
               can also submit any other document which indicates the proposed course of action, in
               particular a statement of objections or other documents foreseen by national laws.

     255.      The Directorate General for Competition acknowledges receipt of information on
               envisaged decisions pursuant to Article 11(4), permitting undertakings to verify
               compliance with the obligations provided for by Article 11(4) in the proceedings of
               the national competition authority or, where they deem it appropriate, in appeal
               proceedings in the Member States.

     256.      So far, the Commission has been informed of more than 300 envisaged decisions
               submitted by the national competition authorities on the basis of Article 11(4). In
               none of these cases, proceedings have been initiated by the Commission pursuant to
               Article 11(6) with a view to relieving a national competition authority from its
               competence for reasons of coherent application.

     257.      The Directorate General for Competition has developed a practice over the last years
               of submitting observations to the national competition authorities in many cases.311
               These observations have been provided mostly in an oral form but also in writing.312
               These observations have been multi-faceted. They have covered minor comments or
               were related to particular aspects of the envisaged decisions in order to promote a
               uniform approach on these aspects concerned (e.g. product market definition);
               coordination with on-going Commission cases; or to case-law of the Community
               Courts. It should however be underlined that these observations did not contain any
               new evidence of any other information that would be exculpatory or incriminating
               for the parties of the proceedings.




     310
              The Commission Notice on cooperation within the Network of Competition Authorities, OJ C 101,
              27.04.2004, p.43, para 46.
     311
              See further part 5.6 on the confidentiality of communications between the Commission and national
              competition authorities.
     312
              In about 10% of the cases the observations of the Directorate General for Competition are provided in
              writing.



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     258.      It should be underlined that any observations from the Commission's Directorate
               General for Competition313 to national competition authorities, can only attempt to
               draw their attention to certain issues and point out matters that they may want to
               consider. It is for the Member States' competition authorities to take account of these
               observations as they consider appropriate. Every case is investigated and decided
               under the full and sole responsibility of the authority dealing with the case. However,
               the Commission has a special responsibility to ensure that the rules are applied in a
               coherent and uniform manner. If there is a risk of incoherence, the Commission shall
               take the necessary steps to avoid such an outcome.

     259.      These observations are normally taken very seriously and are carefully reflected
               upon by the national competition authorities. According to their views expressed in
               the context of the preparation of this report, the national competition authorities did
               not take into account the observations of the Commission in only a few cases,
               normally due to specific circumstances of the case.314

     260.      Overall, it clearly results from the feedback received by the Commission in the
               context of the consultation for this Report that the mechanisms provided for by
               Article 11 of Regulation 1/2003 function very well and have led to the largely
               coherent and consistent application of EC competition rules in the ECN over the last
               five years. The concerns related to a major risk of incoherent and inconsistent
               application of EC competition law in a decentralised system that have been raised at
               the time of the adoption of the modernisation package have certainly not been
               realised. Only in respect of few individual cases have inconsistencies been alleged by
               stakeholders.

     261.      Nevertheless, from stakeholders’ side there is a certain call on the Commission to
               explore further means to promote consistency within the network, such as a further
               strengthening of the mechanisms provided for in Article 11 (e.g. consultation instead
               of information, more systematic follow-up of observations and check of final
               decisions or appeal procedure to the Commission).

     5.5.3.    Article 11(6)

     262.      Article 11(6) of Regulation 1/2003 gives the Commission the possibility to intervene
               if there is a serious risk of incoherence. The initiation by the Commission of
               proceedings relieves the national competition authorities of their competence to
               apply Articles 81 and 82 EC. In substance, Article 11(6) has taken over Article 9(3)
               of Regulation 17, although its wording has changed. However, contrary to
               Regulation 17, the Commission is now obliged to consult the national competition
               authority already dealing with a case before initiating proceedings.

     263.      Article 11(6) has gained a new role in Regulation 1/2003 insofar as it gives the
               Commission the possibility, in principle, to take up any case from a national
               competition authority, even at a very late stage and after the submission of a draft
               decision, with a view to ensure coherent application. This scenario of a possible use


     313
              Observations submitted by the Directorate General for Competition within this context only reflect the
              views of the services and cannot be regarded as stating an official position of the European
              Commission.
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              E.g. specific market knowledge.



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               of Article 11(6) has to be distinguished from the regular use of Article 11(6) by the
               Commission to open proceedings in a case that the Commission intends to deal with.

     264.      The actual initiation of proceedings by the Commission with a view to 'correct' the
               approach taken by a Member State competition authority in an envisaged decision
               should be reserved to the severest problems of coherent application where they arise
               in a case that presents sufficient Community interest for the Commission to conduct
               its own procedure in the matter.315 The Network Notice provides guidance as to the
               circumstances in which this may be envisaged.316 Until now, the Commission has not
               seen the necessity of taking this step. As mentioned above, this may be attributed to
               various factors including notably the commitment of national competition authorities
               towards coherent application, extensive horizontal exchanges in the ECN including
               in dedicated sectoral subgroups, as well as informal exchanges between the
               Commission services and the national competition authorities in the context of the
               Article 11(4) submissions.

     5.6.      Confidentiality of information

     5.6.1.    The principle of professional secrecy in the network

     265.      The creation of the ECN was surrounded by concerns about safeguarding
               confidential information among a plurality of enforcers. However, pursuant to
               Article 28 of Regulation 1/2003 the Commission and the Member States' competition
               authorities shall not disclose any information which is covered by the principle of
               professional secrecy.317 Article 28 applies to all network members and thus sets a
               common standard which needs to be protected throughout the EU.

     266.      The standard of Article 28 is inherited from Article 20 of Regulation 17. In the
               context of the latter, its main significance for Member States' competition authorities
               related to the documents that they received from the Commission in view of the
               meeting of the Advisory Committee. This aspect remained unchanged. Under Article
               11(2) of Regulation 1/2003, the Commission is still obliged to provide Member
               States ' competition authorities with copies of the most important documents that it
               has collected with a view to taking decisions pursuant to Articles 7 to 10 and 29. This
               means that Member States' competition authorities are well aware of, and are used to,
               protecting case related confidential documents emanating from another authority.
               The standard of protection that has always been applied to Commission documents is
               now extended to documents received from other Member State competition
               authorities.

     5.6.2.    Confidentiality of exchanges of views in the network

     267.      The other side of the coin is preserving the common space to think that has been
               fostered within the ECN. The ability to have a free and constructive exchange of


     315
              See the Joint Statement of the Council and the Commission on the functioning of the Network of
              Competition Authorities, available at: http://register.consilium.europa.eu/pdf/en/02/st15/15435-
              a1en2.pdf., para 21.
     316
              Network Notice, para 54.
     317
              An exception applies if the disclosure of confidential information is required to prove the infringement
              (point 28(a) of the Network Notice). For the Commission the exception is explicitly confirmed in
              Article 27(2) of Council Regulation 1/2003 and Article 15(3) of Commission Regulation 773/2004.



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               views between the competition authorities within the ECN is a key component for
               the success of the Network and for the effective enforcement of Articles 81 and 82
               EC. Experience has shown that the authorities are ready to engage in such fruitful
               discussions, provided that the views they share in that context are kept confidential.
               Granting access to documents that have been created solely for this purpose to
               anyone outside the Network will inevitably have a negative impact on the way the
               system functions today. For this reason observations submitted in an Article 11(4)
               procedure are treated as network internal documents.318

     5.7.      Concluding remark

     268.      The sharing of knowledge and experience in the network has triggered a very open
               and constructive dialogue with the national competition authorities which fosters the
               coherent application of Articles 81 and 82 EC and thereby contributes to one of the
               central objectives of Regulation 1/2003.


     6.        INTERACTION WITH NATIONAL COURTS

     6.1.      Application of Articles 81 and 82 EC by national courts

     269.      National courts play a key role in the enforcement of European competition law and,
               since the entry into application of Regulation 1/2003, have the power to apply both
               Articles 81 and 82 EC in full. National courts may be called upon to apply Article 81
               and 82 EC in a variety of scenarios: some national courts have jurisdiction for
               lawsuits between private parties, such as actions relating to contracts or actions for
               damages; some national courts act as public enforcers (e.g. in Austria, Finland and
               Ireland); and some national courts act as review courts, hearing appeals which are
               brought against decisions of the national competition authorities.

     270.      Stakeholders have pointed to what they perceive as uneven enforcement of the EC
               competition rules by national courts. Nevertheless, it is apparent that national courts
               have applied Articles 81 and 82 EC in a variety of sectors and have tackled a range
               of issues.319 For example, national courts have dealt under Article 82 EC with
               exclusionary behaviour (refusal of access, rebates, long-term supply agreements,
               refusal to deal) of former incumbents in liberalising sectors, such as energy, postal
               services and telecoms. Exclusionary behaviour was also assessed by national courts
               in relation to e.g. port services, television advertising and ice cream freezer
               exclusivity agreements. National courts have also addressed exploitative behaviour
               under Article 82 EC, with most cases involving allegations of excessive pricing. In

     318
              Article 27(2) of Regulation 1/2003 states that the Commission regards correspondence between ECN
              members as internal documents that are not accessible. In addition, Article 28 of Regulation 1/2003
              extends the principle of professional secrecy that applies to the Commission and its services also to
              national competition authorities. See in this context also the Judgment of the Stockholm Administrative
              Court of Appeal, no. 7300/05 of 23.05.2006 (Kammarrättens dom den 23 maj 2006 i mål nr 7300-05),
              by which the Court upheld a decision of the Swedish Competition Authority denying a party access to
              the Directorate General for Competition's observations submitted in the context of an Article 11(4)
              procedure. The Court relied on the professional secrecy clause in Article 28 of Regulation 1/2003 and
              found that the public interest of ensuring a continued cooperation and exchange of information between
              national and EU authorities overruled the parties' interest to obtain access.
     319
              For details of the sources of information about national court judgments available to the Commission,
              see part 6.2.3 below.



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               terms of the application of Article 81 EC, as noted above many cases involved the
               application of the Block Exemption Regulations.320 A number of cases also related to
               the setting of minimum fees by professional associations by e.g. lawyers, dentists and
               veterinarians.

     271.      Particular responsibility is incumbent on national courts exercising judicial review of
               decisions of national competition authorities. Whereas the national competition
               authorities and the Commission cooperate in the ECN, a similar degree of
               cooperation and exchange of ideas cannot be achieved for review courts. They may
               therefore want to consider the available cooperation mechanisms.

     272.      An important way in which national courts contribute to the further development of
               Community competition law is by using the possibility to make references for
               preliminary rulings under Article 234 EC. While Regulation 1/2003 has not so far
               given rise to a large number of references, certain interesting cases can be cited.

     273.      In 2008, the European Court of Justice ruled on a reference for a preliminary ruling
               from the Supreme Court of Ireland in relation to a scheme of the Beef Industry
               Development Society Ltd ("BIDS"), whose members sold approximately 93% of the
               beef sold in Ireland.321 Under this scheme, some beef processors undertook to leave
               the processing industry, decommission their processing plants and respect a two year
               non-compete clause in return for compensation from the remaining members of
               BIDS. The Irish Competition Authority challenged the BIDS scheme and made an
               application to the Irish High Court, but the Irish High Court dismissed its application,
               having found that Article 81(1) EC had not been breached. The Irish Competition
               Authority appealed this decision to the Irish Supreme Court, which referred to the
               Court of Justice a question asking whether the BIDS arrangement should regarded as
               being restrictive of competition by object and prohibited under Article 81(1) EC or,
               alternatively, whether it is necessary, in order to reach this conclusion, to
               demonstrate first that this arrangement had anti-competitive effects. The Court of
               Justice, in an important ruling, confirmed that such agreements between competitors
               to restrict capacity or production are restrictions of competition by object within the
               meaning of Article 81(1) EC.

     274.      Another interesting reference for a preliminary ruling, which relates to the evidence
               which must be adduced before national courts when proving an infringement of
               Article 81 EC, is referred to above.322

     275.      Moreover, in VEBIC, the European Court of Justice is asked to rule on questions
               referred to it by the Belgian review court on the interpretation of Articles 2, 15(3)
               and 35(1) of Regulation 1/2003 with regard to the involvement of the Belgian
               competition authorities in the appeal proceedings.323



     320
              See part 2.2.4 above.
     321
              Case C-209/07 Competition Authority v. Beef Industry Development Society Ltd and Barry Brother
              (Carrigmore) Meats Ltd, judgment of 20.11.2008, not yet reported.
     322
              See part 2.3 above.
     323
              Case C-439/08, Reference for a preliminary ruling from the Hof van Beroep te Brussel lodged on 6
              October 2008 – VZW Vlaamse Federatie van Vereniging van Brood-en Banketbakkers, Ijsbereiders en
              Chocoladebewerkers 'VEBIC', the other parties being Raad voor de Mededinging and the Minister van
              Economie, OJ C 313 of 06.12.2008, p. 19.



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     6.2.      Application of Article 15 of Regulation 1/2003

     276.      A network involving the national courts similar to the ECN would sit uneasily with
               the independent position of the judiciary. Nevertheless, Regulation 1/2003 provides
               for a number of devices to promote coherency, building on the mutual duty of loyal
               cooperation provided for by Article 10 EC.324

     6.2.1.    Opinions

     277.      Under Article 15(1), national courts can ask the Commission for information or its
               opinion on questions concerning the application of Articles 81 and 82 EC. As of 31
               March 2009, the Commission has issued opinions on 18 occasions to national courts
               in Belgium (5), Spain (9), Lithuania (1), The Netherlands (1) and Sweden (2).

     278.      The opinions issued to Spanish courts all concerned litigation between service station
               operators and wholesale suppliers of petroleum products. In most cases, the service
               station operators were seeking a declaration of nullity of the contract they have
               concluded with the wholesaler on the grounds that it infringed EC competition law.

     279.      The other opinions issued by the Commission relate to a wide variety of matters. The
               Commission has given opinions to Belgian courts on: exclusive purchasing
               agreements for beer and non-beer beverages; the application of Articles 81 and 82
               EC to exhibitions; the application of Article 82 EC to favourable conditions and
               rebates granted by collecting societies; the conformity of the general conditions in a
               pilotage contract, including an exoneration of responsibility and an indemnity clause,
               with Article 82 EC; and the applicability of Articles 81 and 82 EC to the exclusion of
               one of the members of a standards setting organisation.

     280.      Two opinions were given to Swedish courts, the first of which concerned the issue of
               whether a municipality can be concerned to be as "undertaking" under Articles 81
               and 82 EC with a "legitimate interest" to complain pursuant to Article 7(2) of
               Regulation 1/2003. The second related to the definition of the relevant market in a
               case where a port was alleged to have abused its dominant position as the provider of
               port services by charging excessive fees to a Danish stated-owned ferry operator.

     281.      In an opinion given to a Dutch national court, the Commission provided guidance on
               whether quota allocations for mussel seeds in The Netherlands which set by an
               association of mussel farmers for its members, fell to be assessed under Articles 81
               and 82 EC or whether it came within the scope of Regulation 26/62 on the
               application of competition rules to agricultural products. Finally, the Commission
               provided an opinion to a Lithuanian court on whether it was compatible with Article
               86(1) EC, in conjunction with Article 82 EC, for a municipality to carry out a tender
               procedure for the award of an exclusive right to collect waste for 15 years.

     282.      Some stakeholders have highlighted what they perceive as reluctance on the part of
               some national judges to seek opinions from the Commission under Article 15(1). To
               try to address this issue, the Commission has published examples of opinions given
               to national courts on the Directorate General for Competition's website so that


     324
              Further details of this cooperation are set out in the Notice on cooperation with courts of the EU
              Member States in the application of Articles 81 and 82 EC, OJ C 101 of 27.04.2004, p.54.



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               national courts can get an idea of what an opinion can provide.325 Guidance is also
               given on the Directorate General for Competition's website detailing what requests
               for opinions should contain.

     6.2.2.    "Amicus curiae" observations

     283.      Both the Commission and the national competition authorities have the power to
               make observations in proceedings before national courts under Article 15(3).
               Whereas the Commission has the power to intervene pursuant to Article 15(3)
               "where the coherent application of Article 81 or Article 82 of the Treaty so requires",
               national competition authorities have broader scope to do so on any "issues relating
               to the application" of Article 81 or 82 EC. In addition, Article 15 established a
               minimum standard and certain national laws provide for wider powers for national
               competition authorities.326 Indeed, this is a tool which is well used by several national
               competition authorities. The Commission on its part, has decided to submit amicus
               observations on two occasions during the reporting period, where it considered that
               there was an imminent threat to the coherent application of the EC competition rules.

     284.      In 2006, the Commission for the first time made use of Article 15(3) by presenting
               written observations to the Cour d'appel de Paris in the "Garage Gremeau" case
               concerning the interpretation of the concept of quantitative selective distribution in
               Commission Regulation No. 1400/2002 (the "Motor Vehicle Block Exemption
               Regulation").327 The question of whether a car distribution system is selective and if
               so, whether the selection criteria are quantitative or qualitative in nature, has
               important legal and practical implications. Subject to compliance with other
               conditions, distribution agreements of car suppliers with a market share not
               exceeding 30% benefit from the block exemption under Regulation 1400/2002. This
               threshold rises to 40% for quantitative selective distribution agreements and
               qualitative selective distribution agreements benefit from the block exemption
               irrespective of the market share of the supplier. Article 1(1)(f)-(h) of the Motor
               Vehicle Block Exemption Regulation defines a selective distribution as being
               qualitative where the supplier selects distributors according to uniformly applicable
               and non-discriminatory criteria that are only qualitative in nature, are required by the
               nature of the goods (e.g. to preserve its quality and ensure its proper use) and do not
               directly limit the number of authorised distributors. By contrast, in a quantitative
               selective distribution system, the supplier uses selection criteria that directly limit the
               number of authorised distributors.

     285.      The case at issue was brought by Garage Gremeau against DaimlerChrysler France
               which had terminated all of its existing distribution contracts with a view to
               restructuring its distribution system of the basis of quantitative selection, in light of
               Regulation 1400/2002. It refused to conclude a new distribution agreement with its

     325
              This is only done once the judgment in the court case concerned has been rendered and is subject to
              conformity with national procedural rules: http://ec.europa.eu/competition/court/requests.html.
     326
              For example, in Germany, the law goes further than Art. 15(3) of Reg. 1/2003. The national competition
              authority has the power to appoint a representative authorised to submit written statements, attend
              hearings, give evidence and address questions to the parties, witnesses and experts, (s 90(2) Gesetz
              gegen Wettbewerbsbeschränkungen (GWB)).
     327
              Commission Regulation (EC) No 1400/2002 of 31 July 2002 on the application of Article 81(3) of the
              Treaty to categories of vertical agreements and concerted practices in the motor vehicles sector, OJ
              2002 L 203 of 01.08.2002p.30.



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            former agreed distributor Garage Gremeau on the basis that it would exceed the
            number of distributors foreseen as it had appointed another distributor for the area in
            question. Garage Gremeau requested by way of remedy that it should be admitted to
            DaimlerChrysler’s network. This was refused at first instance and on appeal. The
            Cour de Cassation subsequently affirmed the appeal court's finding that
            DaimlerChrysler's criterion of nominating a certain number of authorised distributors
            for different sales territories was objective and precise, but held that the lower court
            should have examined both the objectivity of its other selection criteria and how
            these were implemented, in particular because the new authorised distributor in
            Burgundy did not fulfil these at the time of its appointment. These judgments
            generated considerable interest in the sector, including in other Member States.

     286.   The Commission intervened to clarify that quantitative selective distribution systems
            do not have to fulfil the same requirements as those applicable for qualitative
            selective distribution systems, meaning that it is not necessary to assess the
            objectivity of the selection criteria other than those for determining the number of
            distributors. If that were the case, the categories of quantitative and qualitative
            selective distribution would be conflated, contrary to Regulation 1400/2002. With
            regard to any assessment of the implementation of the selection criteria, the
            Commission observed that there does not appear to be any basis on Regulation
            1400/2002 for preventing a supplier from foreseeing a transitional period for
            fulfilling its requirements if it considers that a given candidate has the financial and
            technical potential. Otherwise, this would tend to limit access to existing authorised
            distributors who have already made the necessary investments, foreclosing more
            competitive newcomers. This case is currently subject to a stay of proceedings.
            Stakeholders have noted that the Commission's intervention was very useful in that it
            could be invoked in similar proceedings before other national courts.

     287.   The Commission also decided to make observations pursuant to Article 15(3) of
            Regulation 1/2003 in a case in The Netherlands concerning the tax deductibility of
            Commission competition fines. In the initial judgment of 22 May 2006 on this issue,
            the Dutch Rechtbank van Haarlem (Court of First Instance in Haarlem, notably in tax
            matters) ruled that fines imposed by the Commission for infringement of the EC
            competition rules are partially deductible from income tax. The court found that
            although Dutch law provides that administrative fines cannot be deducted from
            income tax, fines imposed by the Commission cannot be understood according to the
            national definition of "fine" as, unlike fines imposed under Dutch law, they consist of
            punitive elements and elements intended to skim off illegal gains.

     288.   This judgment was appealed to the Gerechtshof van Amsterdam (Belastingkamer)
            (Court of Appeal of Amsterdam, tax chamber). The Commission moved to intervene
            as amicus curiae to highlight that Community fines for breach of the EC competition
            rules are not intended to skim off illegal gains and that the principle of equivalence
            would be breached if fines imposed under EC competition law could be deducted in
            contrast to fines under national law. Moreover, it would go against the principle of
            effectiveness, as the impact of Commission decisions would necessarily be reduced
            if companies fined for the violation of Articles 81 and 82 EC could (at least partially)
            deduct the amount from national income tax.

     289.   In an intermediary judgment of 12 September 2007, the Gerechtshof van Amsterdam
            decided to ask for a preliminary ruling to the European Court of Justice under Article



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               234 EC regarding the possibility for the Commission to intervene on the basis of
               Article 15(3) in such national (tax) litigation. The ruling of the Court should provide
               useful clarification regarding the scope of Article 15(3) of Regulation 1/2003.328

     290.      In sum, the Commission's role as amicus curiae pursuant to Article 15(3) of
               Regulation 1/2003 is to intervene in cases that have important policy implications for
               the application of Articles 81 and 82 EC. Stakeholders have called on the
               Commission to have greater recourse to this instrument and it should be reflected
               upon how this practice should further develop.

     6.2.3.    Transmission of judgments

     291.      Article 15(2) of Regulation 1/2003 requires Member States to forward to the
               Commission a copy of any written judgment of national courts deciding on the
               application of Articles 81 or 82 EC. These judgments must be sent "without delay
               after the full written judgment is notified to the parties". The Commission publishes a
               database of the judgments it receives from the Member States pursuant to Article
               15(2). This database, although welcomed as potentially being a valuable source of
               case practice, is criticised by several stakeholders on the grounds that it is far from
               complete.329 Some stakeholders have provided suggestions for improving the
               functioning of Article 15(2). For example, it has been proposed that the national
               competition authorities should be given the duty of assembling the relevant
               judgments in their respective territories and transmitting them to the Commission, as
               is currently done in several Member States. It is further proposed that this could be
               combined with a procedural duty on litigants to serve their initial pleadings on the
               Commission and/or national competition authority concerned, so that the latter could
               be alerted to the litigation at an early stage.330 Overall, options for ensuring a more



     328
              Case C-429/07, Reference for a preliminary ruling from the Gerechtshof Amsterdam (The Netherlands)
              lodged on 22 May 2006 Inspecteur van de Belastingdienst v X BV, OJ C-429/07 of 08.12.2007, p.23
              and the Opinion of Advocate-General Mengozzi of 05.03.2009, not yet reported.
     329
              There are approximately 175 judgments in this database (12 Member States have not sent judgments).
              Numerous stakeholders have highlighted that they are aware of judgments taken by national courts in
              which Articles 81 or 82 EC have been applied that do not appear in the database. The database of
              judgments transmitted by the Member States is currently complemented by a compilation of judgments
              handed down by national courts from 2006 onwards which is prepared by most national competition
              authorities for their respective jurisdictions and is made available on the Directorate General for
              Competition's website at http://ec.europa.eu/competition/elojade/antitrust/nationalcourts/. Parts 3 of the
              2004       and     2005       Annual      Reports     on    Competition      Policy,     available      at:
              http://ec.europa.eu/competition/annual_reports/, also contain sections on the application of the EC
              competition rules by national courts.
     330
              This is the practice for instance in the UK where any party whose statement of case raises or deals with
              an issue relating to the application of Articles 81 and 82 EC or the equivalent national provisions must
              serve a copy of the statement of the case on the Office of Fair Trading as the same time as it is served
              on the other parties to the claim. See Practice Direction – Competition Law – Claims Relating to the
              Application of Articles 81 and 82 of the EC Treaty and Chapters I and II of Part 1 of the Competition
              Act 1998, para. 3. The same duty of notification is imposed on appellants. See Practice Direction 52 –
              Appeals, para. 21.10A. By contrast, Hungarian law entrusts courts with this duty as opposed to litigants,
              providing that the court shall notify without delay the European Commission and the Hungarian
              Competition Authority of lawsuits before it which are to be assessed under Articles 81 and 82 EC
              (Article 91/H of the Hungarian Competition Act). This obligation applies over and above the duty of
              national courts to forward final judgments deciding on the application of Articles 81 and 82 to the
              Hungarian Ministry of Justice.



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                efficient and effective way of providing access to national court judgments should be
                contemplated.

     6.2.4.     Training of judges

     292.       There is a perception among some that national judges may have limited knowledge
                of Community law and/or have difficulties in accessing up-to-date information.331
                Stakeholders have also called for national judges to be more proactive in raising
                potential EC competition law issues.332 Continuous training and education of national
                judges in EC competition law is therefore crucial in order to ensure the effective and
                coherent application of those rules and to raise awareness of the mechanisms for
                cooperation with the Commission which are available. Since 2002, the Commission
                has co-financed 35 training projects, which have provided for the training of
                approximately 3,500 judges by the end of 2007. In 2008, 15 grant agreements were
                concluded for new projects for the training of judges. A call for new proposals was
                also launched in October 2008.


     7.         INTERFACE WITH THIRD COUNTRY ENFORCEMENT

     293.       The Commission attaches great importance to fostering constructive cooperation
                with third country authorities, in particular as concerns infringements with an
                international dimension. The effectiveness of international cooperation is
                interdependent on the effectiveness of Commission's own investigations for the
                enforcement of Articles 81 and 82 EC. During the reported period, issues of
                disclosure of information from the Commission's file in third jurisdictions arose.
                Such issues were encountered in the context of private litigation in third jurisdictions
                and, to a lesser extent, with respect to third country public authorities.

     7.1.       Private litigation in third jurisdictions

     294.       The Commission is a strong proponent of effective damages actions so that victims
                of infringements of EC competition law can be fully compensated for the harm they
                have suffered.333 However, in certain circumstances there is a balance to be struck
                between public enforcement interests in the EU and the interests of private litigants
                in third country jurisdictions. Disclosure of information from the Commission's file
                in the context of private litigation in third jurisdictions, in particular of leniency
                statements submitted during the investigation, may seriously undermine the
                effectiveness of public antitrust enforcement. The Commission has a particular
                interest to ensure that its investigations and the effectiveness of its enforcement
                programmes334 are not undermined by disclosure.


     331
              See the European Parliament resolution of 9 July 2008 on the role of the national judge in the European
              judicial system, P6_TA(2008)0382.
     332
              Joined cases C-430/93 and C-431/93 van Schijndel [1995] ECR I-4705, paras 13-15, 19 and 22 sets out
              the extent of the duty of national courts to raise binding EC rules, such as the EC competition rules, of
              their own motion.
     333
              See Commission White Paper on Damages Actions for Breach of the EC Antitrust Rules (COM (2008)
              165, 2.4.2008).
     334
              See the Commission Notice on immunity from fines and reduction of fines in cartel cases, OJ C 298,
              08.12.2006, p. 17 ("2006 Leniency Notice"), points 6-7 and 32-35; see also the Commission Notice on
              the conduct of settlement procedures in view of the adoption of Decisions pursuant to Article 7 and



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     295.       Article 15(4) of Regulation 773/2004 provides that documents obtained through
                access to the file shall only be used for the purposes of judicial or administrative
                proceedings for the application of Articles 81 and 82 EC.335 Accordingly, they shall
                not be disclosed for any other purpose.

     296.       The Commission's statement of objections and the full confidential version of the
                decision are documents prepared specifically for the antitrust proceedings and
                contain confidential information received through investigative measures.336
                Therefore, they and the information contained therein shall also be used only for the
                purpose of proceedings concerning the application of Articles 81 and 82 EC.337

     297.       The Commission has taken further initiatives to safeguard its administrative file.
                Specific protection has been given to voluntary statements made in the context of its
                Leniency Policy338, in particular, the oral procedure was formally introduced for
                leniency applications. Equivalent safeguards are foreseen for settlement
                submissions.339 Access to such statements is granted only to the addressees of the
                statement of objections provided they commit not to make any copies by mechanical
                or electronic means of any information contained therein and to use information
                obtained from such statements only for the purpose stated in the Commission Notice
                on the rules for access to the Commission file.

     298.       Undertakings which fail to comply with the obligations set out in the preceding
                paragraphs may face negative consequences. A breach of the obligation not to use
                information obtained through access to file for any other purpose during the
                proceeding by leniency applicants may be regarded as lack of cooperation under the
                Leniency Notice. Pursuant to the Guidelines on the method of setting fines340, refusal
                to cooperate with or obstruction of the Commission in carrying out its investigations
                may be considered as an aggravating circumstance in any Commission prohibition
                decision. If any such use is made after the Commission has already adopted a
                prohibition decision in the proceeding, the Commission may, in any legal
                proceedings before the Community Courts, ask the Court to increase the fine in
                respect of the responsible undertaking. The Access to the Commission file Notice
                (paragraph 48), the 2006 Leniency Notice (point 34) and the Settlement Procedure


               Article 23 of Council Regulation (EC) No 1/2003 in cartel cases, OJ C 167, 2.7.2008, p. 1 (“Settlement
               Procedure Notice”), points 35-40.
     335
               See para 48 of the Commission Notice on the rules for access to the Commission file in cases pursuant
               to Articles 81 and 82 of the EC Treaty, Articles 53, 54 and 57 of the EEA Agreement and Council
               Regulation (EC) No 139/2004, OJ C 325, 22.12.2005, p. 7 (“Access to the Commission file Notice”);
               see also Article 8 (2) of Regulation 773/2004 concerning complainants.
     336
               The same considerations apply to the disclosure of replies to statements of objections, requests for
               information and other documents depending on the individual procedure.
     337
               See Case T-353/94 Postbank v. Commission [1996] ECR II-921, para 89 concerning provisions on
               professional secrecy which were provided in Regulation 17 and, in particular, statements of objections:
               "[t]hese provisions, even if they prevent undertakings from transmitting such documents to third parties,
               do not in any way prevent their disclosure to the national courts [of Member States for the purpose of
               application of Articles 81 and 82 of the Treaty]" (emphasis added).
     338
               See the 2006 Leniency Notice, points 33-34 and 37. Leniency applicants are also expected to comply
               with the obligation not to use information obtained through access to file for any other purpose (see
               point 34).
     339
               See the 2006 Leniency Notice, points 32-35 and 6-7 and the Settlement Procedure Notice points 35-40.
     340
               Guidelines on the method of setting fines imposed pursuant to Article 23(2)(a) of Regulation No
               1/2003, OJ C 210, 1.09.2006, p. 2, para 28.



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                Notice (point 36) explicitly provide that should the information be used for a
                different purpose, at any point in time, with the involvement of an outside counsel,
                the Commission may report the incident to the bar of that counsel, with a view to
                disciplinary action.

     299.       The Commission has intervened through amicus curiae briefs before courts of the
                US, where US legislation and its application by US courts allows discovery that is
                exceptionally broad and relatively uncertain as to its outcome341, to highlight the
                threat of discovery to its investigative processes. Such briefs were submitted in the
                Vitamins case342, and the Methionine litigation.343 The Directorate General for
                Competition has also submitted letters to litigants in a number of proceedings in the
                US against the discoverability of information that has been prepared solely for the
                purpose of its investigation, either by the parties or by the Commission itself,
                including the recent Rubber Chemicals litigation.344

     300.       On 4 April 2006, the Directorate General for Competition made a submission to the
                US Antitrust Modernisation Commission concerning the impact of discovery rules in
                antitrust civil damages actions in the United States on the Commission's antitrust
                enforcement. It explained why it believes that the disclosure of statements and
                submissions, especially corporate statements, which are specifically prepared by
                undertakings within the context of the Commission's antitrust proceedings should not
                be deemed discoverable to third parties. The disclosure of such information
                submitted on a voluntary basis during the Commission’s investigation could
                seriously undermine the effectiveness of the Commission's and other authorities'
                antitrust enforcement actions. In particular, undertakings which voluntarily cooperate
                with the Commission in revealing cartels cannot be put in a worse position in respect
                of civil claims than other cartel members which refuse cooperation. The ordered
                production, or uncertainty in this regard, of submissions that a company has prepared
                and produced exclusively for the European Commission's antitrust proceedings in
                civil proceedings for damages could seriously undermine the effectiveness of the
                Leniency Programme and jeopardise the Commission's investigation of cartels. In
                contrast, the Commission does not have an interest in generally protecting pre-
                existing documents from discovery.345 Nevertheless, when the investigation is


     341
               Rule 26 of the Federal Rules of Civil Procedure. Although the Rules of Civil Procedure allow for a
               range of exemptions, information prepared for the benefit of foreign enforcement agencies is not
               covered by those exemptions.
     342
               United States District Court of the District of Columbia, in Re. Vitamins Antitrust Litigation – Misc.
               No. 99-197. This case concerned disclosure of corporate statements, where the investigation which was
               still on-going. The defendant, however, did not contest production of its corporate statements and the
               court ordered the production of these documents.
     343
               United States District Court of Northern District of California, In Re: Methionine Antitrust Litigation,
               case No. C-99-3491 CRB MDL no. 1311. The Commission expressed opposition to the production of
               corporate statements. The plaintiff's motion to compel the production of these documents was denied.
     344
               In Re: Rubber Chemicals Antitrust Litigation, Case No. C04-1648 MJJ (BZ).The plaintiff requested
               discovery of the documents provided by the defendant to the Commission in the context of the
               Leniency Programme. The defendant submitted to the US Court a letter from the Directorate General
               for Competition, which expressed opposition to discovery of those documents. The court denied
               discovery of the documents requested.
     345
               Documents that were in the possession of leniency applicants before and independently of any
               submission to the Commission. The leniency programme and other forms of voluntary cooperation
               should not act as a shield for companies seeking to conceal information that would otherwise be subject
               to disclosure/discoverable.



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                ongoing, pre-existing documents should be shielded from discovery, insofar as it
                could reveal the Commission's investigative strategy.

     301.       In conclusion, the Commission attaches particular importance to the protection of
                information and documents against disclosure in private litigation in third countries
                insofar as this would operate to the detriment of its enforcement tools. It should be
                examined how the legal framework can be clarified and reinforced to further enhance
                existing levels of protection.

     7.2.       Third country public authorities

     7.2.1.     Enforcement cooperation

     302.       The Commission enhances effective enforcement of competition rules through
                international cooperation with third country authorities. Such cooperation may
                include sharing experience, coordination of enforcement actions and exchange of
                information to facilitate enforcement activities.

     303.       Cooperation with third country enforcement authorities is agreed by bi-lateral or
                multi-lateral agreements or is arranged through regular contacts. The European
                Union has agreements concerning competition matters with a number of countries
                and regions.346 Cooperation between the European Commission and the EFTA
                Surveillance Authority in antitrust matters is governed by the terms of Protocol 23
                concerning the cooperation between surveillance authorities.347

     304.       So-called dedicated cooperation agreements on competition policy were signed with
                the United States, Canada and Japan.348 Under these agreements, competition
                authorities exchange non-confidential information and co-ordinate their enforcement
                activities. Furthermore, each side may ask the other to take enforcement action
                (positive comity); and each side must take account of the other's significant interests
                when enforcing competition rules (traditional comity).

     305.       Cooperation with competition authorities of other OECD member countries is based
                on the 1995 OECD recommendation.349

     306.       Regulation 1/2003 does not specifically regulate exchange of information with third
                country enforcement authorities. Article 12 of the Regulation is applicable only to
                the exchange of information between the Commission and the Member States for the
                purpose of application of Article 81 and 82 EC. Under the agreements with the
                United States, Canada and Japan, the European Commission and each respective
                competition authority exchange information. However, the existing cooperation
                agreements expressly exclude the exchange of protected or confidential information.


     346
               A list of countries and regions with which the European Union has signed a bilateral or multilateral
               agreement           concerning         competition           matters        is      available     at
               http://ec.europa.eu/competition/international/bilateral/.
     347
               See at http://www.efta.int/content/legal-texts/eea/protocols/protocol23.pdf/view.
     348
               1991 EU/US Competition Cooperation Agreement, OJ 95, 27.4.1995, p. 47; Agreement between the
               European Communities and the Government of Canada regarding the application of their competition
               laws OJ L 175, 10.7.1999, p. 50; Agreement between the European Community and the Government of
               Japan concerning cooperation on anti-competitive activities, OJ L183, 22.7.2003, p. 12.
     349
               See at http://ec.europa.eu/competition/international/bilateral/oecd_recommendation_1995.pdf.



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                This means in practice that no information obtained through the formal investigative
                tools can be shared with the other authority without the specific consent ("waivers")
                of the companies involved.350

     307.       International cooperation with third country enforcers may involve cooperating with
                third countries which have a criminal enforcement system for cartels, in which both
                undertakings and individuals can be prosecuted. The possibility of exchanging
                evidence between competition authorities is an essential element of efficient
                cooperation in the enforcement of the competition rules in an ever increasing
                globalised world. The Report on Cooperation between Competition Agencies in
                Cartel Investigations for the ICN Annual conference in Moscow states that the
                limitations to exchange of information are a major problem for efficient cooperation
                in the fight against international cartels: "Insufficient cooperation between agencies
                may allow some cartels to escape detection completely, if the evidence required for
                their conviction is scattered in different jurisdictions which cannot share it for legal
                reasons." 351

     308.       However, the conclusion of an international cooperation agreement which allows for
                the exchange of evidence with enforcers in selected third countries with a criminal
                enforcement system comes up against the obstacle that inside the EU, Article 12(3),
                last sentence of Regulation 1/2003 prohibits the use of information collected by one
                authority by the receiving authority to impose custodial sanctions, insofar as the law
                of the transmitting authority does not provide for sanctions of a similar kind for the
                infringement of Articles 81 or 82 EC. This raises the difficulty that it would be
                awkward for the EU to go further in terms of information exchange with third
                country enforcers than is currently the case for enforcers inside the Union. As noted
                above352, it may be appropriate to reflect upon the limitation on authorities using
                information they received to impose custodial sanctions set out in Article 12(3), last
                sentence of Regulation 1/2003 and to examine if other options are available, while
                fully preserving parties' rights of defence.

     7.2.2.     Disclosure to third country public authorities

     309.       The Commission attaches great importance to fostering constructive cooperation
                with third country public authorities. The effectiveness of international cooperation
                is, however, interdependent on the effectiveness of Commission's own investigations
                and its Leniency Programme, in particular as concerns infringements with an
                international dimension. Disclosure of documents from the Commission's file to third
                country public authorities is therefore subject to certain limitations.

     310.       In this context, the legal requirements set out in section 7.1 above are equally
                applicable. These considerations do not, in general, preclude the submission to third
                country public authorities of documents that exist independently of the Commission's
                investigation and which are in possession of undertakings independently of their
                access to the Commission file or of other information received from the Commission


     350
               See the Opinion of Advocate General Mengozzi in case C-511/06 P Archer Daniels Midland Co. v.
               Commission (pending case; the Opinion not yet reported), para. 105.
     351
               Cooperation between Competition Agencies in Cartel Investigations, Report to the ICN Annual
               conference, Moscow, May 2007, p. 5.
     352
               See part 5.4.1.



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                in the course of proceedings. Nevertheless, when the Commission investigation is
                still on-going, protection from disclosure may be needed in order to safeguard the
                investigation.

     311.       The issue of disclosure to third country public authorities merits further
                consideration, in particular in light of deepening and enhancing cooperation with
                third country authorities. It should be further examined in the context of the
                reflection suggested above.353


     8.         CONCLUSION

     312.       Regulation 1/2003 has brought about a landmark change in the way the European
                competition law is enforced. The Regulation has significantly improved the
                Commission's enforcement of Articles 81 and 82 EC. The Commission has been able
                to become more proactive, tackling weaknesses in the competiveness of key sectors
                of the economy in a focussed way. Moreover the Regulation has entrusted the
                Member States’ competition authorities and courts with the role of ensuring that the
                EU competition rules are applied efficiently and effectively, in conjunction with the
                Commission.

     313.       The EC competition rules have to a large extent become the “law of the land” for the
                whole of the EU. Cooperation in the ECN has contributed towards ensuring their
                coherent application. The network is an innovative model of governance for the
                implementation of Community law by the Commission and Member State
                authorities.

     314.       In a limited number of areas, the Report which is accompanied by the present Staff
                Working Paper highlights aspects which merit further evaluation, but leaves open the
                question of whether any amendment to the existing rules or practice is required. It
                will serve as a basis for the Commission to assess, in a further stage, whether it is
                appropriate to take further policy initiatives.




     353
               See part 7.1.



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                                             ANNEX

     From 1 May 2004



     Name                             Date         Type   Reference



     Article 7



     2004



     Souris Bleue/Topps               26.05.2004 AT       OJ L 353, 13.12.2006, p. 5–6

     (COMP/37.980)

     Clearstream                      02.06.2004 AT       IP/04/705, 02.06.2004

     (COMP/38.096)                                        not yet published

     Architectes belges               24.06.2004 AT       OJ L 4, 6.1.2005, p. 10–11

     (COMP/38.549)

     Copper plumbing tubes            03.09.2004 C        OJ L 192, 13.7.2006, p. 21–29

     (COMP/38.069)

     Sodium gluconate                 29.09.2004 C        not yet published

     (COMP/36.756)

     French beer                      29.09.2004 C        OJ L 184, 15.7.2005, p. 57-59

     (COMP/37.750)

     Spanish Raw Tobacco              20.10.2004 C        OJ L 102, 19.4.2007, p. 14

     (COMP/38.238)

     Hard haberdashery       (needles) 26.10.2004 C       IP/04/1313, 26.10.2004
     (COMP/38.338)
                                                          MEMO/07/353, 12.09.2007

                                                          not yet published

     GdF/ENI                          26.10.2004 AT       IP/04/1310, 26.10.2004



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     (COMP/38.662)                                    not yet published

     GdF/ENEL                      26.10.2004 AT      IP/04/1310, 26.10.2004

     (COMP/38.662)                                    not yet published



     2005



     MCAA                          19.01.2005 C       OJ L 353, 13.12.2006, p. 12–15

     (COMP/37.773)

     AstraZeneca                   15.06.2005 AT      OJ L 332, 30.11.2006, p. 24–25

     (COMP/37.507)

     PO/Thread                     14.09.2005 C       OJ C 21, 26.1.2008, p. 10–14

     (COMP/38.337)

     Peugeot SA                    05.10.2005 AT      OJ L 173, 27.6.2006, p. 20–24

     (COMP/37.275)

     Raw Tobacco Italy             20.10.2005 C       OJ L 353, 13.12.2006, p. 45–49

     (COMP/38.281)

     Industrial Bags               30.11.2005 C       OJ L 282, 26.10.2007, p. 41–46

     (COMP/38.354)

     Rubber Chemicals              21.12.2005 C       OJ L 353, 13.12.2006, p. 50–53

     (COMP/38.443)



     2006



     Prokent/Tomra                 29.03.2006 AT      OJ C 219, 28.8.2008, p. 11–15

     (COMP/38.113)

     Hydrogen Peroxide             03.05.2006 C       OJ L 353, 13.12.2006, p. 54–59

     (COMP/38.620)



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     Methacrylates                  31.05.2006 C      OJ L 322, 22.11.2006, p. 20–23

     (COMP/38.645)

     Bitumen Netherlands            13.09.2006 C      OJ L 196, 28.7.2007, p. 40–44

     (COMP/38.456)

     Fittings                       20.09.2006 C      OJ L 283, 27.10.2007, p. 63–68

     (COMP/38.121)

     Steel beams re-adoption        08.11.2006 C      OJ C 235, 13.9.2008, p. 4–6

     (COMP/38.907)

     Butadiene       Rubber/Emulsion 29.11.2006 C     OJ C 7, 12.1.2008, p. 11–14
     Styrene

     (COMP/38.638)

     Alloy Surcharge re-adoption    20.12.2006 C      OJ L 182, 12.7.2007, p. 31–32

     (COMP/39.234)



     2007



     Gas insulated switchgear       24.01.2007 C      OJ C 5, 10.1.2008, p. 7–10

     (COMP/38.899)

     Elevators and escalators       21.02.2007 C      OJ C 75, 26.3.2008, p. 19–24

     (COMP/38.823)

     Netherlands beer market        18.04.2007 C      OJ C 122, 20.5.2008, p. 1–3

     (COMP/37.766)

     Telefónica SA                  04.07.2007 AT     OJ C 83, 2.4.2008, p. 6–9

     (COMP/38.784)

     Fasteners                      19.09.2007 C

     (COMP/39.168)                                    OJ C 47, 26.06.2009, p.8-12.

     Bitumen Spain                  03.10.2007 C      IP/07/1438, 03.10.2007




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     (COMP/38.710)                                    not yet published

     Morgan Stanley Dean Witter       03.10.2007 AT   IP/07/1436, 03.10.2007

     (COMP/37.860)                                    not yet published

     Groupement Cartes Bancaires      17.10.2007 AT   IP/07/1522, 17.10.2007

     (COMP/38.606)                                    not yet published

     Professional videotapes          20.11.2007 C    OJ C 57, 1.3.2008, p. 10–12

     (COMP/38.432)

     Flat Glass                       28.11.2007 C    OJ C 127, 24.5.2008, p. 9–11

     (COMP/39.165)

     Chloroprene Rubber               05.12.2007 C    OJ C 251, 3.10.2008, p. 11–13

     (COMP/38.629)

     Europay (Eurocard-MasterCard) 19.12.2007 AT      IP/07/1959, 19.12.2007
     (COMP/34.579)
                                                      not yet published



     2008



     Synthetic Rubber (NBR)           23.01.2008 C    IP/08/78, 23.01.2008

     (COMP/38.628)                                    not yet published

     International removal services   11.03.2008 C    IP/08/415, 11.03.2008

     (COMP/38.543)                                    not yet published

     Sodium Chlorate                  11.06.2008 C    IP/08/917, 11.06.2008

     (COMP/38.695)                                    not yet published

     Aluminium Fluoride               25.06.2008 C    IP/08/1007, 25.06.2008

     (COMP/39.180)                                    not yet published

     CISAC                            16.07.2008 AT   OJ C 323, 18.12.2008, p. 12–13

     (COMP/38.698)

     Candle waxes                     01.10.2008 C    IP/08/1434, 01.10.2008



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     (COMP/39.181)                                    not yet published

     Bananas                       15.10.2008 C       IP/08/1509, 15.10.2008

     (COMP/39.188)                                    not yet published

     Carglass                      12.11.2008 C       IP/08/1685, 12.11.2008

     (COMP/39.125)                                    not yet published



     2009



     Marine hoses                  28.01.2009 C       IP/09/137, 28.01.2009

     (COMP/39.406)                                    not yet published



     Article 9



     2005



     Bundesliga                    19.01.2005 AT      OJ L 134, 27.5.2005, p. 46

     (COMP/37.214)

     Coca-Cola                     22.06.2005 AT      OJ L 253, 29.9.2005, p. 21

     (COMP/39.116)



     2006



     De Beers                      22.02.2006 AT      OJ L 205, 27.7.2006, p. 24–25

     (COMP/38.381)

     FAPL                          22.03.2006 AT      OJ C 7, 12.1.2008, p. 18

     (COMP/38.173)

     Repsol                        12.04.2006 AT      OJ L 176, 30.6.2006, p. 104



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     (COMP/38.348)

     Cannes Agreement                 04.10.2006 AT   OJ L 296, 15.11.2007, p. 27-28

     (COMP/38.681)



     2007



     DaimlerChrysler                  13.09.2007 AT   OJ L 317, 5.12.2007, p. 76–78

     (COMP/39.140)

     Fiat                             13.09.2007 AT   OJ L 332, 18.12.2007, p. 77–79

     (COMP/39.141)

     Opel                             13.09.2007 AT   OJ L 330, 15.12.2007, p. 44–47

     (COMP/39.143)

     Toyota Motor Europe              13.09.2007 AT   OJ L 329, 14.12.2007, p. 52–55

     (COMP/39.142)

     Distrigaz                        11.10.2007 AT   OJ C 9, 15.1.2008, p. 8

     (COMP/37.966)



     2008



     E.ON German electricity market   26.11.2008 AT   OJ C 36, 13.2.2009, p. 8

     (COMP/39.388, COMP/39.389)                       not yet published



     2009



     RWE Gas Foreclosure              18.03.2009 AT   OJ C 310, 05.12.2008, p. 23

     (COMP/39.402)                                    not yet published




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     Article 23(1)




     E.ON (breach of seals)        30.01.2008 AT       OJ C 240, 19.9.2008, p. 6–7

     (COMP/39.326)



     Article 24




     Microsoft (penalty payment)   10.11.2005 AT(PP)   not yet published

     (COMP/37.792)




     Microsoft (penalty payment)   12.07.2006 AT(PP)   OJ C 138, 5.6.2008, p. 10–14

     (COMP/37.792)




     Microsoft (penalty payment)   27.02.2008 AT(PP)   IP/08/318, 27.02.2008

     (COMP/37.792)                                     MEMO/08/125, 27.02.2008

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